   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 1 of 180




                      UNITED STATES DISTRICT COURT
                          DISTRICT OF COLUMBIA


SAUL MARTINEZ, SARAH MARTINEZ;         )
JAMES DONALDSON; PEGGY                 )
DONALDSON, INDIVIDUALLY AND            )
FOR THE ESTATE OF ADRIAN               ) CASE NO.: 1:16-cv-02193-EGS
BUTLER, ELDRIDGE BUTLER;               )
WALTER TOLLEFSON, INDIVIDUALLY         )
AND FOR THE ESTATE OF JOHN             )
TOLLEFSON, MARY STEINMAN,
                                       ) JURY TRIAL DEMANDED
JESSICA MECKLENBURG, KATHRYN
                                       )
MILLER; RANDALL WENDLING,
                                       )
INDIVIDUALLY AND FOR THE
ESTATE OF MICHAEL WENDLING,            )
CARRIE WENDLING; BRYAN                 )
ANDERSON, ROBERT ANDERSON,             )
JANET WASWO, JIM WASWO, BRIANA         )
WASWO; KAYLEEN SCHILD,                 )
INDIVIDUALLY AND FOR THE               )
ESTATE OF RICHARD SCHILD, KEELY        )
MARIE SCHILD, KOBY SCHILD,             )
BRUCE SCHILD, BROOKS SCHILD;           )
MIRTHA POUNCE, INDIVIDUALLY            )
AND FOR THE ESTATE OF ROLAND           )
CALDERON, A.R.C., a Minor, A.J.C., a   )
Minor, ROSA MILAGROS ASCENCIO,
                                       )
SAUL RAUDA, YENY RAUDA, JASMYN
                                       )
RAUDA, EVELYN RAUDA; WENDY
                                       )
GREEN (WEIKEL), INDIVIDUALLY
AND FOR THE ESTATE OF IAN              )
WEIKEL, J.W., a minor, CHAD WEIKEL;    )
TAMMY RICHARD, INDIVIDUALLY            )
AND FOR THE ESTATE OF BRANDON          )
TEETERS, GLENN RICHARD,                )
HEATHER RICHARD; YARISSA               )
TORRES, INDIVIDUALLY AND FOR           )
THE ESTATE OF TEODORO TORRES;          )
NICHOLAS PAUPORE, MARIE                )
PAUPORE, CODY PAUPORE, MAILEY          )
PAUPORE, SHARON OSBORNE, JOE           )
PAURORE, THOMAS PAUPORE,               )
LESLIE PAUPORE BUENO, JOE
                                       1
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 2 of 180
PAUPORE; BRIAN SAARISTO, CHERYL )
SAARISTO, BRIAN SAARISTO, JR.,     )
LEAH MARIE SAARISTO, SHIRLEY       )
ANN SAARISTO, BRENDA ANGELL,       )
BARBARA LIIMATAINEN; LONNIE        )
FORD, INDIVIDUALLY AND FOR THE     )
ESTATE OF JOSHUA A. FORD, LINDA    )
MATTISON-FORD, JESSICA MATSON,
                                   )
SHAWN FORD; COREY SCHLENKLER,
                                   )
INDIVIDUALLY AND FOR THE
                                   )
ESTATE OF WILLIAM THORNE,
KAREN THORNE, DOYLE THORNE,        )
JOEY ROBINSON; JOHN A. BOTTS,      )
JENNIFER BOTTS, DARA BOTTS, JOHN )
S. BOTTS, ELIZABETH CUNNINGHAM     )
(BOTTS); DANIEL PEREZ,             )
INDIVIDUALLY AND FOR THE           )
ESTATE OF EMILY PEREZ, VICKI       )
PEREZ, KEVYN PEREZ; BRIAN BEEM,    )
ELIZABETH BEEM, CASSANDRA          )
BEEM, KAITLYN BEEM, KELLY BEEM, )
DIANE BEEM, JOSEPH BEEM, JOSEPH    )
BEEM JR., CYNTHIA COLON; DIANE     )
TRAYNOR SOWINSKI, INDIVIDUALLY
                                   )
AND FOR THE ESTATE OF NICHOLAS
                                   )
SOWINSKI, JARED SOWINSKI, AUSTIN
                                   )
SOWINSKI; BRANDON BYERS, MEGAN
BYERS, CAMERON BYERS;              )
SAMANTHA GAGE, INDIVIDUALLY        )
AND FOR THE ESTATE OF JOSEPH       )
GAGE, MICHAEL GAGE, RANDY          )
GAGE, TAMARA GAGE, JULIE ROSA;     )
JENNIFER WHITE, INDIVIDUALLY       )
AND FOR THE ESTATE OF LUCAS        )
WHITE, JULIA BROOKS, MARCUS        )
RAMOS, LYLE BROOKS; JOSHUA         )
COPE, ERICA OWENS (f/k/a COPE),    )
PHILIP COPE, LINDA COPE, JACOB     )
COPE, JONATHAN COPE, L.C. a Minor; )
AMY MORRIS, INDIVIDUALLY AND
                                   )
FOR THE ESTATE OF DANIEL MORRIS,
                                   )
GLENN MORRIS, ADAM MORRIS,
                                   )
CASSIDY MORRIS; KRISTY PEARSON,
INDIVIDUALLY AND FOR THE           )
ESTATE OF ANDREW NELSON;           )
MARIAH COWARD; DEREK GAGNE,        )
FAYE MROCZKOWSKI; AUDREY           )
                                     2
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 3 of 180
BARBER, INDIVIDUALLY AND FOR             )
THE ESTATE OF BRANDON STOUT,             )
CALLIE MCGEE, STEPHANIE                  )
BENEFIELD; MICHELLE WAGER;               )
TRAVIS VENDELA, MARIANNE                 )
VENDELA; NADIA CADAVERO,                 )
INDIVIDUALLY AND FOR THE                 )
ESTATE OF JONATHAN CADAVERO,
                                         )
MICHELLE DEARING (f/k/a
                                         )
CADAVERO), KRISTIA MARKARIAN,
                                         )
DAVID CADAVERO; JOANNA HARRIS,
INDIVIDUALLY AND FOR THE                 )
ESTATE OF BLAKE HARRIS, J.H. a           )
Minor, DEBORAH HARRIS; JOHN              )
MAYO, INDIVIDUALLY AND FOR THE )
ESTATE OF BARRY W. MAYO,                 )
REBECCA MAYO, ANDY MAYO;                 )
KATHY MOORE, INDIVIDUALLY AND )
FOR THE ESTATE OF RYAN D.                )
RUSSELL, THOMAS EDISON-MOORE,            )
JR.; ERIN DRUCTOR, INDIVIDUALLY          )
AND FOR THE ESTATE OF BLAKE              )
STEPHENS; JAKE HAMILTON                  )
ALTMAN, NADJA ALTMAN, J.A., a
                                         )
Minor, GLORIA PROSSER, MICHAEL
                                         )
ALTMAN, CHARLES ALTMAN; LOUIS
                                         )
DAHLMAN, KAY STOCKDALE,
LARRY STOCKDALE, LUCAS                   )
DAHLMAN, AMBER DAHLMAN;                  )
JAMES SCHUMANN, INDIVIDUALLY             )
AND FOR THE ESTATE OF JASON              )
SCHUMANN, BENJAMIN SCHUMANN, )
KRISTIE NELSON, KAYLA NELSON,            )
BRENT ANDERSON; JERRAL                   )
HANCOCK, J.H. a Minor, A.H. a Minor,     )
STACIE SCHERNY, SAMANTHA                 )
HANCOCK, DIRRICK BENJAMIN,               )
SAVANNAH TSCHERNY; BRENDA                )
RICHARDS, INDIVIDUALLY AND FOR )
THE ESTATE OF SHAWN GAJDOS;
                                         )
JULIE PAYNE, INDIVIDUALLY AND
                                         )
FOR THE ESTATE OF CAMERON
                                         )
PAYNE, A.P, a Minor, K.P. a Minor; JULIE
MONTANO, INDIVIDUALLY AND FOR )
THE ESTATE OF JOSHUA MODGLING, )
KEITH MODGLING, CHRISTOPHER              )
MODGLING, KELLILYYN MODGLING, )
                                     3
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 4 of 180
MICHELLE MODGLING, KENNETH             )
SCHAFFER; JOSEPH ZAPFE, EDWARD         )
ZAPFE; CHELSEA ADAIR,                  )
INDIVIDUALLY AND FOR THE               )
ESTATE OF JAMES ADAIR; JOHN            )
TAKAI, MAE TAKAI, JONAMAE              )
TAKAI, NIANA TAKAI, K.T., a Minor,     )
I.T., a Minor, PATRICIA CRUZE, JUAN L.
                                       )
TAKAI, JOLENE TAKAI, JERMAINE
                                       )
TAKAI; CONSTANCE AHEARN, KEVIN
                                       )
AHEARN; PAMELA MCKEAN, FOR
THE ESTATE OF KEITH KLINE, BETTY )
JEAN KLINE, JOHN KLINE, JR.;           )
ANTHONY LILL, INDIVIDUALLY AND )
FOR THE ESTATE OF ERIC LILL, CODY )
LILL, M.L., a Minor, CHARMAINE LILL, )
KORTNE JONES, SKYE OTERO;              )
SIMONA FRANCIS, INDIVIDUALLY           )
AND FOR THE ESTATE OF LERON            )
WILSON; DAVID KUBE,                    )
INDIVIDUALLY AND FOR THE               )
ESTATE OF CHRISTOPHER KUBE,            )
DEBBIE OTTE, JONATHAN KUBE,            )
JESSICA KUBE, JASON KUBE,
                                       )
JENNIFER KUBE; LAURA GONZALEZ,
                                       )
INDIVIDUALLY AND FOR THE
                                       )
ESTATE OF ZACHARIAH GONZALEZ,
BENEDICT GONZALEZ; JAKE                )
GONZALEZ; DAVID WAKEMAN,               )
INDIVIDUALLY AND FOR THE               )
ESTATE OF DUSTIN WAKEMAN,              )
MARGARET WAKEMAN, WILLIAM              )
WAKEMAN; SHERRI COTTRELL,              )
BRANDY COTTRELL, MEGAN                 )
COTTRELL, E.C., a Minor, JAMES         )
COTTRELL, DOESHIE WATERS,              )
NORRIS WATERS; LAURA RUSSELL           )
KENNEDY, INDIVIDUALLY AND FOR          )
THE ESTATE OF JONATHAN EDDS,           )
JULIA EDDS, BARRY EDDS, JOEL
                                       )
EDDS; ANDREW TONG; LEESHA
                                       )
CROOKSTON, INDIVIDUALLY AND
                                       )
FOR THE ESTATE OF DUNCAN
CROOKSTON; STEPHANIE                   )
MARCIANTE, INDIVIDUALLY AND            )
FOR THE ESTATE OF LUIGI                )
MARCIANTE, JR., L.M. a Minor, MARIA )
                                      4
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 5 of 180
MARCIANTE, LUIGI MARCIANTE,          )
ENZA BALESTRIERI; JOSHUA WELLS, )
J.W., a Minor, LYDIA LANTRIP, BILLIE )
WELLS, JR., DAVID BLAKE LANTRIP;     )
BRYAN WAGNER; JEANETTE KNAPP,        )
INDIVIDUALLY AND FOR THE             )
ESTATE OF DAVID KNAPP; NORMAN        )
FORBES IV; JENNIFER RUBIO, N.R., a
                                     )
minor; DEMPSEY BENNETT,
                                     )
INDIVIDUALLY AND FOR THE
                                     )
ESTATE OF DURRELL BENNETT,
DORIS BENNETT, DARNELL               )
BENNETT; JULIE ROSENBERG,            )
INDIVIDUALLY AND FOR THE             )
ESTATE OF MARK ROSENBERG, J.R. a )
Minor, M.R. a Minor; MONIQUE         )
SHANTEL GREEN RICHARD, LOIS          )
RICHARD, JOSEPH RICHARD JR.,         )
CARMEN RICHARD BILLEDEAUX;           )
JONMARIE PEARSON, INDIVIDUALLY )
AND FOR THE ESTATE OF ANDREW         )
PEARSON; WALTER MIXON,               )
INDIVIDUALLY AND FOR THE             )
ESTATE OF JUSTIN MIXON, MELINDA
                                     )
MIXON, TIA MIXON, T.R.M., a Minor,
                                     )
KENNETH MIXON, KIMBERLY
                                     )
SPILLYARDS; LISA THOMPSON,
INDIVIDUALLY AND FOR THE             )
ESTATE OF JOSHUA PLOCICA,            )
BRENNA CORBIN, LOWELL                )
THOMPSON; JOHN BLICKENSTAFF,         )
MISTY BLICKENSTAFF, M.B., a Minor,   )
C.B., a Minor, PAM JONES, JARED      )
BLICKENSTAFF, ADRIANNE               )
BLICKENSTAFF, TRISTA CARTER;         )
GARY L. HENRY; THE PUBLIC            )
ADMINISTRATOR FOR THE COUNTY         )
OF NEW YORK o/b/o THE ESTATE OF      )
JOSE ULLOA, MELANIE ATZMANN,         )
S.U., a Minor, JOSE ULLOA SR.,
                                     )
FRANCISCA MARMOL, RUBERTERNA
                                     )
ULLOA, STEPHANIE MARMOL;
                                     )
LORAMAY DIAMOND, INDIVIDUALLY
AND FOR THE ESTATE OF SEAN           )
DIAMOND, TAYLOR DIAMOND,             )
MADISON DIAMOND, SEAN                )
DIAMOND, A.D. a minor, SALLY         )
                                     5
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 6 of 180
DIAMOND WILEY, JAMES MICHAEL             )
WILEY, JASON DIAMOND, MICHAEL            )
DIAMOND; TRISTA MOFFETT,                 )
INDIVIDUALLY AND FOR THE                 )
ESTATE OF MICHAEL ANAYA,                 )
CHERYL ANAYA, CARMELO ANAYA,
JR.; CHARLENE WILCOX,                    )
INDIVIDUALLY AND FOR THE
                                         )
ESTATE OF CARLOS WILCOX,
                                         )
BIANCA WILCOX, ONA WILCOX,
                                         )
CHARLES WILCOX III; JOSH CRAVEN,
HOLLY CRAVEN; MARIA VAZQUEZ,             )
INDIVIDUALLY AND FOR THE                 )
ESTATE OF OMAR VAZQUEZ, PABLO            )
VAZQUEZ, PABLO VAZQUEZ, JR.,             )
MARISEL VAZQUEZ, JAVIER                  )
VAZQUEZ; JASON RZEPA,                    )
CASSANDRA RZEPA, K.R., a Minor,          )
C.R., a Minor, ANN RZEPA, DAVID          )
SHAIDELL; VANESSA BEYERS,                )
INDIVIDUALLY AND FOR THE                 )
ESTATE OF NATHAN BEYERS, TYLER )
BEYERS, E.B., a Minor, TIM BEYERS,       )
SONJA BEYERS;
SAUL MARTINEZ, SARAH MARTINEZ,
                                         )
MIRTHA POUNCE INDIVIDUALLY,
                                         )
AND FOR THE ESTATE OF ROLAND
                                         )
CALDERON, ROSA MILAGROS, SAUL
                                         )
RAUDA, YENY RAUDA, JASMYN
                                         )
RAUDA, EVELYN RAUDA, A.L.C, a
                                         )
minor, A.C., a minor, WENDY GREEN,
                                         )
J.W., a minor, CHAD WEIKEL, WENDY
                                         )
GREEN FOR THE ESTATE OF IAN
                                         )
WEIKEL, YARISSA TORRES,
                                         )
INDIVIDUALLY, AND FOR THE
                                         )
ESTATE OF TEODORO TORRES,
                                         )
NICHOLAS PAUPORE, MARIE
                                         )
PAUPORE, CODY PAUPORE, SHARON
                                         )
OSBORNE, THOMAS PAUPORE,
                                         )
LESLIE PAUPORE BUENO, M.P., a
                                         )
minor, BRIAN SAARISTO, CHERYL
SAARISTO, SHIRLEY ANN SAARISTO,
                                         )
BRENDA ANGELL, BARBARA
                                         )
LIIMATAINEN, L.M.S., a minor, B.S., Jr.,
                                         )
a minor, LONNIE FORD, LINDA
                                         )
                                     6
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 7 of 180
MATTISON-FORD, JESSICA MATSON,        )
SHAWN FORD, LONNIE FORD FOR           )
THE ESTATE OF JOSHUA A. FORD,         )
KAREN THORNE, DOYLE THORNE,           )
JOEY ROBINSON, KAREN THORNE           )
FOR THE ESTATE OF WILLIAM             )
THORNE, JOHN BOTTS, JENNIFER          )
BOTTS, DARA BOTTS, JOHN STEPHEN )
“STEVE” BOTTS, ELIZABETH              )
CUNNINGHAM, DIANE TRAYNOR             )
SOWINSKI, JARED SOWINSKI, AUSTIN )
SOWINSKI, DIANE TRAYNOR               )
SOWINSKI FOR THE ESTATE OF
NICHOLAS SOWINSKI, SAMANTHA           )
GAGE, M.G, a minor, RANDY GAGE,       )
TAMARA GAGE, JULIA ROSA,              )
SAMANTHA GAGE FOR THE ESTATE          )
OF JOSEPH GAGE, JOSHUA COPE,          )
ERICA COPE, PHILIP COPE, LINDA        )
COPE, JACOB COPE, JONATHAN COPE, )
L.C., a minor, KAREN HUFFMAN, GARY )
HUFFMAN, TORIE HUFFMAN                )
MURPHY, KAREN HUFFMAN FOR THE )
ESTATE OF JASON HUFFMAN, TRAVIS )
VENDELA, MARIANNE VENDELA,
NADIA CADAVERO, KRISTIA
MARKARIAN, NADIA CADAVERO FOR
THE ESTATE OF JONATHAN
CADAVERO, JOHN MAYO, REBECCA
MAYO, ANDY MAYO, JOHN MAYO
FOR THE ESTATE OF BARRY W.
MAYO, KATHY MOORE, THOMAS
EDISON-MOORE, JR., KATHY MOORE
FOR THE ESTATE OF RYAN D.
RUSSELL, ERIN DRUCTOR,
KATHLEEN STEPHENS, TRENT
STEPHENS, SUMMER STEPHENS,
RHETT STEPHENS, BRITTANI
HOBSON, DEREK STEPHENS and ERIN
DRUCTOR FOR THE ESTATE OF
BLAKE STEPHENS, JAKE HAMILTON
ALTMAN, NADJA ALTMAN, J.A., a
minor, L.A., a minor, GLORIA PROSSER,
CHARLES ALTMAN, MICHAEL
                                     7
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 8 of 180
ALTMAN, LOUIS DAHLMAN, KAY
STOCKDALE, LUCAS DAHLMAN,
AMBER DAHLMAN, JULIE MONTANO,
KEITH MODGLING, CHRISTOPHER
MODGLING, KELLILYYN MODGLING,
MICHELLE MODGLING, KENNETH
SCHAFFER, JULIE MONTANO FOR THE
ESTATE OF JOSHUA MODGLING,
JEANNIE ZAPFE, JOSEPH ZAPFE,
EDWARD ZAPFE, JEANNIE ZAPFE FOR
THE ESTATE OF WILLIAM A. ZAPFE,
CHELSEA ADAIR, A.A., a minor,
CHELSEA ADAIR FOR THE ESTATE OF
JAMES ADAIR, JOHN TAKAI, MAE
TAKAI, PATRICIA L. CRUZE, JUAN L.
TAKAI, JOLEAN TAKAI, J.T., a minor,
N.T., a minor, K.T, a minor, I.T, a minor,
JERMAINE TAKAI, CONSTANCE
AHEARN, JAMES AHEARN SR., KEVIN
AHEARN, CONSTANCE AHEARN FOR
THE ESTATE OF JAMES AHEARN,
ANTHONY LILL, CHARMAINE LILL,
KORTNE JONES, SKYE OTERO, C.L, a
minor, M.L., a minor, ANTHONY LILL
AND ON BEHALF OF THE ESTATE OF
ERIC LILL, JEAN KLINE, JOHN KLINE
JR., BETTY JEAN KLINE FOR THE
ESTATE OF KEITH KLINE, DEBBIE
OTTE, DAVID KUBE, JONATHAN
KUBE, JESSICA KUBE, JASON KUBE,
JENNIFER KUBE, DAVID KUBE FOR
THE ESTATE OF CHRISTOPHER KUBE,
MARGARET WAKEMAN, DAVID
WAKEMAN, WILLIAM WAKEMAN,
MARGARET WAKEMAN FOR THE
ESTATE OF DUSTIN WAKEMAN,
MARY NEIBERGER, RICHARD
NEIBERGER, AMI NEIBERGER,
ROBERT NEIBERGER, ERIC
NEIBERGER, MARY NEIBERGER FOR
THE ESTATE OF CHRIS NEIBERGER,
JEAN REEVES, JAMES REEVES,
MICHAEL REEVES, JARED REEVES,
LESLIE HARDCASTLE, J.R., a minor,
                                     8
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 9 of 180
LESLIE HARDCASTLE FOR THE
ESTATE OF JOSHUA REEVES, JOSHUA
WELLS, LYDIA LANTRIP, BILLIE
WELLS, JR., BLAKE LANTRIP, J.W., a
minor, JENNIFER RUBIO, N.R. a minor,
JENNIFER RUBIO FOR THE ESTATE OF
JOSE RUBIO-HERNANDEZ, DORIS
BENNETT, DEMPSEY BENNET,
DARNELL BENNETT, DORIS BENNET
FOR THE ESTATE OF DURRELL
BENNETT, MELINDA MIXON, WALTER
MIXON, KENNETH MIXON, KIMBERLY
SPILLYARDS, BETTY TIA MIXON,
T.R.M., a minor, TIA MIXON FOR THE
ESTATE OF JUSTIN MIXON, LISA
THOMPSON, LOWELL “KEITH”
THOMPSON, BRENNA CORBIN, LISA
THOMPSON FOR THE ESTATE OF
JOSHUA PLOCICA, JOHN
BLICKENSTAFF, MISTY
BLICKENSTAFF, PAM JONES, JARED
BLICKENSTAFF, ADRIANNE
BLICKENSTAFF, TRISTA CARTER, A.B.
a minor, M.B., a minor, C.B., a minor,
GARY L. HENRY, INDIVIDUALLY AND
ON BEHALF OF THE ESTATE OF GARY
HENRY, LORAMAY “LORA”
DIAMOND, SALLY DIAMOND WILEY,
MICHAEL WILEY, JASON DIAMOND,
MICHAEL DIAMNOND, TAYLOR M.
DIAMOND, MADISON J. DIAMOND,
A.D., a minor and S.D., a minor, CHERYL
ANAYA, TRISTA MOFFETT, CARMELO
ANAYA JR., CHERYL ANAYA FOR THE
ESTATE OF MICHAEL ANAYA,
CHARLENE WILCOX, BIANCA
WILCOX, ONA WILCOX, CHARLES
WILCOX III, CHARLENE WILCOX FOR
THE ESTATE OF CARLOS WILCOX,
MARIA VAZQUEZ, individually and for
THE ESTATE OF OMAR VAZQUEZ,
PABLO VAZQUEZ, PABLO VAZQUEZ,
JR., MARISEL VAZQUEZ, JAVIER
VAZQUEZ, JASON RZEPA,
                                     9
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 10 of 180
 CASSANDRA RZEPA, ANN RZEPA,
 DAVID SHAIDELL, K.R., a minor, C.R, a
 minor, TIM BEYERS INDIVIDUALLY
 AND ON BEHALF OF THE ESTATE OF
 NATHAN R. BEYERS, SONJA BEYERS,
 VANESSA BEYERS, TYLER BEYERS,
 and E.B. a minor,

                                Plaintiffs,
                v.

 ISLAMIC REPUBLIC OF IRAN

                                Defendant.

                          SECOND FIRST AMENDED COMPLAINT


I.     NATURE OF THE ACTION

       1.       This is a civil action pursuant to the Foreign Sovereign Immunities Act, 28 U.S.C.

§1605A (hereinafter “FSIA”) brought against the Defendant, the Islamic Republic of Iran (“Iran”)

for wrongful death, personal injury and related torts, by the estates and families of United States

nationals and/or members of the U.S. aArmed Fforces (as defined in 10 U.S.C. §101) who were

killed or injured by Iran and/or its agents and proxies in Iraq from 2004 to 2011.

       2.       Iran’s aforementioned agents and proxies included the U.S.-designated “Foreign

Terrorist Organization” (“FTO”) (as that term is defined in 8 U.S.C. §1189 of the Antiterrorism

and Effective Death Penalty Act of 1996 (“AEDPA”)), Hezbollah; the U.S.-designated FTO, the

Islamic Revolutionary Guard Corps (“QFIRGC”), whose subdivision known as the Islamic

Revolutionary Guard Corps-Qods Force (“IRGC-QF”) is a U.S.-designated Specially

Designated Global Terrorist; (“SDGT”); and other terrorist agents and proxies that included a

litany of Iraqi Shi’a terror groups (referred to herein collectively as “Special Groups.”), including

but not limited to an FTO, Kata’ib Hezbollah (“KH”).

       3.       The United States officially designated Iran a s a State Sponsor of Terrorism


                                                  10
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 11 of 180
( “ S S O T ” ) on January 19, 1984, pursuant to §6(j) of the Export Administration Act, §40 of the

Arms Export Control Act, and §620A of the Foreign Assistance Act. Iran has maintained that

ignominious designation as an SSOT since 1984.

       4.       The United States designated Hezbollah a Specially Designated Terrorist (“SDT”)

on January 25, 1995; . Hezbollah was designated a Foreign Terrorist Organization

( “ F T O ” ) by the United States on October 8, 1997, and it has retained that designation since that

time. Hezbollah was designated a “Specially Designated Global Terrorist” (“SDGT”) by the United

States on October 31, 2001, pursuant to E.O. 13224.

       5.       The United States designated the IRGC as an FTO on April 15, 2019; and as an

SDGT on October 13, 2017.

       6.       The United States designated the QF as a SDGT on October 25, 2007.

       7.       At all times relevant to this Second Amended Complaint, the IRGC and QF were

instrumentalities and extensions of Iran, funded by the Iranian government and acting in strict

accordance with its directives, and as such they were and are Iranian agents which were acting

within the scope of their agency and/or political subdivision status with and for Iran.

       8.       At all times relevant to this Second Amended Complaint, Hezbollah was an agent

and proxy of Iran, the IRGC, and the QF, and was funded, trained, equipped, and directed by Iran,

the IRGC, and the QF, and was acting in strict accordance with their directives, and as such was

acting within the course and scope of its agency with and for Iran.

       4.9.     At all times relevant to this Second Amended Complaint, the Special Groups were

agents and proxies of Iran, the IRGC, the QF, and Hezbollah, and were funded, trained, equipped,

and directed by Iran, the IRGC, the QF, and Hezbollah, and acting in strict accordance with their

directives, and as such were acting within the course and scope of their agency with and for Iran.


II.    II.     JURISDICTION AND VENUE

       5.10.    This Court has jurisdiction over this matter and over Defendant Iran pursuant to 28

                                                  11
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 12 of 180
U.S.C. §§1330(a), 1330(b), 1331, 1332(a)(2) and 1605A(a)(1), which create subject-matter and

personal jurisdiction for civil actions for wrongful death and personal injury against State

Sponsors of Terrorism and their officials, employees and agents.

       6.11.    28 U.S.C. §1605A(c) provides a federal private right of action against a foreign

state that is or was a State Sponsor of Terrorisman SSOT, and also against any official, employee

or agent of that foreign state while acting within the scope of his or her office, employment or

agency, for wrongful death, personal injury and related torts.

       7.12.    Venue is proper in this dDistrict pursuant to 28 U.S.C. §1391(f) (4), which provides

that a civil action may be brought in the District Court for the District of Columbia if the action is

brought against a foreign state..


III.   III.    THE DEFENDANT

       8.13. At all times relevant to this Complaint, Defendant Iran is and was a foreign state

within the meaning of 28 U.S.C. §1603 and designated a State Sponsor of Terrorisman SSOT

pursuant to §6(j) of the Export Administration Act of 1979 (50 U.S.C. App. §2405(j)).

       9.14. Iran provided material support and resources for the commission of and in certain

instances participated in the actual commission of acts of extrajudicial killing, within the meaning

of 28 U.S.C. §1605A, including the terrorist attacks that are the subject matter of this lawsuit in

which Plaintiffs were killed, injured or maimed, and performed actions that caused the terrorist

attacks and the harm to Plaintiffs herein. while participating in peacekeeping activities in post-

Saddam Hussein Iraq from 2004 through 2011.

       10.15. The Government of Iran is politically and ideologically hostile to the United

States and its allies, and has consistently provided material support for acts of international

terrorism, including extrajudicial killings, torture and hostage takings, particularly through its

Islamic Revolutionary Guard CorpsIRGC, QF and its Lebanese proxy, Hezbollah.

       16.     According to an April 30, 2009, U.S. Department of State Report on State Sponsors

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 13 of 180
of Terrorism (the “2009 State Department Report”):

                   Despite its pledge to support the stabilization of Iraq, Iranian authorities
                   continued to provide lethal support, including weapons, training,
                   funding, and guidance, to Iraqi militant groups that targeted Coalition
                   and Iraqi forces and killed innocent Iraqi civilians.
       11.17. The Islamic Revolutionary Guard Corps (“IRGC”) is nominally comprised of five

branches (Ground Forces, Air Force, Navy, Basij militia, and (Qods Force special operations

(“IRGC-QF”)), in addition to a counterintelligence directorate and representatives of the Supreme

Leader. Several of the IRGC’s and QF’s leaders have been sanctioned under U.N. Security

Council Resolution 1747 and by the United States Government.

       18.     According to the U.S. State Department’s 2005 Country Reports on Terrorism:

                   “[t]he IRGC was increasingly involved in supplying lethal
                   assistance to Iraqi militant groups, which destabilizes Iraq …
                   Senior Iraqi officials have publicly expressed concern over
                   Iranian interference in Iraq, and there were reports that Iran
                   provided funding, safe passage, and arms to insurgent
                   elements.”
                   12.
       19.     According to the U.S. State Department’s 2008 Country Reports on Terrorism:

                   [In 2007 the IRGC-QF] continued to provide Iraqi militants with
                   Iranian-produced advanced rockets, sniper rifles, automatic weapons,
                   mortars that have killed thousands of Coalition and Iraqi Forces, and
                   explosively formed projectiles (EFPs) that have a higher lethality rate
                   than other types of improvised explosive devices (IEDs), and are
                   specially designed to defeat armored vehicles used by Coalition Forces.


       13.20. The IRGC-QF’s “Department 2000” manages the Government of Iran’s

relationship with Hezbollah, which includes the flow of some of Iran’s most sophisticated weapon

systems, including military- grade Explosively Formed Penetrators (“EFPs”), anti-tank guided

missiles, Improvised Explosive Devices (“IEDs”), and various rockets, such as the Fajr-5.

       14.21. Explosively Formed PenetratorsEFPs in large part were used to injure and kill the

Plaintiffs. Such bombs are sometimes inaccurately called “Iimprovised Eexplosive Ddevices”

(“IEDs”); in reality, the Explosively Formed PenetratorsEFPs were not “improvised” at all, but

were professionally manufactured and specifically designed by Iran, as well and itsas its agents
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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 14 of 180
and proxies, including Hezbollah, to target U.S. and Coalition Forces’ armor-protected vehicles.

       15.22. In October 2007, the IRGC-QF was designated a Specially Designated Global

Terrorist ( as an “SDGT”) pursuant to E.O. 13324 for its terrorism-related activities. The U.S.

Treasury Department’s press release announcing the designation noted that:

                The Qods Force has had a long history of supporting Hezbollah
                [sic]’s military, paramilitary, and terrorist activities, providing it
                with guidance, funding, weapons, intelligence, and logistical
                support. The Qods Force operates training camps for Hezbollah
                [sic] in Lebanon’s Bekaa Valley and has reportedly trained more
                than 3,000 Hezbollah [sic] fighters at IRGC training facilities in
                Iran. The Qods Force provides roughly $100 to $200 million in
                funding a year to Hezbollah [sic] and has assisted Hezbollah [sic]
                in rearming in violation of U.N. Security Council Resolution 1701.

                In addition, the Qods Force provides lethal support in the form of
                weapons, training, funding, and guidance to select groups of Iraqi
                Shi’a militants who target and kill Coalition and Iraqi forces and
                innocent Iraqi civilians. (Emphasis Italics added.)


IV.    IV.     IRAN’S MATERIAL SUPPORT TO ACTS OF TERRORISM IN IRAQ 2004-
2011


       A.   A.        ISLAMIC REVOLUTIONARY GUARD CORPS - QODS FORCE IN
       IRAQ


       16.23. Even before the U.S. invasion of Iraq in 2003, the IRGC and -QF had long

cultivated ties to Shi’a opposition groups opposed to Saddam Hussein’s brutal regime, including

the Badr Corps that was headquartered in Iran but spread about throughout Iraq in the 1990s.

       17.24. During that time, the Badr Corps smuggled men and weapons into Iraq to conduct

attacks against the Hussein regime.

       18.25. Before 2003, the Badr Corps served as Iran’s most important surrogate inside

Iraq, acting as a de facto arm of the IRGC‐QF.

       19.26. After Saddam Hussein’s overthrow in 2003, the Badr Corps renamed itself the

Badr Organization, and many of its operatives joined the newly formed Iraqi security forces.

                                                 14
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 15 of 180
      20.27. Published reports indicate that thousands of members of the Badr Organization

remained on the IRGC-QF payroll after 2004.

       21.28. Several senior Badr Corps operatives later emerged as key conduits for funneling

weapons to Iranian agents and proxies in Iraq from 2004-2011, including Abu Mustafa al‐

Sheibani, a key smuggler of deadly Iranian IEDs and EFPs, and Jamal Ja’far Muhammad, a/k/a

Abu Mahdi al-Muhandis (a.k.a. “The Engineer”), who later led Kata’ib Hezbollah (“KH”).

       22.29. “Department 1000” of the IRGC‐QF, known as the Ramezan Corps, was in

charge of Iraq operations and remains the largest Qods ForceQF command outside of Iran. It

coordinated, armed and influenced the Badr Organization.

       23.30. Although the Badr Organization evolved into a major political organization with

seats in the new Iraqi parliament, it also played a significant role in facilitating Special Groups

operations in Iraq.

       24.31. A segment of senior Special Groups commanders such as Al-Muhandis are, or

were, initially Badr Corps personnel.

       25.32. President Bush declared on May 1, 2003, that “major combat operations in Iraq

have ended.”

       26.33. On May 23, 2003, the Coalition Provisional Authority established as the interim

government for Iraq and disbanded the Iraqi military forces.

       27.34. The U.N. Security Council authorized the post-conflict occupation of Iraq by

Coalition Forces in October 2003 to maintain “security and stability.” S.C. Res. 1511, para. 13,

U.N. Doc. S/RES/1511 (Oct. 16, 2003).

       28.35. Although U.S. policy (supported by U.N. Security Council resolutions) was to

establish peace and stability in Iraq in the hopes of establishing a democratic government, Iran

viewed the U.S. peacekeeping efforts in Iraq as a potential threat to its regime.

       29.36. Rather than engage in armed conflict with the U.S. or other Coalition Forces, Iran


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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 16 of 180
chose to undermine U.S. peacekeeping efforts by supporting terrorism and sectarian violence in

Iraq.

        30.37. After 2003, the IRGC inserted hundreds of its Iranian-trained operatives into

Iraq’s state security organs (notably the Ministry of Interior intelligence structure) in part

through its influence within the Badr Organization.

        31.38. In addition to its coordination with the Badr Organization, the Ramezan Corps

also cultivated, armed, trained and supported several Shi’a terror groups in Iraq that the U.S.

Mmilitary later termed “Special Groups.”

        32.39. Although a June 7, 2004, U.N. Security Council Resolution (S.C. Res. 1546, U.N.

Doc. S/RES/1546) expressly assigned Coalition Forces in Iraq the task of helping Iraq “by

preventing and deterring terrorism,” Iran set out to target Coalition Forces and force them out of

Iraq.

        33.40. In sum, from October 16, 2003, and onward, even though U.S. Mmilitary

personnel in Iraq were participants in an internationally recognized peace keeping mission, Iran

embarked on a policy of terrorism, murder, kidnapping and torture to thwart those efforts.

        34.41. Iran opposed U.S. peacekeeping efforts and initiated acts of international

terrorism against American Mmilitary personnel, Coalition Forces and Iraqi citizens with the goals

of destabilizing Iraq and increasing Iranian influence in that country.

        35.42. Iran, through its authorized agents, and proxies, and instrumentalities acting within

the scope of their employment, agency and direction from t h e Iranian government, provided

material support and/or resources that facilitated and/or in certain instances actually participated

in acts of torture, extrajudicial killing and hostage- taking that caused personal injury or death to

more than one thousand Americans in Iraq.

        36.43. In particular, Iranian agents and proxies developed and cultivated Shi’a

Special Groups, providing training in the use of Explosively Formed PenetratorsEFPs, IEDs,


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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 17 of 180
Improvised Rocket Assisted Munitions (“IRAMs”, rocket-propelled grenades, sniper fire and

mortars and operational and computer security.


       B.      B.     SHI’A “SPECIAL GROUPS”




               1.     1.      JAYSH AL MAHDI and the PROMISED DAY BRIGADES

       37.     Jaysh al Mahdi (the “Mahdi Army” or “JAM”) was established by radical Shi’a

cleric Muqtada al-Sadr in June 2003.

       38.44. Like the Badr Organization, it received support and training from the IRGC.

       39.45. On April 18, 2004,JAM it led the first major armed confrontation against

U.S.-led forces in Iraq from the Shi’a community.

       40.46. Jaysh al MahdiJAM was co-founded by Imad Mughniyah, one of Hezbollah’s

senior commanders, acting under the direction of Iran.

       41.47. Jaysh al MahdiJAM expanded its territorial control of mixed or predominantly

Shi’a neighborhoods and displaced or killed the local Sunni population. JAM was able to gain

initial control in many of the neighborhoods surrounding Baghdad (including “Sadr City”) by

offering the Shi’a population protection and social services.

       42.48. Al-Sadr purportedly dissolved part of his militia after 2007, but he maintained a

small group of Iranian-supported terrorists called the Promised Day Brigades (“PDB”) to carry out

attacks against Coalition Forces.

       43.49. The Promised Day BrigadesPDB received funding, training and weapons from

the IRGC, which is an arm of the Government of Iran.

       44.50. The Promised Day BrigadesPDB actively targeted U.S. forces in an attempt to

disrupt security operations and further destabilize Iraq. ForBy way of example, on June 28, 2011,

the Promised Day BrigadesPDB issued a statement claiming responsibility for 10 mortar and
                                                 17
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 18 of 180
Katyusha rocket attacks against U.S. Mmilitary convoys in which U.S. officials confirmed that

three U.S. troops were killed.

               2.      2.      KATA’IB HEZBOLLAH

       45.51. For many years, Kata’ib Hezbollah ( “ K H ” ) functioned as Iran’s go-to terrorist

group in Iraq and received support from Lebanese Hezbollah, including training in weapons use;

IED construction and operation; and sniper, rocket, and mortar attacks.

       46.52. Historically, Kata’ib HezbollahKH operated mainly in Shi’a areas of Baghdad,

such as Sadr City, and throughout the south.

       47.53. On June 24, 2009 the United States designated Kata’ib HezbollahKH a

“ Foreign Terrorist Organization” (“FTO”).

       48.54. The U.S. State Department’s notice of Kata’ib Hezbollah’sannouncement

concerning KH’s designation stated:

               The organization has been responsible for numerous violent terrorist
               attacks since 2007, including improvised explosive device bombings,
               rocket propelled grenade attacks, and sniper operations. Kata’ib
               HezbollahKH also targeted the International Zone in Baghdad in a
               November 29, 2008 rocket attack that killed two U.N. workers. In
               addition, KH has threatened the lives of Iraqi politicians and civilians
               that support the legitimate political process in Iraq.

       49.55. Kata’ib HezbollahKH was also simultaneously designated a Specially

Designated Global Terrorist (“SDGT”) because it was “responsible for numerous terrorist acts

against Iraqi, U.S., and other targets in Iraq since 2007.”

       50.56. The Treasury Department’s press release announcing KH’s Kata’ib Hezbollah’S

designation explained that Kata’ib Hezbollahit had “committed, directed, supported, or posed a

significant risk of committing acts of violence against Coalition and Iraqi Security Forces.”

       51.57. The press release also quoted then-Under Secretary for Terrorism and Financial

Intelligence, Stuart Levey as stating: “Tthe IRGC-Qods Force provides lethal support to Kata’ib

Hezbollah and other Iraqi Shia militia groups who target and kill Coalition and Iraqi

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 19 of 180
Security Forces.”

       52.58. The press release further reported that between March 2007 and June 2008,

Kata’ib HezbollahKH led a number of attacks against U.S. forces in Iraq, advising: “[Aa]s of

2008, Kata’ib Hezbollah was funded by the IRGC-Qods Force and received weapons training and

support from Lebanon-based Hezbollah. In one instance, Hezbollah provided training-- to include

building and planting IEDs and training in coordinating small and medium arms attacks, sniper

attacks, mortar attacks, and rocket attacks---to Kata’ib Hezbollah members in Iran.”

       53.59. Furthermore, the press release noted:

                Recordings made by Kata’ib Hezbollah for release to the public as
                propaganda videos further demonstrate that Kata’ib Hezbollah
                conducted attacks against Coalition Forces. In mid- August 2008,
                Coalition Forces seized four hard drives from a storage facility
                associated with a Kata’ib Hezbollah media facilitator. The four
                hard drives included approximately 1,200 videos showing Kata’ib
                Hezbollah’s sophisticated planning and attack tactics, techniques,
                and procedures, and Kata’ib Hezbollah’s use of the most lethal
                weapons--including RPG-29s, IRAMs, and EFPs--against
                Coalition Forces in Iraq.

                One of the hard drives contained 35 attack videos edited with the
                Kata’ib Hezbollah logo in the top right corner. Additionally,
                between February and September 2008, Al-Manar in Beirut,
                Lebanon, broadcast several videos showing Kata’ib Hezbollah
                conducting multiple attacks against Coalition Forces in Iraq.

                Immediately preceding the Government of Iraq’s approval of the
                United States-Iraq security agreement in late November 2008,
                Kata’ib Hezbollah posted a statement that the group would
                continue fightingcontinue f i g h t i n g Coalition Forces and
                threatened to conduct attacks against the Government of Iraq if it
                signed the security agreement with the United States.

       54.60. In 2008, the U.S. Department of Defense stated that Kata’ib Hezbollah,

“”[KH], also known as Hezbollah Brigades, is a terrorist group believed to receive funding,

training, logistics and material support from Iran to attack Iraqi and coalition forces using what

the military calls ‘explosively formed penetrators’ – roadside bombs designed to pierce armor-

hulled vehicles – and other weapons such as rocket-assisted mortars.”


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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 20 of 180
      55.61. Kata’ib Hezbollah’SKH’s leadership includes Abu Mahdi al-Muhandis (real

name: Jamal al-Ibrahimi), a long-standing member of the Badr Organization who lived for many

years in Iran.

        56.62. Al-Muhandis wais wanted in Kuwait for his alleged role in the 1983 bombings of

the American and French embassies in Kuwait City, as well as for his alleged involvement in

the assassination attempt on the Kuwaiti Emir in 1985.

        57.63. Al-Muhandis was designated a Specially Designated Global Terrorist (“SDGT”) in

July of 2009 on the same day Kata’ib HezbollahKH was so designated. The press release noted:

                 As of early 2007, al-Muhandis formed a Shia militia group
                 employing instructors from Hezbollah to prepare this group and
                 certain Jaysh al-Mahdi (JAM) Special Groups for attacks against
                 Coalition Forces. The groups received training in guerilla warfare,
                 handling bombs and explosives, and employing weapons-to
                 include missiles, mortars, and sniper rifles. In another instance as of
                 September 2007, al-Muhandis led networks that moved ammunition
                 and weapons--to include explosively formed penetrators (EFPs)--
                 from Iran to Iraq, distributing them to certain JAM militias to target
                 Coalition Forces. As of mid-February 2007, al-Muhandis also ran a
                 weapons smuggling network that moved sniper rifles through the
                 Iran-Iraq border to Shia militias that targeted Coalition Forces.

                 Al-Muhandis also provided logistical support for attacks against
                 Iraqi Security Forces and Coalition Forces conducted by JAM
                 Special Groups and certain Shia militias. In one instance, in April
                 2008, al-Muhandis facilitated the entry of trucks--containing
                 mortars, Katyusha rockets, EFPs, and other explosive devices--
                 from Iran to Iraq that were then delivered to JAM Special Groups
                 in Sadr City, Baghdad. Additionally, al-Muhandis organized
                 numerous weapons shipments to supply JAM Special Groups who
                 were fighting Iraqi Security Forces in the Basrah and Maysan
                 provinces during late March-early April 2008.

                 In addition to facilitating weapons shipments to JAM Special
                 Groups and certain Shia militias, al-Muhandis facilitated the
                 movement and training of Iraq-based Shia militia members to
                 prepare them to attack Coalition Forces. In one instance in
                 November 2007, al-Muhandis sent JAM Special Groups members
                 to Iran to undergo a training course in using sniper rifles. Upon
                 completion of the training course, the JAM Special Groups
                 members had planned to return to Iraq and carry out special
                 operations against Coalition Forces. Additionally, in early March
                 2007, al-Muhandis sent certain Shia militia members to Iran for
                                                   20
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 21 of 180
             training in guerilla warfare, light arms, marksmanship, improvised
             explosive devices (IED) and anti-aircraft missiles to increase the
             combat ability of the militias to fight Coalition Forces.

                In addition to the reasons for which he is being designated today,
                al-Muhandis participated in the bombing of Western embassies in
                Kuwait and the attempted assassination of the Emir of Kuwait in
                the early 1980s. Al-Muhandis was subsequently convicted in
                absentia by the Kuwaiti government for his role in the bombing
                and attempted assassination.

       58.      In a July 2010 press briefing, U.S. General Ray Odierno described Kata’ib


 Hezbollah KH as “clearly connected to Iranian IRGC [Iranian Revolutionary Guard Corps].”

               3.  A3.   ASA’IB AHL AL-HAQ (“LEAGUE OF THE
               RIGHTEOUSAAH”)

       59.64. Asa’ib Ahl al-Haq ( “ A A H ” ) is a Shi’a Special Group, supported and

influenced by Hezbollah and the IRGC-QF, which that has conducted assassinations and

operations against Iraqi civilians, Iraqi Security Forces and Coalition Forces.

       60.65. Asa’ib Ahl al-HaqAAH was originally established by a follower of Muqtada al-

Sadr named Qais al-Khazali.

       61.66. His brother, Laith Khazali, also helped lead the organization.

       62.67. Asa’ib Ahl al-HaqAAH split from al-Sadr’s Jaysh al MahdiJAM organization in

2006. Since After that time, Asa’ib Ahl al-HaqAAH conducted thousands of E F P a n d IED

attacks against U.S. and Iraqi forces; targeted kidnappings of Westerners; launched rocket and

mortar attacks on the U.S. Embassy; murdered American soldiers; and assassinated Iraqi officials.

       63.68. At all relevant times, Asa’ib Ahl al-HaqAAH received significant funding,

training and arms from Iran, and closely coordinated with Iran’s IRGC-QF and Hezbollah.

       64.69. In particular, Lebanese Hezbollah operative Ali Musa Daqduq provided training

to Asa’ib Ahl al-HaqAAH terrorists.

       65.70. Hezbollah and the IRGC-QF provided Jaysh al MahdiJAM, the Promised

Day BrigadesPDB, Kata’ib HezbollahKH, Asa’ib Ahl al-HaqAAH and other Shi’a Special
                                                  21
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 22 of 180
Ggroups with a variety of weapons used to target U.S. and Coalition Forces engaged in

their post-2003 peacekeeping mission.

       66.71. These weapons included signature Iranian munitions, such as Explosively Formed

Penetrators and Improvised Rocket Assisted MunitionsEFPs, IEDs, and IRAMs, as well as 107

mm rockets (often used as part of IRAMs), 120 mm and 60 mm mortars, RPG launchers and other

small arms.


       C.      C.      EXPLOSIVELY FORMED PENETRATORS (“EFPs”)


       67.72. One of Iran’s primary forms of material support and/or resources that facilitated

extrajudicial killings of U.S. citizens in Iraq was the financing, manufacturing and deployment of

Explosively Formed PenetratorsEFPs.

       68.73. As noted above, the EFPs deployed by the IRGC and Hezbollah in Iraq were not

truly “improvised” explosive devices at all, but were professionally manufactured and

specifically designed to target U.S. and Coalition Forces’ armor-protected vehicles.

       69.74. EFPs constitute “weapons of mass destruction” as that term is defined in 18

U.S.C. §2332a(2)(A).

       70.75. First used by Hezbollah against Israeli armored vehicles in Lebanon, EFPs are

known as shaped charges, usually made with a manufactured concave copper disk and a hHigh

eExplosive packed behind the liner.

       71.76. In Iraq, EFPs were often triggered by a passive infra-red device that set off the

explosion within the EFP’s casing, forcing the copper disk forward and turning it into a high

velocity slug that could pierce most military-grade armor.

       72.77. To produce these weapons, copper sheets are often loaded onto a punch press to

yield copper discs. These discs are annealed in a furnace to soften the copper. The discs are then

loaded into a large hydraulic press and formed into the disk-like final shape.


                                                 22
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 23 of 180
      73.78. EFPs are far more sophisticated than homemade explosive devices such as

traditional improvised explosive devicesIEDs, and they are designed specifically to target

vehicles such as armored patrols and supply convoys, though Hezbollah and the Special Groups

have deployed them against U.S. and Iraqi civilians as well.

       74.79. Although Iran’s use of EFPs was publicly disclosed by U.S. and British officials

in 2005, the official identification of specific attacks as EFP attacks was not first publicly

disclosed until 2010.

       75.80. In 2006, the U.S. State Department’s Country Reports on Terrorism further

documented Iran’s specific efforts to provide terrorists with lethal EFPs to ambush and murder

U.S. and other Coalition Forces:

                 Iranian government forces have been responsible for at least some
                 of the increasing lethality of anti-Coalition attacks by providing
                 Shia militants with the capability to build IEDs with explosively
                 formed projectiles similar to those developed by Iran and Lebanese
                 Hezbollah [sic]. The Iranian Revolutionary Guard was linked to
                 armor-piercing explosives that resulted in the deaths of Coalition
                 Forces. The Revolutionary Guard, along with Lebanese Hezbollah
                 [sic], implemented training programs for Iraqi militants in the
                 construction and use of sophisticated IED technology. These
                 individuals then passed on this training to additional militants in
                 Iraq. (emphasis added.)

       76.81. Also in 2006, Brigadier Gen. Michael Barbero, Deputy Chief of Staff for

Strategic Operations of the Multi-National Force – Iraq stated: “Iran is definitely a destabilizing

force in Iraq. I think it’s irrefutable that Iran is responsible for training, funding and equipping

some of these Shi’a extremist groups and also providing advanced IED technology to them, and

there’s clear evidence of that.”

       77.82. Brigadier Gen. Kevin Bergner commented on Iran funding of Hezbollah

operatives in Iraq:




                                                   23
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 24 of 180




                Actions against these Iraqi groups have allowed coalition
                intelligence officials to piece together the Iranian connection to
                terrorism in Iraq […] Iran’s Quds Force, a special branch of Iran’s
                Revolutionary Guards, is training, funding and arming the Iraqi
                groups. […] It shows how Iranian operatives are using Lebanese
                surrogates to create Hezbollah-like capabilities. And it paints a
                picture ofpicture of the level of effort in funding and arming
                extremist groups in Iraq…. The groups operate throughout Iraq.
                They planned and executed a string of bombings, kidnappings,
                sectarian murders and more against Iraqi citizens, Iraqi forces and
                coalition personnel. They receive arms -- including explosively
                formed penetrators, the most deadlydeadliest form of improvised
                explosive device -- and funding from Iran. They also have
                received planning help and orders from Iran.

       78.83. In May 2007, the Commander of the Multinational Division-Center, U.S. Army

Major General Richard Lynch, commented that “[m]ost of our casualties have come from

improvised explosive devices. That’s still the primary threat to our soldiers -- IEDs. And we

have an aggressive campaign to counter those IEDs, but they still are taking a toll on our

soldiers: 13 killed, 39 soldiers wounded. What we’re finding is that the technology and the

financing and the training of the explosively formed penetrators are coming from Iran. The EFPs

are killing our soldiers, and we can trace that back to Iran.” (emphasis added.)

       79.84. According to the U.S. State Department’s 2007 Country Reports on Terrorism:

                Despite its pledge to support the stabilization of Iraq, Iranian
                authorities continued to provide lethal support, including weapons,
                training, funding, and guidance, to some Iraqi militant groups that
                target Coalition and Iraqi security forces and Iraqi civilians. In this
                way, Iranian government forces have been responsible for attacks
                on Coalition forces. The Islamic Revolutionary Guard Corps
                (IRGC)-Qods Force, continued to provide Iraqi militants with
                Iranian-produced advanced rockets, sniper rifles, automatic
                weapons, mortars that have killed thousands of Coalition and Iraqi
                Forces, and explosively formed projectiles (EFPs) that have a
                higher lethality rate than other types of improvised explosive
                devices (IEDs), and are specially designed to defeat armored
                vehicles used by Coalition Forces. The Qods Force, in concert with
                Lebanese Hezbollah, provided training outside Iraq for Iraqi
                militants in the construction and use of sophisticated IED
                technology and other advanced weaponry. These individuals then
                                                  24
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 25 of 180
             passed on this training to additional militants inside Iraq, a “train-
             the-trainer” program. In addition, the Qods Force and Hezbollah
             have also provided training inside Iraq. In fact, Coalition Forces
             captured a Lebanese Hezbollah operative in Iraq in 2007.

      80.85.   Other U.S. Government reports, such as the Department of Defense’s December

2007 “Measuring StabilityMeasuring S t a b i l i t y and Security in Iraq” quarterly report to

Congress, similarly concluded that:

               Iranian Islamic Revolutionary Guard Corps - Qods Force (IRGC-
               QF) efforts to train, equip, and fund Shi’a extremists also continue
               despite reported assurances to Prime Minister Maliki that Iran will
               cease lethal aid.

      81.86.   These observations continued in 2008. According to the U.S. State Department’s

2008 Country Reports on Terrorism:

               The Qods Force, an elite branch of the Islamic Revolutionary
               Guard Corps (IRGC), is the regime’s primary mechanism for
               cultivating and supporting terrorists abroad. The Qods Force
               provided aid in the form of weapons, training, and funding to
               HAMAS and other Palestinian terrorist groups, Lebanese
               Hezbollah, Iraq-based militants, and Taliban fighters in
               Afghanistan …

               Despite its pledge to support the stabilization of Iraq, Iranian
               authorities continued to provide lethal support, including weapons,
               training, funding, and guidance, to Iraqi militant groups that
               targeted Coalition and Iraqi forces and killed innocent Iraqi
               civilians. Iran’s Qods Force continued to provide Iraqi militants
               with Iranian-produced advanced rockets, sniper rifles, automatic
               weapons, and mortars that have killed Iraqi and Coalition Forces as
               well as civilians. Tehran was responsible for some of the lethality
               of anti-Coalition attacks by providing militants with the capability
               to assemble improvised explosive devices (IEDs) with explosively
               formed projectiles (EFPs) that were specially designed to defeat
               armored vehicles. The Qods Force, in concert with Lebanese
               Hezbollah, provided training both inside and outside of Iraq for
               Iraqi militants in the construction and use of sophisticated IED
               technology and other advanced weaponry.




                                                25
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 26 of 180




       D.      D.       IMPROVISED ROCKET ASSISTED MUNITIONS (“IRAMs”)


       82.87. Along with EFPs, Improvised Rocket Assisted MunitionsIRAMs were a signature

weapon of Shi’a militias in Iraq that were supplied by the Iranian Revolutionary Guard

CorpsIRGC.

       83.88. An IRAM is a rocket-fired improvised explosive device made from a large metal

canister – such as a propane gas tank – filled with explosives, scrap metal and ball bearings and

propelled by rockets, most commonly 107 mm rockets launched from fixed or mobile sites by

remote control. They are designed to cause catastrophic damage and inflict mass casualties

       84.89. According toAccording Thet o T h e Joint Improvised Explosive Device

Defeat Organization (“JIEDDO”) of the U.S. Department ofDepartment Defenseof Defense,

IRAMs were first introduced by Iran in November 2007 against U.S. personnel in Iraq.

       85.90. Although Iran’s use of IRAMs was publicly disclosed by U.S. officials after their

introduction in 2007, systematic identification of specific attacks as IRAM attacks was not publicly

disclosed until 2010.

       86.91. IRAM attacks occurred primarily in Baghdad and in the Shi’a dominated areas in

southern Iraq, where Iranian-backed militias Special Groups primarily operated.

       87.92. All of the foregoing support from Iran and its agents for attacks on Coalition

Forces and Iraqi civilians was financed and facilitated in substantial part by material support in the

form of funds transfers initiated by Iran through Iranian banks on behalf of and for the

benefit of Hezbollah and other agents of Iran’s IRGC and QF.


V.     V.      THE PLAINTIFFS

ATTACK 1: JULY 14, 2005 - KIRKUK, IRAQ

                                                  26
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 27 of 180
   A. James Donaldson

       93.     Specialist James Donaldson was a citizen and national of the United States and a

member of the United States Army when he was wounded near Kirkuk, Iraq, on July 14, 2005.

Donaldson is a resident of the State of Idaho.

       94.     On that date at about 6:42 a.m., Specialist Donaldson, along with two other Soldiers

riding in an M1114 HUMVEE as part of a three-vehicle convoy, were on a patrol at C25 Sector,

Kirkuk, Iraq, when an EFP detonated from the side of the vehicle in which he was riding, thus

causing both legs to be blown off and other very serious physical and emotional injuries.

       95.     The convoy of which Specialist Donaldson was a part was traveling back to Forward

Operating Base (“FOB”) Normandy when the EFP attack occurred.

       96.     Photographs of the blown-up HUMVEE vehicle revealed that its armor had circular

puncture holes, a signature finding of EFP devices.

       97.     The device used to injure Specialist Donaldson was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       98.     The SIGACT report specifically indicated that this IED strike was a “possible shape

charge” that penetrated Specialist Donaldson’s M1114 up-armored HUMVEE door armor was

“consistent with an EFP strike.”

       99.     As a result of the EFP attack, Specialist Donaldson lost both legs, his right leg below

the knee, and his left leg above the knee; and experienced multiple other and additional physical

and emotional injuries, including multiple debridement procedures, treatments for multiple

infections, loss of the right dominant index finger, causing permanent radial nerve damage in the

right forearm resulting in lost grip strength, traumatic brain injury (“TBI”), post-concussive

syndrome, anxiety, cognitive disorder, and sleep apnea.

       100.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Specialist Donaldson has experienced severe physical and emotional pain


                                                  27
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 28 of 180
and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the

indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

ATTACK 2: JULY 27, 2005 – CAMP ASHRAF, IRAQ

   B. The Butler Family

       101.      Specialist Adrian Josiah Butler was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on July 27, 2005.

       102.      On that date, Specialist Butler was positioned as the gunner of an M1114 HUMVEE

vehicle traveling on Route Dover in Baghdad, Iraq, just north of Sadr City, when an IED detonated

nearby, thus causing the death of Specialist Butler.

       103.      The Final Autopsy Report concluded that Specialist Butler died due to “multiple

blast injuries” in the subject attack such that his entire torso was blown off at the sacrum level.

Later, the charred lower body torso and parts of Specialist Butler had to be identified with DNA to

match the torso with what was left of his body.

       104.      The device used to kill Specialist Butler was an Iranian-provided IED to Iranian-

funded and -trained Special Groups in Iraq.

       105.      Plaintiff, Peggy Donaldson, was at the time of Specialist Butler’s death and still is a

citizen of the United States and a resident of the State of Michigan. She is the Mother of Adrian

Josiah Butler.

       106.      Plaintiff, Eldridge Butler, was at the time of Specialist Butler’s death and still is a

citizen of the United States and a resident of the State of Michigan. He is the Brother of Adrian

Josiah Butler.


                                                     28
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 29 of 180
      107. Plaintiff, Peggy Donaldson, brings an action individually and on behalf of the Estate

of Adrian Josiah Butler, as its Personal Representative in Wayne County, Michigan, under File No.:

2018-841373-DE.

       108.      As a direct result of the IED attack, and the resulting wrongful death of Adrian

Butler, the Estate of Adrian Butler is entitled to recover for the substantial economic and earnings

capacity loss.

       109.      As a direct result of the IED attack, and the resulting death of Adrian Josiah Butler,

Plaintiffs, Peggy Donaldson and Eldridge Butler, have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, a loss of society, companionship, comfort, advice and

counsel, and substantial economic loss.

   C. The Tollefson Family

       110.      Specialist John Olliver Tollefson was a citizen and national of the United States and

a member of the United States Army when he was killed in Iraq on July 27, 2005.

       111.      On that date, Specialist Tollefson was riding in an M1114 HUMVEE vehicle

traveling on Route Dover in Baghdad, Iraq, just north of Sadr City, when an IED detonated nearby,

thus causing the death of Specialist Tollefson.

       112.      The device used to kill Specialist Tollefson was an Iranian-provided IED to Iranian-

funded and -trained Special Groups in Iraq.

       113.      Plaintiff, Walter Tollefson, was at the time of Specialist Tollefson’s death and still is

a citizen of the United States and a resident of the State of Wisconsin. He is the Father of John

Olliver Tollefson.

       114.      Plaintiff, Mary Steinman, was at the time of Specialist Tollefson’s death and still is a

citizen of the United States and a resident of the State of Wisconsin. She is the Mother of John

Olliver Tollefson.


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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 30 of 180
      115. Plaintiff, Jessica Mecklenburg, was at the time of Specialist Tollefson’s death and

still is a citizen of the United States and a resident of the State of Wisconsin. She is the Sister of

John Olliver Tollefson.

       116.    Plaintiff, Kathryn Miller, was at the time of Specialist Tollefson’s death and still is a

citizen of the United States and a resident of the State of Wisconsin. She is the Sister of John

Olliver Tollefson.

       117.    Plaintiff, Walter Tollefson, brings an action individually and on behalf of the Estate

of John Olliver Tollefson, as its Personal Representative in Fond du Lac County, Wisconsin, under

File No.: 2018PR00047.

       118.    As a direct result of the IED attack, and the resulting wrongful death of John Olliver

Tollefson, the Estate of John Tollefson is entitled to recover for the substantial economic and

earnings capacity loss.

       119.    As a direct result of the IED attack, and the resulting death of John Olliver

Tollefson, Plaintiffs, Walter Tollefson, Mary Steinman, Jessica Mecklenburg, and Kathryn Miller

have experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, a loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 3: SEPTEMBER 26, 2005 - SHU'AIBA, IRAQ

   D. The Wendling Family

       120.    Specialist Michael Jacob Wendling was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on September 26, 2005.

       121.    On that date, Specialist Wendling was driving a vehicle along Main Supply Route

(“MSR”) Tampa as part of a 40-vehicle convoy near Basra City, near its intersection with Route

Heart/Tampa, when an EFP detonated near the vehicle, thus causing a massive explosion and major

blast injuries to Wendling which later that day caused his death.


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     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 31 of 180
       122.   The Army concluded that the device used to kill Michael Wendling was an Iranian-

manufactured and -designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

        123.    Plaintiff, Randall Wendling, was at the time of Specialist Wendling’s death and still

is a citizen of the United States and a resident of the State of Wisconsin. He is the Father of

Michael Wendling.

        124.    Plaintiff, Carrie Wendling, was at the time of Specialist Wendling’s death and still is

a citizen of the United States and a resident of the State of Wisconsin. She is the Mother of

Michael Wendling.

        125.    Plaintiff, Randall Wendling, brings an action individually and on behalf of the Estate

of Michael Wendling, as its Personal Representative in Dodge County, Wisconsin under File No.:

2018PR000224.

        126.    As a direct result of the EFP attack, and the resulting wrongful death of Michael

Wendling, the Estate of Michael Wendling is entitled to recover for pain and suffering experienced

by Michael Wendling between the time of the EFP attack and his death, and for the substantial

economic and earnings capacity loss.

        127.    As a direct result of the EFP attack, and the resulting death of Michael Wendling,

Plaintiffs, Randall Wendling and Carrie Wendling, have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, a loss of society, companionship, comfort, advice and

counsel, and substantial economic loss.

ATTACK 4: _OCTOBER 23, 2005 - RUSAFA DISTRICT, BAGHDAD, IRAQ

    E. The Anderson Family

        128.    Sergeant Bryan Anderson was a citizen and national of the United States and a

member of the United States Army when he was seriously wounded in Iraq on October 23, 2005.

He is a citizen and resident of the State of Illinois.


                                                    31
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 32 of 180
      129. On that date at about noon, Sergeant Anderson was riding in an up-armored

HUMVEE vehicle traveling in the Rusafa District of Baghdad, which is very close to Sadr City,

when a massive explosion occurred from the left side of the vehicle, thus causing circular holes to

pierce through the sides of the vehicle and copper shrapnel pieces to blow off Sergeant Anderson’s

legs, ultimately resulting in above-the-knee amputations of both of Sergeant Anderson’s legs, and

causing other very serious physical and emotional injuries.

       130.    Photographs of the blown-up HUMVEE vehicle revealed that its armor had circular

holes, a signature finding of EFP devices.

       131.    Subsequent to the attack, Sergeant Anderson’s health care providers removed copper

fragments lodged in and throughout his person, another signature finding of EFP detonations.

       132.    The SIGACT report concluded that it was an EFP device which was involved in the

explosion.

       133.    The device used to injure Sergeant Anderson was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       134.    As a result of the attack, Sergeant Anderson lost both legs above-the-knee and his

left arm below-the-elbow; severely damaged and suffered fractures to his right (dominant) hand

and fingers; had shrapnel fragments blow into and all over his body; had his right lung collapse;

experienced multiple surgeries to address and treat his injuries; developed decubitus ulcers on his

person due to his immobility caused by his various injuries; developed heterotopic ossification on

his two leg stumps; and has experienced psychological problems and issues from the horrific

experience and as a result of all of his physical injuries.

       135.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Sergeant Anderson has experienced severe physical and emotional pain

and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the


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     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 33 of 180
indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

       136.    Plaintiff, Janet Waswo, was at the time of Sergeant Anderson’s attack and still is a

citizen of the United States and a resident of the State of Illinois. She is the Mother of Sergeant

Anderson.

       137.    Plaintiff, James Waswo, was at the time of Sergeant Anderson’s attack and still is a

citizen of the United States and a resident of the State of Illinois. He is the Step-Father of Sergeant

Anderson. James Waswo has, for most of the Life of Sergeant Anderson, acted as a “Father figure”

to and for Sergeant Anderson and raised Sergeant Anderson as if he were his own son.

       138.    Plaintiff, Robert Anderson, was at the time of Sergeant Anderson’s attack and still is

a citizen of the United States and a resident of the State of Illinois. He is the Brother of Sergeant

Anderson.

       139.    Plaintiff, Briana Waswo, was at the time of Sergeant Anderson’s attack and still is a

citizen of the United States and a resident of the State of Illinois. She is the Sister of Sergeant

Anderson.

       140.    As a direct result of the EFP attack, and the resulting serious physical and emotional

injuries sustained by Bryan Anderson, Plaintiffs, Janet Waswo, James Waswo, Robert Anderson,

and Briana Waswo, have experienced various solatium-related damages, including intentional

infliction of severe emotional distress, severe mental anguish, extreme emotional pain and

suffering, and substantial economic loss.

ATTACK 5: DECEMBER 4, 2005 - BAGHDAD, IRAQ

   F. The Schild Family

       141.    Sergeant First Class Richard Schild was a citizen and national of the United States


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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 34 of 180
and a member of the United States Army when he was killed in Iraq on December 4, 2005.

          142.   On that date, Sergeant First Class Schild was on a patrol in a three-vehicle convoy of

M1114 HUMVEE vehicles near the Jurf Naddaf neighborhood near Jisr Diyala, Iraq, just east of

Baghdad, when two separate arrays of EFPs detonated near the HUMVEE vehicle in which he was

riding, thus causing a massive explosion, killing Schild and another Soldier in the convoy, and

severely injuring three other Soldiers.

          143.   The Army concluded that the devices used to kill Sergeant First Class Schild were

Iranian-manufactured or -designed EFPs provided to Iranian-funded and -trained Special Groups in

Iraq.

          144.   The Army’s Certificate of Death concluded that “projectile shrapnel injuries due to

blast” were the cause of Sergeant First Class Schild’s death.

          145.   After the attack, the Special Group, Kata’ib Hezbollah (“KH”), released a video

displaying the entire attack and taking credit for it.

          146.   Plaintiff, Kay Schild, was at the time of Richard Schild’s death and still is a citizen

of the United States and a resident of the State of South Dakota. She is the Widow and Wife of

Richard Schild.

          147.   Plaintiff, Koby Schild, was at the time of Richard Schild’s death and still is a citizen

of the United States and a resident of the State of South Dakota. He is the Son of Richard Schild.

          148.   Plaintiff, Keely Schild, was at the time of Richard Schild’s death and still is a citizen

of the United States and a resident of the State of South Dakota. She is the Daughter of Richard

Schild.

          149.   Plaintiff, Bruce Schild, was at the time of Richard Schild’s death and still is a citizen

of the United States and a resident of the State of South Dakota. He is the Brother of Richard

Schild.

          150.   Plaintiff, Brooks Schild, was at the time of Richard Schild’s death and still is a


                                                    34
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 35 of 180
citizen of the United States and a resident of the State of South Dakota. He is the Brother of

Richard Schild.

       151.      Plaintiff, Kay Schild, brings an action individually and on behalf of the Estate of

Richard Schild, as its Personal Representative in Bon Homme County, South Dakota under File

No.: 2018PR00022.

       152.      As a direct result of the EFP attack, and the resulting wrongful death of Richard

Schild, the Estate of Richard Schild is entitled to recover for the substantial economic and earnings

capacity loss.

       153.      As a direct result of the EFP attack, and the resulting death of Richard Schild,

Plaintiffs, Kay Schild, Koby Schild, Keely Schild, Bruce Schild, and Brooks Schild have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, a loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 6: APRIL 12, 2006 - MISIAB, IRAQ

   G. The Calderon Family

       154.       Specialist/Tanker Roland Calderon was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on April 12, 2006.

       155.      On that date, Calderon was driving an up-armored M1114 HUMVEE southbound

along Route Cleveland and was the second such vehicle in a four-vehicle convoy, when an array of

at least five EFPs detonated from the median strip at or near his vehicle in Najaf, Iraq, thus killing

Calderon.

       156.      The so-called “CIDNE” (“Combined Information Data Network Exchange”) Report

concluded that the devices used in the attack were in fact an array of EFPs.

       157.      The so-called “CEXC” (“Combined Explosives Exploitation Cell”) Report

concluded that the pattern of circular puncture holes in the M1114 HUMVEE indicated that the

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 36 of 180
devices used in the attack were in fact EFPs.

        158.    The devices used to kill Roland Calderon were Iranian-manufactured or -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

        159.    Plaintiff, Mirtha Ponce, was at the time of Roland Calderon’s death and still is a

citizen of the United States and is a resident of the State of Georgia. She is the Widow and Wife of

Roland Calderon and is the Personal Representative of the Estate of Roland Calderon in Hardee

County, Florida under File No.: 252018CP000032.

        160.    Plaintiff, A.R.C., a Minor, represented by his legal guardian, Mirtha Ponce, was at

the time of Rolando Calderon’s death and still is a citizen of the United States and is a resident of

the State of Georgia. He is the Son of Roland Calderon.

        161.    Plaintiff, A.J.C., a Minor, represented by his legal guardian, Mirtha Ponce, was at

the time of Roland Calderon’s death and still is a citizen of the United States and is a resident of the

State of Georgia. He is the Son of Roland Calderon.

        162.    Plaintiff, Rosa Milagro Ascencio, was at the time of Roland Calderon’s death and

still is a citizen of the United States and is a resident of the State of Florida. She is the Mother of

Roland Calderon.

        163.    Plaintiff, Saul Rauda, was at the time of Roland Calderon’s death and still is a

citizen of the United States and is a resident of the State of Florida. He is the Step-Father of Roland

Calderon.

        164.    Plaintiff, Yeny Rauda, was at the time of Roland Calderon’s death and still is a

citizen of the United States and is a resident of the State of Florida. She is the Sister of Roland

Calderon.

        165.    Plaintiff, Jasmyn Rauda, was at the time of Roland Calderon’s death and still is a

citizen of the United States and is a resident of the State of Florida. She is the Sister of Roland

Calderon.


                                                    36
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 37 of 180
      166. Plaintiff, Evelyn Rauda, was at the time of Roland Calderon’s death and still is a

citizen of the United States and a resident of the State of Florida. She is the Sister of Roland

Calderon.

         167.   As a direct result of the EFP attack, and the resulting wrongful death of Roland

Calderon, the Estate of Roland Calderon is entitled to recover for the substantial economic and

earnings capacity loss.

         168.   As a direct result of the EFP attack, and the resulting death of Roland Calderon,

Plaintiffs, Mirtha Ponce, A.R.C., a Minor, A.J.C., a Minor, Rosa Milagro, Saul Rauda, Yeny

Rauda, Jasmyn Rauda, and Evelyn Rauda have experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, a loss of society, companionship, comfort, advice and counsel, and

substantial economic loss.

ATTACK 7: APRIL 18, 2006 - BAGHDAD, IRAQ

   H. The Weikel Family

         169.   Captain Ian Weikel was a citizen and national of the United States and a member of

the United States Army when he was killed in Iraq on April 18, 2006.

         170.   On that date, the AR 15-6 Investigative Report indicated that Captain Weikel’s

armored HUMVEE vehicle in which he was riding was blown up by an EFP near the intersection

of Alternative Supply Route (“ASR”) Vernon and Main Supply Route (“MSR”) Tampa just north

of Baghdad, Iraq.

         171.   The AR 15-6 Investigative Report concluded that: “[T]he circular shapes of the

penetrations are consistent with previous EFP attacks. Further evidence was collected from inside

the vehicle in the form of copper fragmentation. Melted copper is the projectile material used in

EFPs.”

         172.   Captain Weikel was not killed in the attack, but died later on an operating table as

                                                  37
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 38 of 180
health care providers tried to stabilize his condition.

       173.    The device used to kill Captain Weikel was an Iranian-manufactured and -designed

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       174.    Upon information and belief, the specific Iranian-funded and -trained group

perpetrating this attack was JAM/Sadrists. JAM was formed by Muqtada al Sadr in June of 2003 in

response to the United States invasion of Iraq and had as its goal the expulsion of United States and

Coalition Forces from Iraq and the establishment of an Iraqi Shiite government.

       175.    The JAM/Sadrists, or the Mahdi Army, was just another one of Iran’s Special

Groups its QF promoted, sponsored, financed, and trained for anti-American and terroristic

activities in Iraq from 2004-2011.

       176.    Plaintiff, Wendy Green, was at the time of Ian Weikel’s death and still is a citizen of

the United States and is a resident of the State of Minnesota. She is the Widow and Wife of Ian

Weikel.

       177.    Plaintiff, J.T.W., a Minor, represented by his legal guardian, Wendy Green, was at

the time of Ian Weikel’s death and still is a citizen of the United States and is a resident of the State

of Minnesota. He is the Son of Ian Weikel.

       178.    Plaintiff, Chad Weikel, was at the time of Ian Weikel’s death and still is a citizen of

the United States and is a resident of the State of Colorado. He is the Brother of Ian Weikel.

       179.    Plaintiff, Wendy Green, brings an action individually and on behalf of the Estate of

Ian Weikel, as its Personal Representative in Bell County, Texas under Case No.: 26076.

       180.    As a direct result of the EFP attack, and the resulting wrongful death of Ian Weikel,

the Estate of Ian Weikel action is entitled to recover for the pain, suffering, and mental anguish

experienced by Ian Weikel between the time of the EFP attack and his death, and for the substantial

economic and earnings capacity loss.

       181.    As a direct result of the EFP attack, and the resulting wrongful death of Ian Weikel,


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     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 39 of 180
Plaintiffs, Wendy Green, J.T.W., a Minor, and Chad Weikel have experienced various solatium-

related damages, including intentional infliction of severe emotional distress, severe mental

anguish, extreme emotional pain and suffering, a loss of society, companionship, comfort, advice

and counsel, and substantial economic loss.

ATTACK 8: APRIL 20, 2006 – SHUHADA AL SYDIA, BAGHDAD, IRAQ

   I. The Teeters Family

       182.    Sergeant Brandon Teeters was a citizen and national of the United States and a

member of the United States Army when he died on May12, 2006, due to blast injuries sustained in

an EFP attack in the Dora Zone of Baghdad on April 20, 2006.

       183.    On that date, Sergeant Teeters was riding in an M2A2 Bradley Fighting Vehicle just

west of the intersection of Baghdad Road and the Dora Expressway in the Shuhada Al Sydia

section of Baghdad. Sergeant Teeters was in the “gunner” position in the vehicle when an array of

EFPs detonated, thus causing a massive explosion, thus causing five Soldiers to be seriously

injured, and one, Sergeant Teeters, to die subsequently from his blast injuries.

       184.    Sergeant Teeters suffered burns over 80% of his body before being removed, alive,

from the Bradley Fighting Vehicle.

       185.    The Army concluded that a copper-shaped EFP hit the fuel cell on the M2A2

Bradley Fighting Vehicle in which Sergeant Teeters was then riding, thus causing a huge fire

within the vehicle.

       186.    The devices used to kill Sergeant Teeters were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       187.    Plaintiff, Tammy Richard, was at the time of Brandon Teeters’ death and still is a

citizen of the United States and a resident of the State of Louisiana. She is the Mother of Brandon

Teeters.

       188.    Plaintiff, Glenn Richard, was at the time of Brandon Teeters’ death and still is a

                                                  39
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 40 of 180
citizen of the United States and a resident of the State of Louisiana. He is the Father of Brandon

Teeters.

       189.    Plaintiff, Heather Richard, was at the time of Brandon Teeters’ death and still is a

citizen of the United States and a resident of the State of Louisiana. She is the Sister of Brandon

Teeters.

       190.    Plaintiff, Tammy Richard, brings an action individually and on behalf of the Estate

of Brandon Teeters, as its Independent Administratrix in the Parish of St. Mary, Louisiana under

Docket No.: 20960.

       191.    As a direct result of the EFP attack, and the resulting wrongful death of Brandon

Teeters, the Estate of Brandon Teeters is entitled to recover for the pain, suffering, and mental

anguish experienced by Brandon Teeters between the time of the EFP attack and his death, and for

the substantial economic and earnings capacity loss.

       192.    As a direct result of the EFP attack, and the resulting wrongful death of Brandon

Teeters, Plaintiffs, Glenn Richard, Tammy Richard and Heather Richard have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, a loss of society, companionship, comfort,

advice and counsel, and substantial economic loss.

ATTACK 9: MAY 5, 2006 - BAGHDAD, IRAQ

   J. The Torres Family

       193.    Private First Class Teodoro Torres was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on May 5, 2006.

       194.    On that date, Private Torres was riding in a convoy of four M1114 HUMVEE

vehicles on a patrol on Highway 8 just to the north of Al Hillah and south of Baghdad, when an

array of five to eight EFPs detonated and blew up the first vehicle in the convoy in which Torres

was riding in the gunner’s cupola, thus killing him.

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        Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 41 of 180
          195. The Certificate of Death indicated that Private Torres was killed by “blast injuries of

the pelvis and lower extremities.”

          196.    The Army concluded that the devices used to kill Private Torres were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

          197.    Plaintiff, Yarissa Torres, was at the time of Teodoro Torres’ death and still is a

citizen of the United States and a resident of the State of New York. She is the Widow of Teodoro

Torres.

          198.    Plaintiff, Yarissa Torres, brings an action individually and on behalf of the Estate of

Teodoro Torres, as its Personal Representative in Taylor County, Texas under Case No.: 29516.

          199.    As a direct result of the EFP attack, and the resulting wrongful death of Teodoro

Torres, the Estate of Teodoro Torres is entitled to recover for the substantial economic and earnings

capacity loss.

          200.    As a direct result of the EFP attack, and the resulting death of Teodoro Torres,

Plaintiff, Yarissa Torres, has experienced various solatium-related damages, including intentional

infliction of severe emotional distress, severe mental anguish, extreme emotional pain and

suffering, a loss of society, companionship, comfort, advice and counsel, and substantial economic

loss.

ATTACK 10: JULY 2, 2006 – KIRKUK, IRAQ

    K. The Paupore Family

          201.    Specialist Nicholas Paupore was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on July 2, 2006. Paupore

is a resident of the State of Virginia.

          202.    On that date, Specialist Paupore was on a patrol riding in an M114 HUMVEE

vehicle along Route Ford, along with five other similar vehicles, near Kirkuk, Iraq, when a multiple

array of EFPs detonated from the median strip just adjacent to the vehicle in which he was riding,

                                                     41
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 42 of 180
thus causing his right leg to be blown off and other very serious physical and emotional injuries.

       203.    The so-called “WIT” (“Weapons Intelligence Team”) Report found copper

fragments throughout the damaged HUMVEE, a signature finding of EFP devices and detonations.

       204.    The devices used to injure Specialist Paupore were Iranian-manufactured and -

designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       205.    As a result of the EFP attack, Specialist Paupore lost his right leg above the knee,

along with multiple other and additional physical and emotional injuries, including multiple

debridement procedures, treatments for multiple infections, a mangled left thigh and right forearm

from shrapnel, permanent radial nerve damage in the right forearm resulting in lost grip strength,

traumatic brain injury (“TBI”), post-concussive syndrome, cognitive disorder, and sleep apnea.

       206.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Specialist Paupore has experienced severe physical and emotional pain

and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the

indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

       207.    Plaintiff, Maria Paupore, was at the time of Nicholas Paupore’s attack and still is a

citizen of the United States and is a resident of the State of Virginia. She is the Wife of Nicholas

Paupore.

       208.    Plaintiff, Mailey Paupore, was at the time of Nicholas Paupore’s attack and still is a

citizen of the United States and a resident of the State of Virginia. She is the Daughter of Nicholas

Paupore.

       209.    Plaintiff, Cody Paupore, was at the time of Nicholas Paupore’s attack and still is a


                                                  42
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 43 of 180
citizen of the United States and is a resident of the State of Virginia. He is the Son of Nicholas

Paupore.

        210.    Plaintiff, Sharon Osborne, was at the time of Nicholas Paupore’s attack and still is a

citizen of the United States and is a resident of the State of Michigan. She is the Mother of Nicholas

Paupore.

        211.    Plaintiff, Thomas Paupore, was at the time of Nicholas Paupore’s attack and still is a

citizen of the United States and is a resident of the State of Arizona. He is the Father of Nicholas

Paupore.

        212.    Plaintiff, Leslie Paupore Bueno, was at the time of Nicholas Paupore’s attack and

still is a citizen of the United States and is a resident of the State of Arizona. She is the Sister of

Nicholas Paupore.

        213.    Plaintiff, Joe Paupore, was at the time of Nicholas Paupore’s attack and still is a

citizen of the United States and is a resident of the State of Michigan. He is the Brother of Nicholas

Paupore.

        214.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Nicholas Paupore as a direct result therefrom, Plaintiffs, Maria Paupore, Mailey Paupore, Cody

Paupore, Sharon Osborne, Thomas Paupore, Leslie Paupore Bueno, and Joe Paupore, have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, and substantial economic

loss.

    L. The Saaristo Family

        215.    Sergeant Brian Saaristo was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on July 2, 2006. Saaristo

is a resident of the State of Minnesota.

        216.    On that date, Sergeant Saaristo was on a patrol riding in an M114 HUMVEE vehicle

                                                    43
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 44 of 180
along Route Ford, along with five other similar vehicles, near Kirkuk, Iraq, when a multiple array

of EFPs detonated from the median strip just adjacent to the vehicle in which he was riding, thus

causing both of his legs to be sheared off below the knees, along with other very serious physical

and emotional injuries.

       217.     The so-called “WIT” (“Weapons Intelligence Team”) Report found copper

fragments throughout the damaged HUMVEE, a signature finding of EFP devices and detonations.

       218.    The devices used to injure Sergeant Saaristo were Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       219.    As a result of the EFP attack, Sergeant Saaristo lost both of his legs below the knee,

along with multiple other and additional physical and emotional injuries, including multiple

debridement procedures, treatments for multiple infections, hypertrophic ossification, “phantom

pain” in the areas where his legs should be, hearing loss, and an anxiety disorder.

       220.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Brian Saaristo has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       221.    Plaintiff, Cheryl Saaristo, was at the time of Brian Saaristo’s attack and still is a

citizen of the United States and is a resident of the State of Minnesota. She is the Wife of Brian

Saaristo.

       222.    Plaintiff, Leah Saaristo, was at the time of Brian Saaristo’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Daughter of Brian


                                                   44
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 45 of 180
Saaristo.

       223.    Plaintiff, Brian Saaristo, Jr., was at the time of Brian Saaristo’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. He is the Son of Brian

Saaristo.

       224.    Plaintiff, Shirley Ann Saaristo, was at the time of Brian Saaristo’s attack and still is

a citizen of the United States and a resident of the State of Minnesota. She is the Mother of Brian

Saaristo.

       225.    Plaintiff, Brenda Angell, was at the time of Brian Saaristo’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Sister of Brian

Saaristo.

       226.    Plaintiff, Barbara Liimatainen, was at the time of Brian Saaristo’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Sister of Brian

Saaristo.

       227.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Brian Saaristo, Plaintiffs, Cheryl Saaristo, Leah Saaristo, Brian Saaristo, Jr., Shirley Ann Saaristo,

Brenda Angell, and Barbara Liimatainen have experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, and substantial economic loss.

ATTACK 11: JULY 31, 2006 – AL NUMANIYAH, IRAQ

   M. The Ford Family

       228.    Specialist Joshua Ford was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on July 31, 2006.

       229.    On that date, Specialist Ford was driving a Bobtail truck which was vehicle No. 20

in a long convoy of 24 tractor trucks, fuel trucks, trailers, and HUMVEEs and vehicles along

Alternate Supply Route (“ASR”) Kiev, Zone 514, near the checkpoint outside of the entrance to the

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   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 46 of 180
Numaniyah Iraqi Army Base near Hillah, when his truck was blown off course by an EFP

detonation.

        230.    The Army’s investigation into this EFP attack concluded that the penetrations in the

truck Specialist Ford was driving were consistent with and distinctive of an EFP array.

        231.    Specialist Ford died soon after the EFP attack due to blast and shrapnel-related

injuries all over his person.

        232.    The devices used to kill Specialist Ford were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

        233.    Plaintiff, Lonnie Ford, was at the time of Specialist Ford’s death and still is a citizen

of the United States and domiciled in the State of Nebraska. He is the Father of Joshua Ford.

        234.    Plaintiff, Linda Mattison-Ford, was at the time of Specialist Ford’s death and still is

a citizen of the United States and domiciled in the State of Nebraska. She is the Step-Mother of

Joshua Ford.

        235.    Plaintiff, Jessica Matson, was at the time of Specialist Ford’s death and still is a

citizen of the United States and a resident of the State of Nebraska. She is the Sister of Joshua Ford.

        236.    Plaintiff, Shawn Ford, was at the time of Specialist Ford’s death and still is a citizen

of the United States and resident of the State of Nebraska. She is the Sister of Joshua Ford.

        237.    Plaintiff, Lonnie Ford, brings an action individually and on behalf of the Estate of

Joshua Ford, as its Personal Representative in Thurston County, Nebraska, under Case No.: 18-2.

        238.    As a direct result of the EFP attack, and the resulting wrongful death of Joshua Ford,

the Estate of Joshua Ford is entitled to recover for the pain and suffering experienced by Joshua

Ford between the time of the EFP attack and his death, and for the substantial economic and

earnings capacity loss.

        239.    As a direct result of the EFP attack, and the resulting wrongful death of Joshua Ford,

Plaintiffs, Lonnie Ford, Linda Mattison-Ford, Jessica Matson, and Shawn Ford have experienced


                                                   46
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 47 of 180
various solatium-related damages, including intentional infliction of severe emotional distress,

severe mental anguish, extreme emotional pain and suffering, a loss of society, companionship,

comfort, advice and counsel, and substantial economic loss.

ATTACK 12: AUGUST 24, 2006 - BAGHDAD, IRAQ

   N. The Thorne Family

       240.    Private First Class William Thorne was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on August 24, 2006.

       241.    On August 24, 2006, Private Thorne was operating an M1114 HUMVEE armored

vehicle for the 1st Squadron of the 10th Cavalry Regiment in Arab ad Dalim, just south of Baghdad,

when an IED detonated nearby, thus killing Private Thorne and injuring two other Soldiers and

destroying the M1114 HUMVEE.

       242.    The devices used to kill Private Thorne were Iranian-manufactured and -designed

IEDs provided to Iranian-funded and -trained Special Groups in Iraq.

       243.    Plaintiff, Karen Thorne, was at the time of Private Thorne’s death and still is a

citizen of the United States and a resident of the State of Iowa. She is the Mother of William

Thorne.

       244.    Plaintiff, Doyle Thorne, was at the time of Private Thorne’s death and still is a

citizen of the United States and a resident of the State of Iowa. He is the Brother of William

Thorne.

       245.    Plaintiff, Joey Robinson, was at the time of Private Thorne’s death and still is a

citizen of the United States and a resident of the State of Nebraska. She is the Sister of William

Thorne.

       246.    As a direct result of the IED attack, and the resulting wrongful death of William

Thorne, Plaintiffs, Karen Thorne, Doyle Thorne, and Joey Robinson, have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

                                                  47
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 48 of 180
mental anguish, extreme emotional pain and suffering, a loss of society, companionship, comfort,

advice and counsel, and substantial economic loss.

ATTACK 13: SEPTEMBER 7, 2006 - SADR CITY, IRAQ

   O. The Botts Family

       247.    Sergeant John Botts was a citizen and national of the United States and a member of

the United States Army Military Police when he was seriously injured in Iraq on September 7,

2006. Botts is a resident of the State of Texas.

       248.    On that date, Sergeant Botts was acting as Team Leader/Truck Commander of a

Military Police Company and riding in the front passenger seat of an unarmored M1114 HUMVEE

vehicle in a patrol convoy just east of Sadr City, Iraq, when an IED suddenly detonated next to the

vehicle, thus causing him to experience a traumatic amputation of his left leg and additional very

serious physical and emotional injuries as a result of the blast.

       249.    Botts’ unit had been on “high alert” for the presence of insurgents from the Mahdi

Army a/k/a Jaysh al-Mahdi (“JAM”) in the region in and around Sadr City, and had been briefed on

the placement of IEDs along roadways in this region by these insurgents.

       250.    The device used to injure Plaintiff John Botts was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       251.    Upon information and belief, the specific Iranian-funded and/or trained Special

Group perpetrating this attack was JAM/Sadrists. JAM was formed by Muqtada al Sadr in 2003 in

response to the United States invasion of Iraq and had as its goal the expulsion of United States and

Coalition Forces from Iraq and the establishment of an Iraqi Shiite Government.

       252.    JAM was just another one of Iran’s Special Groups its QF promoted, sponsored,

financed, and trained for anti-American and terroristic activities in Iraq from 2004-2011.

       253.    Investigation of the blown-up HUMVEE vehicle revealed penetration patterns,

circular in nature, which are signature findings of an IED attack.

                                                   48
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 49 of 180
      254. As a result of the EFP attack, John Botts lost almost his entire left leg, along with

multiple other and additional physical and emotional injuries, including a major right tibia fracture,

a major soft tissue injury to his right calf, facial burns, shrapnel pieces lodged throughout his body,

multiple debridement procedures, treatments for multiple infections and osteomyelitis, “phantom

pain” in the area where his left leg should be, hepatitis C from bad transfusions, strength, traumatic

brain injury (“TBI”), post-traumatic stress disorder (“PTSD”), anxiety, and depression.

         255.   As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, John Botts has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

         256.   Plaintiff, Jennifer Botts, was at the time of John Botts’ attack and still is a citizen of

the United States and a resident of the State of Texas. She is the Wife of John Botts.

         257.   Plaintiff, Dara Botts, was at the time of John Botts’ attack and still is a citizen of the

United States and a resident of the State of Tennessee. She is the Mother of John Botts.

         258.   Plaintiff, John Stephen “Steve” Botts, was at the time of John Botts’ attack and still

is a citizen of the United States and a resident of the State of Tennessee. He is the Father of John

Botts.

         259.   Plaintiff, Elizabeth Cunningham, was at the time of John Botts’ attack and still is a

citizen of the United States and a resident of the State of Tennessee. She is the Sister of John Botts.

         260.   As a result of the EFP attack, and the physical and emotional injuries suffered by

John Botts as a direct result therefrom, Plaintiffs, Jennifer Botts, Dara Botts, John Stephen “Steve”


                                                    49
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 50 of 180
Botts, and Elizabeth Cunningham have suffered and experienced intentional infliction of severe

emotional distress and loss of consortium-related damages.

ATTACK 14: SEPTEMBER 12, 2006 - AL KIFL, IRAQ

    P. The Perez Family

           261.   Second Lieutenant Emily Perez was a citizen and national of the United States and

was a member of the United States Army when she was killed in Iraq on September 9, 2006.

           262.   On that date, Second Lieutenant Perez was providing security as the lead vehicle in

a 21-vehicle convoy near Al Kifl, Iraq, riding as the front passenger in an M1114 HUMVEE

armored vehicle when an array of five EFPs detonated near the vehicle, thus causing a massive

explosion, thus causing her death and serious physical injuries to another Soldier in the vehicle.

           263.   The Army concluded that the devices used to kill Second Lieutenant Perez were

Iranian-manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups

in Iraq.

           264.   Plaintiff, Daniel Perez, was at the time of Emily Perez’s death and still is a citizen of

the United States and a resident of the State of Georgia. He is the Father of Emily Perez.

           265.   Plaintiff, Vicki Perez, was at the time of Emily Perez’s death and still is a citizen of

the United States and a resident of the State of Georgia. She is the Mother of Emily Perez.

           266.   Plaintiff, Kevyn Perez, was at the time of Emily Perez’s death and still is a citizen of

the United States and a resident of the State of Maryland. He is the Brother of Emily Perez.

           267.   Plaintiff, Daniel Perez, brings an action individually and on behalf of the Estate of

Emily Perez, as its Personal Representative in Bell County, Texas, under Case No.: 33577.

           268.   As a direct result of the EFP attack, and the resulting wrongful death of Emily Perez,

the Estate of Emily Perez is entitled to recover for any pain and suffering experienced by Emily

Perez between the time of the EFP attack and her death, and for the substantial economic and

earnings capacity loss.

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 51 of 180
      269. As a direct result of the EFP attack, and the resulting death of Emily Perez,

Plaintiffs, Daniel Perez, Vicki Perez, and Kevyn Perez have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, a loss of society, companionship, comfort, advice and

counsel, and substantial economic loss.

ATTACK 15: OCTOBER 11, 2006 – SADR CITY, BAGHDAD, IRAQ

    Q. The Beem Family

        270.    Staff Sergeant Brian Beem was a citizen and national of the United States and the

Army Platoon Leader of the Stryker Vehicle Crew C11 as a member of the 1st Platoon, C Troop,

4th Squadron, 14th Cavalry, 172nd Stryker Brigade when he was wounded in Iraq on October 11,

2006. Beem is a resident of the State of Colorado.

        271.    On that date at approximately 1:30 a.m., Staff Sergeant Beem was riding on the

back-left hatch in a Stryker Reconnaissance Variant Vehicle when an EFP detonated near his

vehicle, causing a massive explosion which, in turn, caused very serious personal injuries to Beem.

        272.    The device used to injure Staff Sergeant Beem was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

        273.    Investigation of the blown-up HUMVEE vehicle revealed penetration patterns,

circular in nature, which are signature findings of an EFP attack.

        274.    As a result of the EFP attack, Staff Sergeant Beem lost almost his entire left leg,

along with multiple other and additional physical and emotional injuries, including a major right

tibia fracture, a major soft tissue injury to his right calf, facial burns, shrapnel pieces lodged

throughout his body, multiple debridement procedures, treatments for multiple infections and

osteomyelitis, “phantom pain” in the area where his left leg should be, hepatitis C from bad

transfusions, strength, traumatic brain injury (“TBI”), post-traumatic stress disorder (“PTSD”),

anxiety, and depression.


                                                    51
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 52 of 180
      275. As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Staff Sergeant Beem has experienced severe physical and emotional pain

and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the

indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

       276.    Plaintiff, Elizabeth Beem, was at the time of the attack and still is a citizen of the

United States and resident of the State of Colorado. She is the Wife of Brian Beem.

       277.    Plaintiff, Diane Beem, was at the time of the attack and still is a citizen of the United

States and resident of the State of New York. She is the Mother of Brian Beem.

       278.    Plaintiff, Joseph Beem, was at the time of the attack and still is a citizen of the

United States and resident of the State of New York. He is the Father of Brian Beem.

       279.    Plaintiff, Cassandra Beem, was at the time of the attack and still is a citizen of the

United States and resident of the State of Colorado. She is the Daughter of Brian Beem.

       280.    Plaintiff, Kaitlyn Beem, was at the time of the attack and still is a citizen of the

United States and resident of the State of Colorado. She is the Daughter of Brian Beem.

       281.    Plaintiff, Kelly Beem, was at the time of the attack and still is a citizen of the United

States and a resident of the State of Colorado. She is the Daughter of Brian Beem.

       282.    Plaintiff, Cynthia Colón, was at the time of the attack and still is a citizen of the

United States and resident of the State of Tennessee. She is the Sister of Brian Beem.

       283.    Plaintiff, Joseph Beem, Jr., was at the time of the attack and still is a citizen of the

United States and resident of the State of Virginia. He is the Brother of Brian Beem.

       284.    As a result of the EFP attack, and the physical and emotional injuries suffered by


                                                   52
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 53 of 180
Brian Beem as a direct result therefrom, Plaintiffs, Elizabeth Beem, Diane Beem, Joseph Beem,

Cassandra Beem, Kaitlyn Beem, Kelly Beem, Cynthia Colón and Joseph Beem, Jr. have suffered

and experienced intentional infliction of severe emotional distress and loss of consortium-related

damages.

   R. The Sowinski Family

       285.    Sergeant Nicholas Sowinski was a citizen and national of the United States as well

as a member of the Stryker Vehicle Crew C11 of the 1st Platoon, C Troop, 4th Squadron, 14th

Cavalry, 172nd Stryker Brigade and a member of the United States Army when he was killed in

Iraq on October 11, 2006.

       286.    On that date, Sergeant Sowinski was riding as a Gunner in a Stryker Reconnaissance

Variant Vehicle when an EFP detonated near his vehicle, causing a massive explosion which, in

turn, caused Sergeant Sowinski’s death.

       287.    The device used to kill Sergeant Sowinski was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       288.    Plaintiff, Diane Traynor Sowinski, was at the time of Nicholas Sowinski’s death and

still is a citizen of the United States and a resident of the State of Arizona. She is the Mother of

Nicholas Sowinski.

       289.    Plaintiff, Jared Sowinski, was at the time of Nicholas Sowinski’s death and still is a

citizen of the United States and a resident of the State of Arizona. He is the Brother of Nicholas

Sowinski.

       290.    Plaintiff, Austin Sowinski, was at the time of Nicholas Sowinski’s death and still is a

citizen of the United States and a resident of the State of Arizona. He is the Brother of Nicholas

Sowinski.

       291.    Plaintiff, Diane Traynor Sowinski, brings an action individually and on behalf of the

Estate of Nicholas Sowinski, as its Personal Representative, in Superior Court of Arizona, Yavapai

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   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 54 of 180
County, under No: P1300PB201800102.

       292.    As a direct result of the EFP attack, and the resulting wrongful death of Nicholas

Sowinski, the Estate of Nicholas Sowinski is entitled to recover for any pain and suffering

experienced by Nicholas Sowinski between the time of the EFP attack and his death, and for the

substantial economic and earnings capacity loss.

       293.    As a direct result of the EFP attack, and the resulting wrongful death of Nicholas

Sowinski, Plaintiffs, Diane Traynor Sowinski, Jared Sowinski, and Austin Sowinski have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 16: OCTOBER 16, 2006 - SAFWAN, IRAQ

   S. The Byers Family

       294.    Senior Airman Brandon Byers was a citizen and national of the United States and a

member of the United States Air Force under the 586th ESFS Army Command when he was

wounded in Iraq on October 16, 2006. Senior Airman Byers is a resident of Texas.

       295.    On that date at approximately 1800 hours, Senior Airman Byers was the gunner in

the fourth-in-line HUMVEE, heading for supplies in Kuwait from Camp Bucca, when an EFP

detonated through the rear of his vehicle, causing a massive explosion which caused very serious

personal injuries to Byers.

       296.    The device used to injure Plaintiff Senior Airman Byers was an Iranian-

manufactured and -designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       297.    Investigation of the blown-up HUMVEE vehicle revealed penetration patterns,

circular in nature, which are signature findings of an EFP attack.

       298.    As a result of the EFP attack, Senior Airman Byers sustained a severe wound to his

right hand, clipping an artery and blowing out the bone and tendons in his right hand, along with


                                                   54
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 55 of 180
multiple other and additional physical and emotional injuries, including foot drop of the left leg

leaving clusters of nerve damage; shrapnel lodged into his leg knee causing multiple debridement

procedures, treatments for multiple infections, osteomyelitis, and two left total-knee replacements;

traumatic brain injury (“TBI”), post-traumatic stress disorder (“PTSD”), anxiety, and depression.

       299.    After almost seven years of therapy and failed surgeries to repair his leg, Senior

Airman Byers eventually had an above-the-knee amputation of the left leg performed in September

of 2013.

       300.    Senior Airman Byers now suffers from “phantom pain” in the area where his left leg

would otherwise be.

       301.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Senior Airman Byers has experienced severe physical and emotional pain

and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the

indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

       302.    Plaintiff, Megan Byers, was at the time of Brandon Byers’ attack and still is a citizen

of the United States and a resident of the State of Arizona Texas. She is the Wife of Brandon Byers.

       303.    Plaintiff, Cameron Byers, was at the time of Brandon Byers’ attack and still is a

citizen of the United States and a resident of the State of Arizona Texas. She is the daughter of

Brandon Byers.

       304.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Brandon Byers as a direct result therefrom, Plaintiffs, Megan Byers and Cameron Byers, have

suffered and experienced intentional infliction of severe emotional distress and loss of consortium-


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     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 56 of 180
related damages.

ATTACK 17: NOVEMBER 2, 2006 - BAGHDAD, IRAQ

   T. The Gage Family

        305.   Staff Sergeant Joseph Gage was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on November 2, 2006.

        306.   On that date, Staff Sergeant Gage was sitting in the right front passenger seat of an

M1114 HUMVEE vehicle, the lead vehicle in a four-vehicle convoy traveling in the Ziyouna

neighborhood of eastern Baghdad, when an EFP detonated near his vehicle, sending a six-inch

round copper-lined slug penetrating into the passenger side, thus killing all four vehicle occupants,

including Gage. Copper fragments were found throughout the vehicle and were photographed by

Army investigators, thus indicating a telltale sign of an EFP detonation.

        307.   The device used to kill Staff Sergeant Gage was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

        308.   Plaintiff, Samantha Gage, was at the time of Joseph Gage’s death and still is a

citizen of the United States and a resident of the State of Michigan. She is the Widow and Wife of

Joseph Gage.

        309.   Plaintiff, Michael Gage, was at the time of Joseph Gage’s death and still is a citizen

of the United States and a resident of the State of Michigan. He is the Son of Joseph Gage.

        310.   Plaintiff, Randy Gage, was at the time of Joseph Gage’s death and still is a citizen of

the United States and a resident of the State of California. He is the Father of Joseph Gage.

        311.   Plaintiff, Tamara Gage, was at the time of Joseph Gage’s death and still is a citizen

of the United States and a resident of the State of California. She is the Step-Mother of Joseph

Gage.

        312.   Plaintiff, Julia Rosa, was at the time of Joseph Gage’s death and still is a citizen of

the United States and a resident of the State of California. She is the Sister of Joseph Gage.

                                                  56
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 57 of 180
      313. Plaintiff, Samantha Gage, brings an action individually and on behalf of the Estate

of Joseph Gage, as its Personal Representative Commonwealth of Kentucky Court of Justice,

County of Christian, Kentucky, under Case No.: 18-P-237.

       314.    As a direct result of the EFP attack, and the resulting wrongful death of Joseph

Gage, the Estate of Joseph Gage is entitled to recover for any pain and suffering experienced by

Joseph Gage between the time of the EFP attack and his death, and for the substantial economic

and earnings capacity loss.

       315.    As a direct result of the EFP attack, and the resulting wrongful death of Joseph

Gage, Plaintiffs, Samantha Gage, Michael Gage, Randy Gage, Tamara Gage and Julia Rosa have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 18: NOVEMBER 6, 2006 – BAGHDAD, IRAQ

   U. The White Family

       316.    Sergeant Lucas T. White was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on November 6, 2006.

       317.    On that date, Sergeant White was riding as a passenger in a Stryker Fighting Vehicle

traveling near the Ghazaliya neighborhood in the western outskirts of Baghdad, when an IED

detonated near his vehicle, thus causing Sergeant White’s death.

       318.    The device used to kill Sergeant White was an Iranian-manufactured and -designed

IED provided to Iranian-funded and -trained Special Groups in Iraq.

       319.    Plaintiff, Jennifer White, was at the time of Lucas T. White’s death and still is a

citizen of the United States and a resident of the State of Idaho. She is the Widow and Wife of

Sergeant White.

       320.    Plaintiff, Julia Brooks, was at the time of Lucas T. White’s death and still is a citizen


                                                  57
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 58 of 180
of the United States and a resident of the State of Montana. She is the Mother of Sergeant Lucas T.

White.

         321.   Plaintiff, Lyle Brooks, was at the time of Lucas T. White’s death and still is a citizen

of the United States and a resident of the State of Montana. He is the Step-Father of Sergeant

Lucas T. White.

         322.   Plaintiff, Marcus Ramos, was at the time of Lucas T. White’s death and still is a

citizen of the United States and a resident of the State of Montana. He is the Brother of Sergeant

Lucas T. White.

         323.   Plaintiff, Jennifer White, brings an action individually and on behalf of the Estate of

Sergeant Lucas T. White, as its Personal Representative in the Superior Court of Washington,

County of Grant, under No.: 18-4-00178-13.

         324.   As a direct result of the IED attack, and the resulting wrongful death of Sergeant

Lucas T. White, the Estate of Lucas White is entitled to recover for any pain and suffering

experienced by Lucas T. White between the time of the IED attack and his death, and for the

substantial economic and earnings capacity loss.

         325.   As a direct result of the IED attack, and the resulting wrongful death of Sergeant

Lucas T. White, Plaintiffs, Jennifer White, Julia Brooks, Lyle Brooks, and Marcus Ramos have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 19: NOVEMBER 13, 2006 - AL-WAHDA, IRAQ

   V. The Cope Family

         326.   Sergeant Joshua Cope was a citizen and national of the United States and a member

of the United States Army when he was seriously injured in Iraq on November 13, 2006. Cope is a

resident of the State of Florida.

                                                   58
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 59 of 180
      327. On that date, Sergeant Cope was the Team Dismount Leader riding in the back

passenger seat of an M1151 HUMVEE armored vehicle, which was the lead vehicle in a five-

vehicle convoy, in what was thought to be a normal presence patrol near the Al Wahda

neighborhood of Baghdad, Iraq, when an array of EFPs detonated alongside the vehicle, causing a

massive blast which killed two occupants and seriously injured two others, including Sergeant

Cope.

        328.   The devices used to injure Sergeant Cope were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

        329.   As a result of the EFP attack, Sergeant Cope lost both of his legs above the knee,

along with multiple other and additional physical and emotional injuries, including a major right-

hand injury resulting in permanent paralysis and 80% loss of feeling in his dominant hand,

permanent damage to his left thumb, “phantom pain” in the areas where both of his legs should be,

extensive nerve damage resulting in nerve pain in his stump areas, chronic low back and neck pain,

post-traumatic stress disorder (“PTSD”), flashbacks, nightmares, depression, anxiety, memory loss,

and traumatic brain injury (“TBI”).

        330.   As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Joshua Cope has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

        331.   Plaintiff, Erica Owens (f/k/a Cope), was at the time of Joshua Cope’s attack and still

is a citizen of the United States and a resident of the State of Florida. She is the former Wife of


                                                  59
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 60 of 180
Joshua Cope, but was married to Joshua Cope at the time of the November 13, 2006, EFP attack.

       332.    Plaintiff, L.K.C., a Minor, represented by her Mother, Erica Owens (f/k/a Cope),

was at the time of Joshua Cope’s attack and still is a citizen of the United States and a resident of

the State of Florida. She is the Daughter of Joshua Cope.

       333.    Plaintiff, Linda Cope, was at the time of Joshua Cope’s attack and still is a citizen of

the United States and a resident of the State of Florida. She is the Mother of Joshua Cope.

       334.    Plaintiff, Philip Cope, was at the time of Joshua Cope’s attack and still is a citizen of

the United States and a resident of the State of Florida. He is Father of Joshua Cope.

       335.    Plaintiff, Jacob Cope, was at the time of Joshua Cope’s attack and still is a citizen of

the United States and a resident of the State of Florida. He is the Brother of Joshua Cope.

       336.    Plaintiff, Jonathan Cope, was at the time of Joshua Cope’s attack and still is a citizen

of the United States and a resident of the State of Florida. He is the Brother of Joshua Cope.

       337.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Joshua Cope as a direct result therefrom, Plaintiffs, Erica Owens (f/k/a Cope), L.K.C., a Minor,

Linda Cope, Philip Cope, Jacob Cope, and Jonathan Cope have experienced various solatium-

related damages, including intentional infliction of severe emotional distress, severe mental

anguish, extreme emotional pain and suffering, loss of society, companionship, comfort, advice and

counsel, and substantial economic loss.

ATTACK 20: NOVEMBER 25, 2006 - AL JUDIAH, IRAQ

   W. The Morris Family

       338.    Sergeant Daniel Morris was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on November 25, 2006.

       339.    On that date, Sergeant Morris was riding on a routine patrol on Route Dover near Al

Judiah, Iraq, Diyal Province, near the Khan Bani Sad Air Base, in an armored M1114 HUMVEE

vehicle when an array of three EFPs detonated near the vehicle, thus causing a massive explosion,

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     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 61 of 180
thus eventually causing the death of Morris and very serious injuries to two other Soldiers. Morris

died later the same day outside a medical treatment facility while awaiting medical care for his

blast injuries.

          340.    The Army Weapons Intelligence Team and the Explosive Ordinance Disposal

(“WIT/EOD”) concluded that because of the copper residue that was evident around the points

where the M1114 HUMVEE’s armor was penetrated, this was an EFP attack.

          341.    The devices used to kill Daniel Morris were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

          342.    Plaintiff, Glenn Morris, was at the time of Daniel Morris’ death and still is a citizen

of the United States and a resident of the State of Tennessee. He is the Father of Daniel Morris.

          343.    Plaintiff, Amy Morris, was at the time of Daniel Morris’ death and still is a citizen

of the United States and a resident of the State of Tennessee. She is the Mother of Daniel Morris.

          344.    Plaintiff, Adam Morris, was at the time of Daniel Morris’ death and still is a citizen

of the United States and a resident of the State of Tennessee. He is the Brother of Daniel Morris.

          345.    Plaintiff, Cassidy Morris, was at the time of Daniel Morris’ death and still is a

citizen of the United States and a resident of the State of Tennessee. She is the Sister of Daniel

Morris.

          346.    Plaintiff, Amy Morris, brings an action individually and on behalf of the Estate of

Daniel Morris, as its Personal Representative in Anderson County, Tennessee, under File No.:

18PB307.

          347.    As a direct result of the EFP attack, and the resulting wrongful death of Daniel

Morris, the Estate of Daniel Morris is entitled to recover for any pain and suffering experienced by

Daniel Morris between the time of the EFP attack and his death, and for the substantial economic

and earnings capacity loss.

          348.    As a direct result of the EFP attack, and the resulting wrongful death of Daniel


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   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 62 of 180
Morris, Plaintiffs, Glenn Morris, Amy Morris, Adam Morris, and Cassidy Morris have experienced

various solatium-related damages, including intentional infliction of severe emotional distress,

severe mental anguish, extreme emotional pain and suffering, loss of society, companionship,

comfort, advice and counsel, and substantial economic loss.

ATTACK 21: DECEMBER 25, 2006 – TOBJI, BAGHDAD, IRAQ

    X. The Nelson Family

           349.   Private First Class Andrew Nelson was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on December 25, 2006.

           350.   On that date, Private First Class Nelson was performing a security patrol in the Tobji

neighborhood of Baghdad and was riding in an RG-31 Nyala Mine Protected Vehicle when an

array of at least four separate EFPs detonated near the vehicle, thus causing a massive explosion,

thus causing the death of Nelson and one other Soldier.

           351.   The Army’s Explosive Ordinance Disposal (“EOD”) and Combined Explosive

Exploitation Cell (“CEXC”) concluded that the copper fragments found in Nelson’s brain and in

the RG-31 vehicle verified that this was an EFP attack.

           352.   The EOD and CEXC concluded that the devices used to kill Andrew Nelson were

Iranian-manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups

in Iraq.

           353.   Plaintiff, Kristie Pearson, was at the time of Andrew Nelson’s death and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Widow and Wife of

Andrew Nelson. She brings an action individually and on behalf of the Estate of Andrew Nelson,

as its Personal Representative in Clinton County, Michigan, under File No.: 2018-30173-DE.

           354.   As a direct result of the EFP attack, and the resulting wrongful death of Andrew

Nelson, the Estate of Andrew Nelson is entitled to recover for any pain and suffering experienced

by Andrew Nelson between the time of the EFP attack and his death, and for the substantial

                                                    62
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 63 of 180
economic and earnings capacity loss.

           355.   As a direct result of the EFP attack, and the resulting wrongful death of Andrew

Nelson, Plaintiff, Kristie Pearson has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

    Y. The Preston Family

           356.   Specialist Aaron Preston was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on December 25, 2006.

           357.   On that date, Specialist Preston was performing a security patrol in the Tobji

neighborhood of Baghdad and was riding in an RG-31 Nyala Mine Protected Vehicle when an

array of at least four separate EFPs detonated near the vehicle, thus causing a massive explosion,

thus causing the death of Preston and one other Soldier.

           358.   The Army’s Explosive Ordinance Disposal (“EOD”) and Combined Explosive

Exploitation Cell (“CEXC”) concluded that the copper fragments found in one of the occupants’

brain and in the RG-31 vehicle verified that this was an EFP attack.

           359.   The EOD and CEXC concluded that the devices used to kill Specialist Preston were

Iranian-manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups

in Iraq.

           360.   Plaintiff, Mariah Coward, was at the time of Aaron Preston’s death and still is a

citizen of the United States and a resident of the State of Texas. She is the Sister of Aaron Preston.

           361.   As a direct result of the EFP attack, and the resulting wrongful death of Aaron

Preston, Plaintiff, Mariah Coward, has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, and substantial

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 64 of 180
economic loss.

ATTACK 22: JANUARY 22, 2007 - BAGHDAD, IRAQ

    Z. Derek Gagne

        362.    Specialist Derek Gagne was a citizen and national of the United States when he was

seriously injured in Iraq on January 22, 2007. Gagne is a resident of the State of Michigan.

        363.    On that date, Specialist Gagne was positioned as the gunner riding in an M1114

HUMVEE armored vehicle traveling from Baghdad Airport on Route Pluto to Forward Operating

Base (“FOB”) Rustamiyah, which was the third vehicle in a six-vehicle convoy, when a multiple

array of EFPs detonated near the right side of the vehicle, killing two Soldiers and causing serious

physical and emotional injuries to Gagne and another Soldier.

        364.    The Army’s Explosive Ordinance Disposal (“EOD”) verified that this was a

multiple array EFP attack.

        365.    The EOD concluded that the devices used to injure Specialist Gagne were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

        366.    As a result of the EFP attack, Derek Gagne sustained a below-the-knee amputation

of his right leg, lost toes on his left leg, lost his left eye, lost his hearing in his left ear, and various

severe facial injuries.

        367.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Derek Gagne has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

                                                      64
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 65 of 180
      368. Plaintiff, Faye Mroczkowski, was at the time of Derek Gagne’s attack and still is a

citizen of the United States and a resident of the State of Michigan. She is the Mother of Derek

Gagne.

         369.   As a result of the EFP attack, and the physical and emotional injuries suffered by

Derek Gagne as a direct result therefrom, Plaintiff, Faye Mroczkowski, suffered and experienced

intentional infliction of severe emotional distress and loss of consortium-related damages.

   AA.          The Stout Family

         370.   Specialist Brandon Stout was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on January 22, 2007.

         371.   On that date, Specialist Stout was riding in an M1114 HUMVEE armored vehicle

traveling southbound from Baghdad Airport on Route Pluto to Forward Operating Base (“FOB”)

Rustamiyah, which was the third vehicle in a six-vehicle convoy when a multiple array of EFPs

detonated near the right side of the vehicle, thus causing a massive explosion, thus killing Stout and

another Soldier, and causing serious physical and emotional injuries to two other Soldiers.

         372.   The Army’s Explosive Ordinance Disposal (“EOD”) verified that this was a

multiple array EFP attack and that this particular area and intersection had been a “hotbed” for EFP

detonations in the past.

         373.   The EOD concluded that the devices used to kill Specialist Stout were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

         374.   Plaintiff, Audrey Barber, was at the time of Brandon Stout’s death and still is a

citizen of the United States and a resident of the State of Michigan. She is the Widow of Brandon

Stout. She brings an action individually and on behalf of the Estate of Brandon Stout, as its

Personal Representative in Kent County, Michigan, under File No.: 18-204, 429-DE.

         375.   Plaintiff, Callie McGee, was at the time of Brandon Stout’s death and still is a

citizen of the United States and a resident of the State of Georgia. She is the Sister of Brandon

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 66 of 180
Stout.

         376.   Plaintiff, Stephanie Benefield, was at the time of Brandon Stout’s death and still is a

citizen of the United States and a resident of the State of Georgia. She is the Sister of Brandon

Stout.

         377.   As a direct result of the EFP attack, and the resulting wrongful death of Brandon

Stout, the Estate of Brandon Stout is entitled to recover for any pain and suffering experienced by

Brandon Stout between the time of the EFP attack and his death, and for the substantial economic

and earnings capacity loss.

         378.   As a direct result of the EFP attack, and the resulting wrongful death of Brandon

Stout, Plaintiffs, Audrey Barber, William Stout, Callie McGee, and Stephanie Benefield have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

   BB.          The Wager Family

         379.   Sergeant Michelle Wager was a citizen and national of the United States and was a

member of the United States Army when she was seriously injured in Iraq on January 22, 2007.

Wager is a citizen of the State of Michigan.

         380.   On that date, Sergeant Wager was riding as the right front-seat passenger in an

M1114 HUMVEE armored vehicle traveling from Baghdad Airport on Route Pluto to Forward

Operating Base (“FOB”) Rustamiyah, which was the third vehicle in a six-vehicle convoy, when a

multiple array of EFPs detonated near the right side of the vehicle, killing two Soldiers and causing

serious physical and emotional injuries to Wager and another Soldier.

         381.   The Army’s Explosive Ordinance Disposal (“EOD”) verified that this was a

multiple array EFP attack.

         382.   The EOD concluded that the devices used to injure Sergeant Wager were Iranian-


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   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 67 of 180
manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       383.    As a result of the EFP attack, Sergeant Wager sustained an above-the-knee

amputation of her left leg, an open right femur fracture with tissue loss at the right hip, a right ankle

injury, severe blood loss, “phantom pain” in the areas where her left leg should be, post-traumatic

stress disorder (“PTSD”), traumatic brain injury (“TBI”), and infertility.

       384.    As a result of the EFP attack, and the physical and emotional injuries she suffered as

a direct result therefrom, Michelle Wager has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

ATTACK 23: FEBRUARY 7, 2007 - AL DULOIYA, IRAQ

   CC.         The Vendela Family

       385.    Staff Sergeant Travis Vendela was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on February 7, 2007.

Vendela is a resident of the State of Utah.

       386.    On that date, Staff Sergeant Vendela was acting as a Scout Sniper with his unit

tasked with the responsibility of tracking down Special Groups insurgents known to be distributing,

planting, and detonating IEDs in the area of his patrol, when an IED detonated near the vehicle,

thus causing a massive explosion, thus causing very serious physical and emotional injuries to Staff

Sergeant Vendela, and seriously injuring three additional Soldiers riding in the vehicle.

       387.    At the time of the IED attack, Vendela was riding in an unarmored M1114

“HUMVEE”, the second in a five-vehicle convoy traveling northbound on Route Dover in Al

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 68 of 180
Duloiya, Iraq, due north of Baghdad.

       388.    The device used to injure Staff Sergeant Vendela, consisting of two 130mm high-

explosive mortar shells and a saw-blade pressure-plate, was an Iranian-manufactured and -designed

IED provided to Iranian-funded and -trained Special Groups in Iraq.

       389.    As a result of the IED attack, Staff Sergeant Vendela lost both of his legs due to

amputation, broke his neck at the C3-C5 levels and eventually had to undergo a cervical fusion at

those levels, separated facets in his lower back, separated his sacroiliac joint and had to undergo an

operative procedure to stabilize the area, fractured his right jawbone, fractured his left humerus

(upper arm), experienced hemorrhagic shock, suffered a traumatic brain injury (“TBI”), underwent

a fasciotomy procedure in his right forearm to save that arm, had multiple shrapnel fragments

imbed throughout areas of his body, had a tracheostomy performed, experienced hypertrophic

ossification, suffered post-traumatic stress disorder (“PTSD”), anxiety, sleep deprivation, and

depression.

       390.    As a result of the IED attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Travis Vendela has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       391.    Plaintiff, Marianne Vendela, was at the time of Travis Vendela’s attack and still is a

citizen of the United States and a resident of the State of Arizona. She is the Mother of Travis

Vendela.

       392.    As a result of the EFP attack, and the physical and emotional injuries suffered by


                                                  68
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 69 of 180
Travis Vendela as a direct result therefrom, Plaintiff, Marianne Vendela, has suffered and

experienced intentional infliction of severe emotional distress and loss of consortium-related

damages.

ATTACK 24: FEBRUARY 27, 2007 - BAGHDAD, IRAQ

   DD.         The Cadavero Family

       393.    Sergeant Jonathan Cadavero was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on February 27, 2007.

       394.    On that date, Sergeant Cadavero was acting as a Medic with his unit near Yusufiya,

southwest of Baghdad, riding in a vehicle when an EFP detonated nearby, thus causing a massive

explosion which caused Sergeant Cadavero’s death.

       395.    The device used to kill Sergeant Cadavero was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       396.    The specific Iranian-funded and -trained group perpetrating this attack was Kata’ib

Hezbollah (“KH”), which claimed responsibility for the attack in a video.

       397.    KH is an Iranian-sponsored and funded anti-American Special Group founded by

the IRGC in 2006 and perpetuated by Iran, the IRGC, QF and Hezbollah thereafter.

       398.    Plaintiff, Nadia Cadavero, was at the time of Jonathan Cadavero’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Mother of Jonathan

Cadavero.

       399.    Plaintiff, Michelle Dearing, was at the time of Jonathan Cadavero’s death and still is

a citizen of the United States and a resident of the State of Maryland. She is the Widow of

Jonathan Cadavero.

       400.    Plaintiff, David Cadavero, was at the time of Jonathan Cadavero’s death and still is a

citizen of the United States and a resident of the State of New Jersey. He is the Father of Jonathan

Cadavero.

                                                 69
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 70 of 180
      401. Plaintiff, Kristia Markarian, was at the time of Jonathan Cadavero’s death and still is

a citizen of the United States and a resident of the State of New Jersey. She is the Sister of Jonathan

Cadavero.

          402.   Plaintiff, Nadia Cadavero, brings an action individually and on behalf of the Estate

of Jonathan Cadavero, as its Personal Representative in Orange County, New York, under File No.:

2007-309/A.

          403.   As a direct result of the EFP attack, and the resulting wrongful death of Jonathan

Cadavero, the Estate of Jonathan Cadavero is entitled to recover for any pain and suffering

experienced by Jonathan Cadavero between the time of the EFP attack and his death, and for the

substantial economic and earnings capacity loss.

          404.   As a direct result of the EFP attack, and the resulting wrongful death of Jonathan

Cadavero, Plaintiffs, Nadia Cadavero, Michelle Dearing, David Cadavero, and Kristia Markarian

have experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 25: MARCH 5, 2007 - BAQUBAH, IRAQ

   EE.           The Harris Family

          405.   Sergeant Blake Harris was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on March 5, 2007.

          406.   On that date, Sergeant Harris was riding in an M1114 HUMVEE armored vehicle

traveling in the city of Baqubah in the Diyala province when an IED detonated near his vehicle,

causing a massive explosion which, in turn, caused Harris’ and two other American Soldiers’

deaths.

          407.   The device used to kill Blake Harris was an Iranian-manufactured and -designed

IED provided to Iranian-funded and -trained Special Groups in Iraq.

                                                   70
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 71 of 180
      408. Plaintiff, Joanna Harris, was at the time of Blake Harris’ death and still is a citizen

of the United States and a resident of the State of Colorado. She is the Widow of Blake Harris.

       409.    Plaintiff, J.H., a Minor, represented by his legal guardian, Joanna Harris, was at the

time of Blake Harris’ death and still is a citizen of the United States and a resident of the State of

Colorado. He is the Son of Blake Harris.

       410.    Plaintiff, Deborah Harris, was at the time of Blake Harris’ death and still is a citizen

of the United States and a resident of the State of Colorado. She is the Mother of Blake Harris.

       411.    Plaintiff, Joanna Harris brings an action individually and on behalf of the Estate of

Blake Harris, as its Personal Representative in Case No. 27445 in Bell County, Texas.

       412.    As a direct result of the IED attack, and the resulting wrongful death of Blake

Harris, the Estate of Blake Harris is entitled to recover for any pain and suffering experienced by

Blake Harris between the time of the IED attack and his death, and for the substantial economic and

earnings capacity loss.

       413.    As a direct result of the IED attack, and the resulting wrongful death of Blake

Harris, Plaintiffs, Joanna Harris, J.H., a Minor, and Deborah Harris, have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, loss of society, companionship, comfort,

advice and counsel, and substantial economic loss.

   FF. The Mayo Family

       414.    Private First Class Barry Mayo was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on March 5, 2007.

       415.    On that date, Private First Class Mayo was riding in an M1114 HUMVEE vehicle,

the second vehicle in a four-vehicle convoy traveling in the city of Baqubah in the Diyala province,

when an IED, consisting of two 125mm high explosive shells, detonated near his vehicle and

caused a massive explosion which eventually killed Private First Class Mayo and another American

                                                   71
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 72 of 180
Soldier. Mayo later died in Balad, Iraq, due to a right arm amputation and shrapnel wounds in his

chest.

         416.   The device used to kill Private First Class Mayo was an Iranian-manufactured and

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

         417.   Plaintiff, John Mayo, was at the time of Barry Mayo’s death and still is a citizen of

the United States and a resident of the State of Texas. He is the Father of Barry Mayo.

         418.   Plaintiff, Rebecca Mayo, was at the time of Barry Mayo’s death and still is a citizen

of the United States and a resident of the State of Texas. She is the Mother of Barry Mayo.

         419.   Plaintiff, Andy Mayo, is a citizen of the United States and a resident of the State of

Texas. He is the Brother of Barry Mayo.

         420.   Plaintiff, John Mayo, brings an action individually and on behalf of the Estate of

Barry Mayo, as its Personal Representative in Bell County, Texas, under Case No.: 33575.

         421.   As a direct result of the IED attack, and the resulting wrongful death of Barry

Mayo, the Estate of Barry Mayo is entitled to recover for any pain and suffering experienced by

Barry Mayo between the time of the IED attack and his death, and for the substantial economic and

earnings capacity loss.

         422.   As a direct result of the IED attack, and the resulting wrongful death of Barry Mayo,

Plaintiffs, John Mayo, Rebecca Mayo, and Andy Mayo have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

and substantial economic loss.

   GG.          The Russell Family

         423.   Specialist Ryan Russell was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on March 5, 2007.

         424.   On that date, Specialist Ryan was in an M1114 HUMVEE armored vehicle, the


                                                   72
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 73 of 180
second in a four-vehicle convoy traveling in the city of Baqubah in the Diyala province northeast of

Baghdad, when an IED detonated near his vehicle, causing a massive explosion which caused

Specialist Ryan’s and two other American Soldiers’ deaths and injured another. The traffic circle

where the detonation occurred had been the site of several earlier IED attacks on U.S. Soldiers.

       425.     The device used to kill Specialist Russell was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       426.     Plaintiff, Kathy Moore, was at the time of Ryan Russell’s death and still is a citizen

of the United States and a resident of the State of North Carolina. She is the Mother of Ryan

Russell.

       427.     Plaintiff, Thomas Moore, Jr., was at the time of Ryan Russell’s death and still is a

citizen of the United States and a resident of the State of North Carolina. He is the Step-Father of

Ryan Russell.

       428.     Plaintiff, Kathy Moore, brings an action individually and on behalf of the Estate of

Ryan Russell, as its Personal Representative in Bell County, Texas, under File No.: 27037.

       429.     As a direct result of the IED attack, and the resulting wrongful death of Ryan

Russell, the Estate of Ryan Russell is entitled to recover for any pain and suffering experienced by

Ryan Russell between the time of the IED attack and his death, and for the substantial economic

and earnings capacity loss.

       430.     As a direct result of the IED attack, and the resulting wrongful death of Ryan

Russell, Plaintiffs, Kathy Moore and Thomas Moore, Jr., have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

and substantial economic loss.

ATTACK 26: MAY 8, 2007 - PASMAYA, IRAQ

   HH.          The Martinez Family

                                                  73
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 74 of 180
      431. Private First Class Saul Martinez was a citizen and national of the United States and

a member of the United States Army when he was seriously injured in Iraq on May 8, 2007.

Martinez is a resident of the State of Montana.

       432.    On that date, Private First Class Martinez was acting as a Gunner in a convoy of

four M1151 HUMVEE armored vehicles traveling near Pasmaya, Iraq, southeast of Baghdad,

escorting Colonel Grigsby to a destination when a multiple array of EFPs detonated adjacent to his

vehicle, thus causing a massive explosion and sending it airborne and rolling, thus killing three of

the vehicle occupants and seriously injuring Martinez. The EFP detonation came from the

vehicle’s right side, blowing two holes in each of the two right-sided doors, and blowing off the

right rear door.

       433.    The Army’s investigative report for this attack concluded that “complex EFP

devices may indicate Iranian assistance, suggesting that the attack was carried out by Shia (Shiite)

extremists, possibly linked to JAM (“Jaysh al-Mahdi”).” The fragmentation recovered from the

M1151 vehicle was consistent with a copper-lined EFP.

       434.    JAM was formed by Muqtada al Sadr in 2003 in response to the United States

invasion of Iraq and had as its goal the expulsion of United States and Coalition Forces from Iraq

and the establishment of an Iraqi Shiite Government.

       435.    JAM was just another one of Iran’s Special Groups its QF promoted, sponsored,

financed, and trained for anti-American and terroristic activities in Iraq from 2004-2011.

       436.    As a result of the EFP attack, Saul Martinez had an above-the-knee amputation of

his right leg, a below-the-knee amputation of his left leg, a traumatic brain injury (“TBI”) which

results in regular fatigue and forgetfulness, a major hole or gap in his right gluteal (buttocks) area

from shrapnel, hypertrophic ossification, an IV infiltration on his right forearm, and post-traumatic

stress disorder (“PTSD”), depression and anxiety.

       437.    As a result of the EFP attack, and the physical and emotional injuries he suffered as


                                                   74
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 75 of 180
a direct result therefrom, Saul Martinez has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       438.    Plaintiff, Sarah Martinez, was at the time of Saul Martinez’s attack and still is a

citizen of the United States and a resident of the State of Montana. She is the Wife of Saul

Martinez.

       439.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Saul Martinez as a direct result therefrom, Plaintiff, Sarah Martinez, has suffered and experienced

intentional infliction of severe emotional distress and loss of consortium-related damages.

   II. The Blake Stephens Family

       440.    Sergeant Blake Stephens was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on May 8, 2007.

       441.    On that date, Sergeant Stephens was acting as the Commander, in a convoy of four

M1151 HUMVEE armored vehicles traveling near Pasmaya, Iraq, southeast of Baghdad, escorting

Colonel Grigsby to a destination when a multiple array of EFPs detonated adjacent to his vehicle,

thus causing a massive explosion and sending it airborne and rolling, thus killing Stephens and two

other Soldiers, and severely injuring another. The EFP detonation came from the vehicle’s right

side, blowing two holes in each of the two right-sided doors, and blowing off the right rear door.

       442.    The Army’s investigative report for this attack concluded that “complex EFP

devices may indicate Iranian assistance, suggesting that the attack was carried out by Shia (Shiite)

extremists, possibly linked to JAM (“Jaysh al-Mahdi”).” The fragmentation recovered from the


                                                  75
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 76 of 180
M1151 vehicle was consistent with a copper-lined EFP.

         443.    JAM was formed by Muqtada al Sadr in 2003 in response to the United States

invasion of Iraq and had as its goal the expulsion of United States and Coalition Forces from Iraq

and the establishment of an Iraqi Shiite Government.

         444.    JAM was just another one of Iran’s Special Groups its QF promoted, sponsored,

financed, and trained for anti-American and terroristic activities in Iraq from 2004-2011.

         445.    Plaintiff, Erin Dructor, was at the time of Blake Stephens’ death and still is a citizen

of the United States and a resident of the State of California. She is the Widow of Blake Stephens.

         446.    Plaintiff, Erin Dructor, brings an action individually and on behalf of the Estate of

Blake Stephens, as its Personal Representative in Bannock County, Idaho, under Case No.: CV-

2018-967-IE.

         447.    As a direct result of the EFP attack, and the resulting wrongful death of Blake

Stephens, the Estate of Blake Stephens is entitled to recover for any pain and suffering experienced

by Blake Stephens between the time of the EFP attack and his death, and for the substantial

economic and earnings capacity loss.

         448.    As a direct result of the EFP attack, and the resulting wrongful death of Blake

Stephens, Plaintiff, Erin Dructor has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

ATTACK 27: MAY 14, 2007 – AMIL DISTRICT, BAGHDAD, IRAQ

   JJ.           The Altman Family

         449.    Specialist Jake Altman was a citizen and national of the United States and a member

of the United States Army when he was seriously injured in Iraq on May 14, 2007. Altman is a

resident of the State of North Carolina.


                                                    76
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 77 of 180
      450. On that date, Specialist Altman was inside of a one-man reconnaissance vehicle, an

M1151 armored HUMVEE vehicle, the first in a convoy of four vehicles traveling in the Amil

District of Baghdad from Forward Operating Base (“FOB”) Falcon to FOB Liberty on Route

Vernon, when a four-array EFP detonated from the side of the vehicle, thus causing a massive

explosion which, in turn, caused very serious personal injuries to Altman, killed two American

Soldiers, and injured yet another.

       451.    The Army’s investigation into the attack concluded that the device used to injure

Specialist Altman was an Iranian-manufactured and -designed EFP provided to Iranian-funded and

-trained Special Groups in Iraq.

       452.    As a result of the EFP attack, Jake Altman lost his right hand and forearm up to his

elbow, had shrapnel fragments explode into various parts and areas of his body, most notably in his

entire left leg, had to have operative procedures on both knees to remove shrapnel fragments, had to

undergo a fasciotomy procedure in his left leg to save that leg from an amputation, fractured his left

pointer finger, fractured the bottom of his left femur bone, fractured his left toe, and was diagnosed

with post-traumatic stress disorder (“PTSD”).

       453.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Jake Altman has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       454.    Plaintiff, Nadja Altman, was at the time of Jake Altman’s attack and still is a citizen

of the United States and a resident of the State of North Carolina. She is the Wife of Jake Altman.


                                                  77
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 78 of 180
      455. Plaintiff, J.A., a Minor, represented by his legal guardian, Nadja Altman, was at the

time of Jake Altman’s attack and still is a citizen of the United States and a resident of the State of

North Carolina. He is the Son of Jake Altman.

       456.    Plaintiff, Gloria Prosser, was at the time of Jake Altman’s attack and still is a citizen

of the United States and a resident of the State of North Carolina. She is the Mother of Jake

Altman.

       457.    Plaintiff, Charles Altman, was at the time of Jake Altman’s attack and still is a

citizen of the United States and a resident of the State of North Carolina. He is the Brother of Jake

Altman.

       458.    Plaintiff, Michael Altman, was at the time of Jake Altman’s attack and still is a

citizen of the United States and a resident of the State of Colorado. He is the Brother of Jake

Altman.

       459.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Jake Altman as a direct result therefrom, Plaintiffs, Nadja Altman, J.A., a Minor, Gloria Prosser,

Charles Altman and Michael Altman have suffered and experienced intentional infliction of severe

emotional distress and loss of consortium-related damages.

ATTACK 28: MAY 18, 2007--NASIRIYAH, IRAQ

   KK.         The Dahlman Family

       460.    Private First Class Louis Dahlman was a citizen and national of the United States

and a member of the United States Army when he was seriously injured in Iraq on May 19, 2007.

He is a resident of the State of Texas.

       461.    On that date, Private First Class Dahlman was serving as the “Gunner” riding in a

lead M1114 HUMVEE armored vehicle providing armed escort for a convoy heading northbound

on Route Tampa from Tallil Air Force Base to Camp Scania in Southern Iraq.

       462.    As the lead HUMVEE approached an overpass, an EFP detonated, creating an

                                                   78
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 79 of 180
overwhelming explosion and causing fire and a huge copper slug to rip through it, thus destroying

the vehicle and causing the violent death of two occupants and serious physical and emotional

injuries to the other two, including Private First Class Dahlman.

       463.    The Army later confirmed the presence of EFPs at the accident site when it picked

up the destroyed HUMVEE. It also referenced the fact that there had been 12 reported EFP events

in that vicinity since the beginning of 2007.

       464.    The devices used to injure Louis Dahlman were Iranian-manufactured EFPs

provided to Iranian-funded and -trained Special Groups in Iraq.

       465.    As a result of the EFP attack, Louis Dahlman had most of his jaw, mouth and teeth

blown off his person, lost much facial skin, had shrapnel blow into most parts of his face, upper

torso and extremities, suffered a traumatic brain injury (“TBI”) and concussion, fractured his

clavicle (“collarbone”) three separate times in securing necessary treatment, underwent operative

procedures to correct the clavicle fractures, lost much of his two fibula bones in both of his legs in

procedures to graft bone onto his jaw area, and has experienced over 12 surgeries to attempt to fix

his jaw area, mouth and teeth.

       466.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Louis Dahlman has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       467.    Plaintiff, Kay Stockdale, was at the time of Louis Dahlman’s attack and still is a

citizen of the United States and a resident of the State of Iowa. She is the Mother of Louis


                                                  79
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 80 of 180
Dahlman.

       468.    Plaintiff, Larry Stockdale, was at the time of Louis Dahlman’s attack and still

is a citizen of the United States and a resident of the State of Iowa. He is the Step-Father of

Louis Dahlman.

       469.    Plaintiff, Lucas Dahlman, was at the time of Louis Dahlman’s attack and still is a

citizen of the United States and a resident of the State of Iowa. He is the Brother of Louis Dahlman.

       470.    Plaintiff, Amber Ahrens, was at the time of Louis Dahlman’s attack and still is a

citizen of the United States and a resident of the State of Iowa. She is the Sister of Louis Dahlman.

       471.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Louis Dahlman as a direct result therefrom, Plaintiffs, Kay Stockdale, Larry Stockdale, Lucas

Dahlman and Amber Ahrens have suffered and experienced intentional infliction of severe

emotional distress and loss of consortium-related damages.

   LL.         The Schumann Family

       472.    Sergeant Jason Schumann was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on May 18, 2007.

       473.    On that date, Sergeant Schumann was riding in a lead M1114 HUMVEE armored

vehicle providing armed escort for a convoy heading northbound on Route Tampa from Tallil Air

Force Base to Camp Scania in Southern Iraq.

       474.    As the lead HUMVEE approached an overpass, an EFP detonated, creating an

overwhelming explosion and causing fire and a huge copper slug to rip through it, thus destroying

the vehicle and causing the violent death of Sergeant Schuman and one other American Soldier,

and serious physical and emotional injuries to the other two.

       475.    The Army later confirmed the presence of EFPs at the accident site when it picked

up the destroyed HUMVEE. It also referenced the fact that there had been 12 reported EFP events

in that vicinity since the beginning of 2007.

                                                  80
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 81 of 180
      476. The devices used to kill Jason Schumann were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       477.     Plaintiff, James Schuman, was at the time of Jason Schumann’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. He is the Father of Jason

Schumann.

       478.    Plaintiff, Ben Schumann, was at the time of Jason Schumann’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. He is the Brother of Jason

Schumann.

       479.    Plaintiff, Brent Anderson, was at the time of Jason Schumann’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. He is the Step-Brother of

Jason Schumann.

       480.    Plaintiff, Kristie Nelson, was at the time of Jason Schumann’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Step-Sister of Jason

Schumann.

       481.    Plaintiff, Kayla Nelson, was at the time of Jason Schumann’s attack and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Step-Sister of Jason

Schumann.

       482.    Plaintiff, James Schumann, brings an action individually and on behalf of the Estate

of Jason Schumann, as its Personal Representative in Clay County, Minnesota, under Court File

No.: 14-PR-4627.

       483.    As a direct result of the EFP attack, and the resulting wrongful death of Jason

Schumann, the Estate of Jason Schumann is entitled to recover for any pain and suffering

experienced by Jason Schumann between the time of the EFP attack and his death, and for the

substantial economic and earnings capacity loss.

       484.    As a direct result of the EFP attack, and the resulting wrongful death of Jason


                                                   81
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 82 of 180
Schumann, Plaintiffs, James Schumann, Ben Schumann, Brent Anderson, Kristie Nelson and Kayla

Nelson have experienced various solatium-related damages, including intentional infliction of

severe emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of

society, companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 29: MAY 29, 2007 – SADR CITY, IRAQ

   MM.         The Hancock Family

       485.    Specialist Jerral Steele Hancock was a citizen and national of the United States and a

member of the United States Army when he was wounded in Iraq on May 29, 2007. He is a

resident of the State of California.

       486.    On that date, which was also Specialist Hancock’s 21st birthday and Memorial Day,

he was on a classified mission driving as part of a four-vehicle convoy in Sadr City. Specialist

Hancock was driving the lead vehicle, a 70-ton M-1 Abrams Main Battle Tank, through Sadr City,

Iraq, when an EFP exploded near his vehicle.

       487.    The device used to injure Specialist Hancock was an Iranian-manufactured EFP

provided to Iranian-funded and -trained Special Groups in Iraq.

       488.    As a result of the attack, Specialist Hancock has lost his left arm and is paralyzed

from the chest down.

       489.    Plaintiff, J.H., a Minor, represented by his legal guardian, Stacie Tscherny, was at

the time of the attack and still is a citizen of the United States and domiciled in the State of

California. He is the Son of Jerral Hancock.

       490.    Plaintiff, A.H., a Minor, represented by her legal guardian, Stacie Tscherny, was at

the time of the attack and still is a citizen of the United States and domiciled in the State of

California. She is the Daughter of Jerral Hancock.

       491.    Plaintiff, Stacie Tscherny, was at the time of the attack and still is a citizen of the

United States and domiciled in California. She is the Mother of Jerral Hancock.


                                                   82
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 83 of 180
      492. Plaintiff, Dirrick Benjamin, was at the time of the attack and still is a citizen of the

United States and domiciled in California. He is the Step-Father of Jerral Hancock.

       493.    Plaintiff, Savannah Tscherny, was at the time of the attack and still is a citizen of the

United States and domiciled in California. She is the Sister of Jerral Hancock.

       494.    Plaintiff, Samantha Hancock, was at the time of the attack and still is a citizen of the

United States and domiciled in California. She is the Sister of Jerral Hancock.

       495.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Jerral Hancock has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       496.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Jerral Hancock as a direct result therefrom, Plaintiffs, J.H., a Minor, A.H., a Minor, Stacie

Tscherny, Dirrick Benjamin, Savannah Tscherny, and Samantha Hancock have suffered and

experienced intentional infliction of severe emotional distress and loss of consortium-related

damages.

ATTACK 30: JUNE 6, 2007 – BAGHDAD, IRAQ

   NN.         The Gajdos Family

       497.    Specialist Shawn Gajdos was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on June 6, 2007.

       498.    On that date, Specialist Gajdos was riding in a M1151 HUMVEE armored vehicle

traveling at or near the intersection of Mohammed Al-Qasim Expressway and Omar Bin Al Khatab


                                                  83
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 84 of 180
Street in the Baghdad Al-Jahida area of Baghdad when a multiple array EFP detonated next to the

vehicle, thus destroying it and killing Specialist Gajdos.

       499.      The devices used to kill Specialist Gajdos were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       500.      Plaintiff, Brenda Richards, is a citizen of the United States and a resident of the

State of Michigan. She is the Mother of Shawn Gajdos.

       501.      Plaintiff, Brenda Richards, brings an action individually and on behalf of the Estate

of Shawn Gajdos, as its Personal Representative in Clay County, Minnesota, under Court File No.:

14-PR-4627.

       502.      As a direct result of the EFP attack, and the resulting wrongful death of Shawn

Gajdos, the Estate of Shawn Gajdos is entitled to recover for any pain and suffering experienced by

Shawn Gajdos between the time of the EFP attack and his death, and for the substantial economic

and earnings capacity loss.

       503.      As a direct result of the EFP attack, and the resulting wrongful death of Shawn

Gajdos, Plaintiff, Brenda Richards, has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

ATTACK 31: JUNE 11, 2007 – SADR CITY, BAGHDAD, IRAQ

   OO.           The Payne Family

       504.      Private First Class Cameron Payne was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on June 11, 2007.

       505.      On that date, Private First Class Payne was the “gunner” in the second vehicle of a

four-vehicle convoy traveling from Forward Operating Base (“FOB”) Rustamiyah to the Ranger

Joint Security Station (“JSS”) near the Sadr City neighborhood of Baghdad when his M1151


                                                   84
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 85 of 180
vehicle was struck by an EFP, thus causing Private First Class Payne’s death.

       506.    The device used to kill Private First Class Payne was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       507.     Plaintiff, Julie Payne, is a citizen of the United States and a resident of the State of

California. She is the Widow and Wife of Private First Class Cameron Payne.

       508.    Plaintiff, A.L.P., a Minor, represented by her Mother, Julie Payne, was at the time of

Cameron Payne’s attack and still is a citizen of the United States and a resident of the State of

California. She is the Daughter of Cameron Payne.

       509.    Plaintiff, K.P., a Minor, represented by her Mother, Julie Payne, was at the time of

Cameron Payne’s attack and still is a citizen of the United States and a resident of the State of

California. She is the Daughter of Cameron Payne.

       510.    Plaintiff, Julie Payne, brings an action individually and on behalf of the Estate of

Cameron Payne, as its Personal Representative in Riverside County, California under Case No.:

1803227.

       511.    As a direct result of the EFP attack, and the resulting wrongful death of Cameron

Payne, the Estate of Cameron Payne is entitled to recover for any pain and suffering experienced by

Cameron Payne between the time of the EFP attack and his death, and for the substantial economic

and earnings capacity loss.

       512.    As a direct result of the EFP attack, and the resulting wrongful death of Cameron

Payne, Plaintiffs, Julie Payne, A.L.P., a Minor, and K.P., a Minor, have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, loss of society, companionship, comfort,

advice and counsel, and substantial economic loss.

ATTACK 32: JUNE 19, 2007 – MUHAMMAD SALIH, IRAQ

   PP. The Modgling Family

                                                   85
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 86 of 180
      513. Private First Class Joshua Modgling was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on June 19, 2007.

       514.    On that date, Private First Class Modgling was acting as a Combat Engineer on a

mounted patrol driving an M2 Bradley Fighting Vehicle southbound on Route Corvette near

Muhammad Salih, Iraq, when an IED detonated close by, thus causing a massive explosion which,

in turn, caused blast injuries to Modgling’s head, torso, and extremities, thus causing his death and

that of a Soldier riding with him, along with seriously injuring three additional Soldiers.

       515.    The device used to kill Joshua Modgling was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       516.    Plaintiff, Julie Montano, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Nevada. She is the Mother of Joshua Modgling.

       517.    Plaintiff, Keith Modgling, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Nevada. He is the Father of Joshua Modgling.

       518.    Plaintiff, Christopher Modgling, was at the time of the attack and still is a citizen of

the United States and resident of the State of Nevada. He is the Brother of Joshua Modgling.

       519.    Plaintiff, Kellilynn Stuart, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Colorado. She is the Step-Sister of Joshua Modgling.

       520.    Plaintiff, Michelle Modgling, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Nevada. She is the Sister of Joshua Modgling.

       521.    Plaintiff, Kenneth Schaffer, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Nevada. He is the Step-Brother of Joshua Modgling.

       522.    Plaintiff, Julie Montano, brings an action individually and on behalf of the Estate of

Joshua Modgling, as its Personal Representative in Nye County, Nevada under Case No.: PR8367.

       523.    As a direct result of the IED attack, and the resulting wrongful death of Joshua

Modgling, the Estate of Joshua Modgling is entitled to recover for any pain and suffering


                                                   86
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 87 of 180
experienced by Joshua Modgling between the time of the IED attack and his death, and for the

substantial economic and earnings capacity loss.

       524.    As a direct result of the IED attack, and the resulting wrongful death of Joshua

Modgling, Plaintiffs, Julie Montano, Keith Modgling, Christopher Modgling, Kellilynn Stuart,

Michelle Modgling, and Kenneth Schaffer have experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, loss of society, companionship, comfort, advice and counsel, and

substantial economic loss.

   QQ.         The Zapfe Family

       525.    Sergeant First Class William Zapfe was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on June 19, 2007.

       526.    On that date, Sergeant First Class Zapfe was on a mounted patrol riding in an M2

Bradley Fighting Vehicle southbound on Route Corvette near Muhammad Salih, Iraq, when an IED

detonated close by, thus causing a massive explosion which, in turn, caused Zapfe’s death and that

of a Soldier riding with him, along with seriously injuring three additional Soldiers.

       527.    The device used to kill Sergeant First Class Zapfe was an Iranian-manufactured and

-designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       528.    Plaintiff, Joseph Zapfe, is a citizen of the United States and resident of the State of

Idaho. He is the Brother of William Zapfe.

       529.    Plaintiff, Edward Zapfe, is a citizen of the United States and a resident of the State

of Idaho. He is the Brother of William Zapfe.

       530.    As a direct result of the IED attack, and the resulting wrongful death of William

Zapfe, Plaintiffs, Joseph Zapfe and Edward Zapfe have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

                                                   87
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 88 of 180
and substantial economic loss.

ATTACK 33: JUNE 29, 2007 - BAGHDAD, IRAQ

   RR.          The Adair Family

       531.    Specialist James Adair was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on June 29, 2007.

       532.    On that date, Specialist Adair was on a patrol while riding in an armored M1151

HUMVEE vehicle traveling just outside of Baghdad International Airport when an array of four

EFPs detonated on the driver’s side of the vehicle, thus causing a massive, fiery explosion and four

large slugs to penetrate the driver’s door and left passenger door, thus killing Adair and seriously

injuring the other three occupants.

       533.    The Army concluded that the devices used to kill James Adair were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       534.    Plaintiff, Chelsea Adair, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. She is the Widow and Wife of James Adair.

       535.    Plaintiff, Chelsea Adair, brings an action individually and on behalf of the Estate of

James Adair, as its Personal Representative in Panola County, Texas under No.: 10711.

       536.    As a direct result of the EFP attack, and the resulting wrongful death of James

Adair, the Estate of James Adair is entitled to recover for any pain and suffering experienced by

James Adair between the time of the EFP attack and his death, and for the substantial economic

loss caused by his death.

       537.    As a direct result of the EFP attack, and the resulting wrongful death of James

Adair, Plaintiff, Chelsea Adair, has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, consortium, and

substantial economic loss.

                                                   88
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 89 of 180
   SS. The Takai Family

       538.    Corporal John Takai was a citizen and national of the United States and a member of

the United States Army when he was seriously injured in Iraq on June 29, 2007. Takai is a resident

of the State of Texas.

       539.    On that date, Corporal Takai was on a patrol while riding in an armored M1151

HUMVEE vehicle just outside of Baghdad International Airport when an array of four EFPs

detonated on the driver’s side of the vehicle, thus causing a massive, fiery explosion and four large

slugs to penetrate the driver’s door and left passenger door, thus seriously injuring three occupants,

including Takai, and killing the fourth.

       540.    The Army concluded that the devices used to injure John Takai were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       541.    As a result of the EFP attack, John Takai sustained very serious left arm and

shoulder injuries, along with a left arm degloving injury, all of which required several major

surgeries, a very serious traumatic brain injury (“TBI”), a major concussion, regular headaches, a

fractured left humerus bone, hypertrophic ossification, third degree burns with resulting necessary

grafting procedures, a left shoulder dislocation, had shrapnel blown into his left thigh which caused

a gaping wound hole to exist and cause major femoral artery damage, tore many left leg muscles up

and down the length of the left leg, fractured the outer bone in his left foot, and was diagnosed with

post-traumatic stress disorder (“PTSD”), depression, fatigue, and flashbacks and nightmares

reliving the incident.

       542.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, John Takai has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience


                                                  89
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 90 of 180
same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       543.    Plaintiff, Mae Takai, was at the time of the attack and still is a citizen of the United

States and a resident of the State of Texas. She is the Wife of John Takai.

       544.    Plaintiff, Jonamae Takai, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. She is the Daughter of John Takai.

       545.    Plaintiff, Niana Takai, was at the time of the attack and still is a citizen of the United

States and a resident of the State of Texas. She is the Daughter of John Takai.

       546.    Plaintiff, I.T., a Minor, represented by her legal guardian, Mae Takai, was at the

time of the attack and still is a citizen of the United States and domiciled in the State of Texas. She

is the Daughter of John Takai.

       547.    Plaintiff, K.T., a Minor, represented by her legal guardian, Mae Takai, was at the

time of the attack and still is a citizen of the United States and a resident of the State of Texas. She

is the Daughter of John Takai.

       548.    Plaintiff, Patricia Cruz, was at the time of the attack and still is a citizen of the

United States and domiciled in the State of Texas. She is the Mother of John Takai.

       549.    Plaintiff, Juan Takai, was at the time of the attack and still is a citizen of the United

States and domiciled in the State of Texas. He is the Father of John Takai.

       550.    Plaintiff, Jolene Takai, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. She is the Sister of John Takai.

       551.    Plaintiff, Jermaine Takai, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. He is the Brother of John Takai.

       552.    As a result of the EFP attack, and the physical and emotional injuries suffered by

John Takai, Plaintiffs, Mae Takai, Jonamae Takai, Niana Takai, I.T., a Minor, K.T., a Minor,


                                                   90
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 91 of 180
Patricia Cruz, Juan Takai, Jolene Takai, and Jermaine Takai have suffered and experienced

intentional infliction of emotional distress and loss of consortium-related damages.

ATTACK 34: JULY 5, 2007 - BAGHDAD, IRAQ

   TT.          The Ahearn Family

       553.    Major James Ahearn was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on July 5, 2007.

       554.    On that date, Major Ahearn was riding with his Civil Affairs Battalion in an armored

M1151 HUMVEE lead vehicle of a convoy on Route Jackson just south of the intersection of

Baghdad Road and its intersection with the Dora Expressway in southern Baghdad when an array

of EFPs struck the driver’s side of the vehicle, causing a massive explosion, thus killing Ahearn

and another occupant, and also causing very serious personal injuries to three additional occupants.

       555.    The Army concluded that the devices used to kill James Ahearn were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Group in Iraq.

       556.    The Special Group Kata’ib Hezbollah (“KH”) claimed responsibility for the attack

which killed Ahearn. KH is an Iraqi paramilitary group founded and sponsored primarily by Iran,

the IRGC, and QF, but which also receives funding and materiel support from Hezbollah, which

was founded by Iran and which is supported with money and materiel by Iran.

       557.    Plaintiff, Constance Ahearn, was at the time of the attack and still is a citizen of the

United States and a resident of the State of California. She is the Mother of James Ahearn.

       558.    Plaintiff, Kevin Ahearn, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Arizona. He is the Brother of James Ahearn.

       559.    As a direct result of the EFP attack, and the resulting wrongful death of James

Ahearn, Plaintiffs, Constance Ahearn and Kevin Ahearn experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

                                                  91
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 92 of 180
consortium, and substantial economic loss.

   UU.          The Kline Family

       560.    Sergeant Keith Kline was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on July 5, 2007.

       561.    On that date, Sergeant Kline was riding with his Civil Affairs Battalion in an

armored M1151 HUMVEE lead vehicle of a convoy on Route Jackson just south of the intersection

of Baghdad Road and its intersection with the Dora Expressway in southern Baghdad when an

array of EFPs struck the driver’s side of the vehicle, causing a massive explosion, thus killing

Sergeant Kline and another occupant, and thus causing very serious personal injuries to three

additional occupants.

       562.    The Army concluded that the devices used to kill Sergeant Kline were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       563.    The Special Group Kata’ib Hezbollah claimed responsibility for the attack which

killed AhearnKline. KH is an Iraqi paramilitary group founded, funded and sponsored primarily by

Iran, the IRGC, and the QF, but which also receives funding and materiel support from Hezbollah,

which was founded by Iran and which is supported with money and materiel by Iran.

       564.    Plaintiff, Betty Jean Kline, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Ohio. She is the Mother of Keith Kline.

       565.    Plaintiff, John Kline, Jr. was at the time of the attack and still is a citizen of the

United States and a resident of the State of Ohio. He is the Brother of Keith Kline.

       566.    Plaintiff, Pamela McKean, brings an action on behalf of the Estate of Keith Kline, as

its Personal Representative in Ottawa County, Ohio under case # 20071178.

       567.    As a direct result of the EFP attack, and the resulting wrongful death of Keith Kline,

the Estate of Keith Kline is entitled to recover for any pain and suffering experienced by Keith

Kline between the time of the EFP attack and his death, and for the substantial economic and

                                                   92
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 93 of 180
earnings capacity loss.

        568.    As a direct result of the EFP attack, and the resulting wrongful death of Keith Kline,

Plaintiffs, Betty Jean Kline and John Kline, Jr. experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

consortium, and substantial economic loss.

ATTACK 35: JULY 6, 2007 - BAGHDAD, IRAQ

    VV.         The Lill Family

        569.    Specialist Eric Lill was a citizen and national of the United States and a member of

the United States Army when he was killed in Iraq on July 6, 2007.

        570.    On that date, Specialist Lill was riding in an armored M1114 HUMVEE vehicle on a

patrol traveling on Muasker Al Rashid Street just south of its intersection with the Dora

Expressway in the Zafaraniyah district of southeast Baghdad when an EFP detonated, thus causing

a massive explosion which killed Specialist Lill and seriously injured three other occupants.

        571.    The Army investigation concluded that this was in fact an EFP attack which was

carried out by the JAM Special Group.

        572.    The Army concluded that the device used to kill Specialist Lill was an Iranian-

manufactured and -designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

        573.    Plaintiff, Skye Otero, was at the time of Eric Lill’s attack and still is a citizen of the

United States and a resident of the State of Illinois. She is the Widow of Eric Lill.

        574.    Plaintiff, M.L., a Minor, represented by her legal guardian, her Mother, Skye Otero,

was at the time of Eric Lill’s attack and still is a citizen of the United States and resident of the

State of Illinois. She is the Daughter of Eric Lill.

        575.    Plaintiff, Cody Lill, was at the time of Eric Lill’s attack and still is a citizen of the

United States and a resident of the State of Illinois. He is the Son of Eric Lill.

                                                    93
        Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 94 of 180
          576. Plaintiff, Anthony Lill, was at the time of Eric Lill’s attack and still is a citizen of

the United States and a resident of the State of Tennessee. He is the Father of Eric Lill.

          577.    Plaintiff, Charmaine Lill, was at the time of Eric Lill’s attack and still is a citizen of

the United States and resident of the State of Tennessee. She is the Mother of Eric Lill.

          578.    Plaintiff, Kortne Lill Jones, was at the time of Eric Lill’s attack and still is a citizen

of the United States and resident of the State of Tennessee. She is the Sister of Eric Lill.

          579.    Plaintiff, Anthony Lill, brings an action individually and on behalf of the Estate of

Eric Lill, as its Personal Representative in Cook County, Illinois, under Case Number

2007P006563.

          580.    As a direct result of the EFP attack, and the resulting wrongful death of Eric Lill, the

Estate of Eric Lill is entitled to recover for any pain and suffering experienced by Eric Lill between

the time of the EFP attack and his death, and for the substantial economic and earnings capacity

loss.

          581.    As a direct result of the EFP attack, and the resulting wrongful death of Eric Lill,

Plaintiffs, Skye Otero, M.L., a Minor, Cody Lill, Anthony Lill, Charmaine Lill, and Kortne Lill

Jones, experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 36: JULY 6, 2007 – BAGHDAD, IRAQ

    WW.           The Wilson Family

          582.    Private First Class LeRon A. Wilson was a citizen and national of the United States

and a member of the United States Army when he was killed in Iraq on July 6, 2007.

          583.    On that date, Private First Class Wilson was riding in an armored M1151 HUMVEE

vehicle on a routine patrol just east of the Mohammed Al-Qasim Expressway near the Sadr City

neighborhood of Baghdad when an IED detonated right adjacent to or underneath the vehicle, thus

                                                      94
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 95 of 180
causing a massive explosion which killed Private First Class Wilson.

        584.   The Army concluded that the device used to kill Private First Class Wilson was an

Iranian-manufactured and -designed IED provided to Iranian-funded and -trained Special Groups in

Iraq.

        585.   Plaintiff, Simona Francis, was at the time of the attack and still is a citizen of the

United States and a resident of the State of New York. She is the Mother of Le Ron A. Wilson.

        586.   Plaintiff, Simona Francis, brings an action individually and on behalf of the Estate

of Le Ron A. Wilson, as its Personal Representative in Cook County, Illinois, under Case Number

2007P006563.

        587.   As a direct result of the IED attack, and the resulting wrongful death of LeRon

Wilson, the Estate of LeRon Wilson is entitled to recover for any pain and suffering experienced by

LeRon Wilson between the time of the IED attack and his death, and for the substantial economic

and earnings capacity loss.

        588.   As a direct result of the IED attack, and the resulting wrongful death of LeRon

Wilson, Plaintiff, Simona Francis experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, loss of society, companionship, comfort, advice and counsel, consortium, and

substantial economic loss.

ATTACK 37: JULY 14, 2007 - BAGHDAD, IRAQ

    XX.        The Kube Family

        589.   Private Christopher Kube was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on July 14, 2007.

        590.   On that date, Private Kube was riding in an armored M1114 “HUMVEE”) in a

convoy of vehicles traveling on Airport Road just north of its intersection with the Dora

Expressway in the Rusafa district of southeastern Baghdad when an EFP detonated near his

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    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 96 of 180
vehicle, thus causing a massive explosion which caused Private Kube’s death and injured another

Soldier.

       591.    The Army investigation concluded that the JAM Special Group likely perpetrated

this EFP attack and that the damage pattern was consistent with a seven-array copper-lined EFP.

Copper residue was found in all of the strike points on the HUMVEE.

       592.    The device used to kill Private Kube was an Iranian-manufactured and -designed

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       593.    Plaintiff, Debbie Otte, was at the time of the attack and still is a citizen of the United

States and resident of the State of Michigan. She is the Mother of Christopher Kube.

       594.    Plaintiff, David Kube, was at the time of the attack and still is a citizen of the United

States and a resident of the State of Michigan. He is the Father of David Kube.

       595.    Plaintiff, Jonathan Kube, was at the time of the attack and still is a citizen of the

United States and resident of the State of Michigan. He is the Brother of Christopher Kube.

       596.    Plaintiff, Jessica Kube, was at the time of the attack and still is a citizen of the

United States and resident of the State of Michigan. She is the Sister of Christopher Kube.

       597.    Plaintiff, Jason Kube, was at the time of the attack and still is a citizen of the United

States and resident of the State of Michigan. He is the Brother of Christopher Kube.

       598.    Plaintiff, Jennifer Kube, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Michigan. She is the Sister of Christopher Kube.

       599.    Plaintiff, David Kube, brings an action individually and on behalf of the Estate of

Christopher Kube, as its Personal Representative in Macomb County, Michigan, under File No.:

2018-227149-DE.

       600.    As a direct result of the EFP attack, and the resulting wrongful death of Christopher

Kube, the Estate of Christopher Kube is entitled to recover for any pain and suffering experienced

by Christopher Kube between the time of the EFP attack and his death, and for the substantial


                                                   96
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 97 of 180
economic and earnings capacity loss.

       601.    As a direct result of the EFP attack, and the resulting wrongful death of Christopher

Kube, Plaintiffs, David Kube, Debbie Otte, Jonathan Kube, Jessica Kube, Jason Kube, and Jennifer

Kube have experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 38: JULY 31, 2007 - SADR CITY, BAGHDAD, IRAQ

   YY.         The Gonzalez Family

       602.    Specialist Zachariah Gonzalez was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on July 31, 2007.

       603.    On that date, Specialist Gonzalez was riding in a Stryker vehicle as the lead vehicle

of four Stryker vehicles returning from a Sadr City counter-mortar patrol when an array of three

EFPs detonated near the Stryker vehicle, thus causing a massive explosion which struck directly in

the main troop compartment of the vehicle, killing Gonzalez and seriously injuring six other

Soldiers.

       604.    The Army’s “Explosive Ordinance Disposal” (“EOD”) found copper fragments in

the walls of the main compartment of the Stryker vehicle and concluded that the devices used to

kill Specialist Gonzalez were Iranian-manufactured and -designed EFPs provided to Iranian-funded

Special Groups in Iraq.

       605.    Plaintiff, Laura Gonzalez, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Indiana. She is the Mother of Zachariah Gonzalez.

       606.    Plaintiff, Benedict Gonzalez, is a citizen of the United States and a resident of the

State of Indiana. He is the Father of Zachariah Gonzalez.

       607.    Plaintiff, Jake Gonzalez, is a citizen of the United States and a resident of the

State of Indiana. He is the Brother of Zachariah Gonzalez.

                                                  97
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 98 of 180
      608. Plaintiff, Laura Gonzalez, brings an action individually and on behalf of the Estate

of Zachariah Gonzalez, as its Personal Representative in Marion County, Indiana, under Case No.:

49D08-1812-EU-048352.

       609.    As a direct result of the EFP attack, and the resulting wrongful death of Zachariah

Gonzalez, the Estate of Zachariah Gonzalez is entitled to recover for any pain and suffering

experienced by Zachariah Gonzalez between the time of the EFP attack and his death, and for the

substantial economic and earnings capacity loss.

       610.    As a direct result of the EFP attack, and the resulting wrongful death of Zachariah

Gonzalez, Plaintiffs, Laura Gonzalez, Benedict Gonzalez, and Jake Gonzalez have experienced

various solatium-related damages, including intentional infliction of severe emotional distress,

severe mental anguish, extreme emotional pain and suffering, loss of society, companionship,

comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 39: AUGUST 4, 2007 HAWR RAJAB, IRAQ

   ZZ.         The Wakeman Family

       611.    Sergeant Dustin Wakeman was a citizen and national of the United States and was a

member of the United States Army when he was killed in Iraq on August 4, 2007.

       612.    On that date, Sergeant Wakeman was riding in an M1151 HUMVEE vehicle

traveling in Hawr Rajab, Baghdad, Iraq, when an IED detonated near the vehicle in which he was

then riding, thus causing a massive explosion, thus causing his death.

       613.    The device used to kill Sergeant Wakeman was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       614.    Plaintiff, Margaret Wakeman, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. She is the Mother of Dustin Wakeman.

       615.    Plaintiff, David Wakeman, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. He is the Father of Dustin Wakeman.

                                                   98
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 99 of 180
      616. Plaintiff, William “Zack” Wakeman, was at the time of the attack and still is a

citizen of the United States and a resident the State of Texas. He is the Brother of Dustin Wakeman.

       617.    Plaintiff, David Wakeman, brings an action individually and on behalf of the Estate

of Dustin Wakeman, as its Personal Representative in Tarrant County, Texas, under Case No.:

2018-PR00686-2.

       618.    As a direct result of the IED attack, and the resulting wrongful death of Dustin

Wakeman, the Estate of Dustin Wakeman is entitled to recover for any pain and suffering

experienced by Dustin Wakeman between the time of the IED attack and his death, and for the

substantial economic and earnings capacity loss.

       619.    As a direct result of the IED attack, and the resulting wrongful death of Dustin

Wakeman, Plaintiffs, Margaret Wakeman, David Wakeman, and William “Zack” Wakeman have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 40: AUGUST 13, 2007—QAYYARAH, NINEVEH PROVINCE, IRAQ

   AAA.        The Cottrell Family

       620.    Staff Sergeant Eric Cottrell was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on August 13, 2007

       621.    On that date, Staff Sergeant Cottrell was riding in an M1114 HUMVEE vehicle

northbound on Alternate Supply Route (“ASR”) Atlanta near Qayyarah, Nineveh Province, Iraq,

when an IED detonated, thus causing a massive explosion which killed Staff Sergeant Cottrell.

       622.    The device used to kill Staff Sergeant Cottrell was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       623.    Plaintiff, Sherri Cottrell, was at the time of Eric Cottrell’s attack and still is a citizen

of the United States and a resident of the State of Maryland. She is the Widow and Wife of Eric

                                                   99
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 100 of 180
Cottrell.

        624.     Plaintiff, E.C., a Minor, being represented by his legal guardian, Sherri Cottrell, was

at the time of Eric Cottrell’s attack and still is a citizen of the United States and a resident of the

State of Maryland. He is the Son of Eric Cottrell.

        625.     Plaintiff, James Cottrell, was at the time of Eric Cottrell’s attack and still is a citizen

of the United States and a resident of the State of Maryland. He is the Son of Eric Cottrell.

        626.     Plaintiff, Brandy Cottrell, was at the time of Eric Cottrell’s attack and still is a

citizen of the United States and a resident of the State of Maryland. She is the Daughter of Eric

Cottrell.

        627.     Plaintiff, Megan Cottrell, was at the time of Eric Cottrell’s attack and still is a

citizen of the United States and a resident of the State of Maryland. She is the Daughter of Eric

Cottrell.

        628.     Plaintiff, Doeshie Waters, was at the time of Eric Cottrell’s attack and still is a

citizen of the United States and a resident of the State of California. She is the Mother of Eric

Cottrell.

        629.     Plaintiff, Norris Waters, was at the time of Eric Cottrell’s attack and still is a citizen

of the United States and a resident of the State of California. He is the Step-Father of Eric Cottrell.

        630.     As a direct result of the IED attack, and the resulting death of Eric Cottrell,

Plaintiffs, Sherri Cottrell, E.C., a Minor, James Cottrell, Brandy Cottrell, Megan Cottrell, Doeshie

Waters, and Norris Waters have experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, a loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

ATTACK 41: AUGUST 17, 2007 - BAGHDAD AL JADEEDA, IRAQ

    BBB.         The Edds Family

                                                    100
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 101 of 180
      631. First Lieutenant Jonathan Edds was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on August 17, 2007.

       632.    On that date, First Lieutenant Edds was riding in an M1151 HUMVEE vehicle as

part of a six-vehicle convoy in the Baghdad Al Jadeeda district of Baghdad, Iraq, when an IED

detonated, thus causing a massive explosion which killed First Lieutenant Edds.

       633.    The device used to kill First Lieutenant Edds was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       634.    Plaintiff, Barry Edds, was at the time of Jonathan Edds’ death and still is a citizen of

the United States and a resident of the State of Michigan. He is the Father of Jonathan Edds.

       635.    Plaintiff, Julia Edds, was at the time of Jonathan Edds’ death and still is a citizen of

the United States and a resident of the State of Michigan. She is the Mother of Jonathan Edds.

       636.    Plaintiff, Joel Edds, was at the time of Jonathan Edds’ death and still is a citizen of

the United States and a resident of the State of Michigan. He is the Brother of Jonathan Edds.

       637.    As a direct result of the IED attack, and the resulting death of Jonathan Edds,

Plaintiffs, Barry Edds, Julia Edds, and Joel Edds have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, a loss of society, companionship, comfort, advice and

counsel, and substantial economic loss.

ATTACK 42: AUGUST 18, 2007—RAHMANIYA, BAGHDAD, IRAQ

   CCC.        Andrew Tong

       638.    Captain Andrew Tong was a citizen and national of the United States and a member

of the United States Army when he was wounded in Iraq on August 18, 2007.

       639.    On that date, Captain Tong was riding as the right front passenger in an M1083

Medium Tactical Vehicle (“MTV”) standard cargo truck, the third vehicle in a convoy of eight

vehicles in the Rahmaniya district of Baghdad, Iraq, when an EFP detonated, thus causing a

                                                  101
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 102 of 180
massive explosion which seriously injured Captain Tong.

       640.    The device used to injure Captain Tong was an Iranian-manufactured and -designed

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       641.    As a result of the EFP attack, Captain Tong sustained a traumatic amputation of his

right leg below the knee; experienced multiple and various complications associated with the

“stump” on the end of his right lower leg, including infections, wounds and neuromas; had shrapnel

blow into his left ankle area which has caused the need for over 100 injections; sustained a

traumatic brain injury (“TBI”) and concussion from the EFP detonation; developed migraine

headaches; experienced Post-Traumatic Stress Disorder (“PTSD”); developed permanent double

vision; experienced a permanent hearing loss and tinnitus condition; and had to have surgery on his

right arm where shrapnel had blown into it.

       642.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Captain Tong has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

ATTACK 43: SEPTEMBER 4, 2007 - BAGHDAD AL JADEEDA, IRAQ

   DDD.        The Crookston Family

       643.    Specialist Duncan Crookston was a citizen and national of the United States and a

member of the United States Army when he died on January 25, 2008. Crookston died months later

after and as a direct result of his September 4, 2007, attack in Baghdad, Iraq.

       644.    On that date, Specialist Crookston was riding in an M1151 HUMVEE vehicle as

                                                 102
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 103 of 180
part of a five vehicle patrol on Route Predator in the Baghdad Al Jadeeda district of Baghdad, Iraq,

when an EFP detonated, thus causing a massive explosion which caused serious personal injuries to

Specialist Class Crookston, injuries which later caused his death on January 25, 2008.

       645.    The device used to kill Specialist Crookston was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       646.    Plaintiff, Leesha Crookston, was at the time of Specialist Duncan Crookston’s death

and still is a citizen of the United States and a resident of the State of Colorado. She is the Widow

of Specialist Duncan Crookston.

       647.    Plaintiff, Leesha Crookston, brings an action individually and on behalf of the Estate

of Specialist Duncan Crookston, as its Personal Representative in Shawnee County, Kansas, under

Case No.: 2018-PR-568.

       648.    As a direct result of the EFP attack, and the resulting wrongful death of Specialist

Duncan Crookston, the Estate of Specialist Duncan Crookston is entitled to recover for any pain

and suffering experienced by Duncan Crookston between the time of the EFP attack and his death,

and for the substantial economic and earnings capacity loss.

       649.    As a direct result of the EFP attack, and the resulting death of Specialist Duncan

Crookston, Plaintiff, Leesha Crookston, has experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, a loss of society, companionship, comfort, advice and counsel, and

substantial economic loss.

ATTACK 44: SEPTEMBER 20, 2007—MUQDADIYAH, IRAQ

   EEE.        The Marciante Family

       650.    Corporal Luigi Marciante, Jr. was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on September 20, 2007.

       651.    On that date, Corporal Marciante, Jr. was riding in a Stryker Fighting Vehicle as part

                                                 103
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 104 of 180
of a Combat Logistics Patrol (“CLP”) near Miqdadiyah, Diyala province, northeast of Baghdad,

Iraq, when an IED detonated, thus causing a massive explosion which killed Corporal Marciante.

       652.    The device used to kill Corporal Marciante, Jr. was an Iranian-manufactured and -

designed IED provided to Iranian-funded and -trained Special Groups in Iraq.

       653.    Plaintiff, Stephanie Marciante, was at the time of Corporal Luigi Marciante, Jr.’s

death and still is a citizen of the United States and a resident of the State of New Jersey. She is the

Widow of Corporal Luigi Marciante, Jr.

       654.    Plaintiff, L.M., a Minor, being represented by his legal guardian, Stephanie

Marciante, was at the time of Corporal Luigi Marciante, Jr.’s death and still is a citizen of the

United States and a resident of the State of New Jersey. He is the Son of Corporal Luigi Marciante,

Jr.

       655.    Plaintiff, Maria Marciante, was at the time of Corporal Luigi Marciante, Jr.’s death

and still is a citizen of the United States and a resident of the State of New Jersey. She is the

Mother of Corporal Luigi Marciante, Jr.

       656.    Plaintiff, Luigi Marciante, was at the time of Corporal Luigi Marciante, Jr.’s death

and still is a citizen of the United States and a resident of the State of New Jersey. He is the Father

of Corporal Luigi Marciante, Jr.

       657.    Plaintiff, Enza Marciante Balestrieri, was at the time of Corporal Luigi Marciante,

Jr.’s death and still is a citizen of the United States and a resident of the State of New Jersey. She is

the Sister of Corporal Luigi Marciante, Jr.

       658.    Plaintiff, Stephanie Marciante, brings an action individually and on behalf of the

Estate of Corporal Luigi Marciante, Jr., as its Personal Representative in Ocean County, New

Jersey, under Case No.: 227045.

       659.    As a direct result of the IED attack, and the resulting wrongful death of Luigi

Marciante, Jr., the Estate of Luigi Marciante, Jr. is entitled to recover for any pain and suffering


                                                  104
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 105 of 180
experienced by Luigi Marciante, Jr. between the time of the IED attack and his death, and for the

substantial economic and earnings capacity loss.

       660.      As a direct result of the IED attack, and the resulting death of Corporal Luigi

Marciante, Jr., Plaintiffs, Stephanie Marciante, L.M., a Minor, Maria Marciante, Luigi Marciante,

and Enza Marciante Balestrieri, have experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, a loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

ATTACK 45: NOVEMBER 2, 2007 – HURRIYA, BAGHDAD, IRAQ

   FFF.          The Wells Family

       661.      Specialist Joshua Wells was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on November 2, 2007.

Wells is a resident of the State of Mississippi.

       662.      On that date, Specialist Wells was driving a Stryker vehicle on a routine refueling

mission through an Iraqi checkpoint along Mosul Road in the vicinity of Hurriya, northern

Baghdad, when an array of four EFPs detonated next to the Stryker vehicle, thus causing a massive

explosion which caused serious physical and emotional injuries to Wells and two other occupants.

       663.      The devices used to injure Joshua Wells were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       664.      As a result of the EFP attack, Joshua Wells sustained bilateral below-the-knee

amputations, a very serious left shoulder injury with permanent nerve damage resulting in loss of

lifting and grip strength in his left arm and hand, serious lumbar disc issues and problems which

result in constant low back pain due to long term use of bilateral prosthetic devices to ambulate,

ringing in his ears, hearing loss, shrapnel fragments blown into various portions of his body, post-

traumatic stress disorder (“PTSD”), depression, anxiety disorder, and panic attacks.

                                                   105
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 106 of 180
      665. As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Joshua Wells has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

        666.    Plaintiff, Lydia Lantrip, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Mississippi. She is the Mother of Joshua Wells.

        667.    Plaintiff, Billie Wells, Jr., was at the time of the attack and still is a citizen of the

United States and a resident of the State of Mississippi. He is the Father of Joshua Wells.

        668.    Plaintiff, David “Blake” Lantrip, was at the time of the attack and still is a citizen of

the United States and a resident of the State of Mississippi. He is the Brother of Joshua Wells.

        669.    Plaintiff, J.W., a Minor represented by his legal guardian, Billie Wells, Jr., was at

the time of the attack and still is a citizen of the United States and a resident of the State of

Mississippi. He is the Brother of Joshua Wells.

        670.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Joshua Wells as a direct result therefrom, Plaintiffs, Lydia Lantrip, Billie Wells, Jr., David “Blake”

Lantrip, and J.W., a Minor, have suffered and experienced intentional infliction of severe emotional

distress and loss of consortium-related damages.

ATTACK 46: DECEMBER 17, 2007 – BAGHDAD AL JADEEDA, IRAQ

    GGG.        The Wagner Family

        671.    Specialist Bryan Wagner was a citizen and national of the United States and a

member of the United States Army when he was wounded in Iraq on December 17, 2007. Wagner

                                                    106
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 107 of 180
is a resident of the State of Florida.

       672.    On that date, Specialist Wagner was on a Military Police “Protective Service Detail”

(“PSD”) in an up-armored M1114 HUMVEE vehicle in the Al Jadeeda district of Baghdad, Iraq,

when a series of EFPs detonated, thus causing his right leg to be blown off and other very serious

physical and emotional injuries.

       673.    Investigation of the blown-up HUMVEE vehicle revealed that its armor had been

penetrated by copper slugs, a signature finding of EFP devices.

       674.    The devices used to injure Specialist Wagner were Iranian-manufactured and -

designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       675.    As a result of the EFP attack, Specialist Wagner lost his right leg above the knee,

along with multiple other and additional physical and emotional injuries, including multiple

debridement procedures, treatments for multiple infections, a mangled left thigh and right forearm

from shrapnel, permanent radial nerve damage in the right forearm resulting in lost grip strength,

traumatic brain injury (“TBI”), post-concussive syndrome, cognitive disorder, and sleep apnea.

       676.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Specialist Wagner has experienced severe physical and emotional pain

and suffering in the past and will experience same into the indeterminable future; has incurred

medical bills for medical and rehabilitation services rendered and will incur same into the

indeterminable future; has incurred an overwhelming loss of income and earnings capacity and will

experience same into the indeterminable future; has experienced permanent injuries to his person

and psyche; and has experienced severe mental anguish, anxiety and depression and will experience

same into the indeterminable future.

ATTACK 47: MARCH 14, 2008 –EAST OF MUSAYIB, IRAQ

   HHH.        The Knapp Family

       677.    Specialist David A. Knapp was a citizen and national of the United States and a

                                                 107
  Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 108 of 180
member of the United States Army when he was wounded in Iraq on March 14, 2008.

         678.   On October 2, 2010, Specialist Knapp died from causes unrelated to his personal

injuries suffered in Iraq.

         679.   On March 14, 2008, Specialist Knapp was on a patrol riding in an M1151 HUMVEE

just east of Musayib, Iraq, when an array of four to six EFPs detonated, thus causing a massive

explosion which caused Specialist Knapp to sustain very serious personal injuries.

         680.   The devices used to injure Specialist Knapp were Iranian-manufactured and -

designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

         681.   As a result of the EFP attack, Specialist Knapp suffered two traumatic above-the-

knee amputations of his legs and other serious physical and emotional injuries.

         682.   As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Specialist Knapp experienced severe physical and emotional pain through

the date of his death; incurred medical bills for medical and rehabilitation services rendered through

the date of his death; incurred an overwhelming loss of income and earnings capacity through the

date of his death; experienced injuries to his person and psyche through the date of his death; and

experienced severe mental anguish, anxiety and depression through the date of his death.

         683.   Plaintiff, Jeanette Knapp, was at the time of David A. Knapp’s attack and still is a

citizen of the United States and is a resident of the State of Florida. She is the Mother of David A.

Knapp.

         684.   Plaintiff, Jeanette Knapp, was named as the Personal Representative of the Estate of

David A. Knapp in Dodge County, Arizona, under File No.: 2018PR000224. The Estate of David

A. Knapp is pursuing survival claims for the personal injuries sustained by David A. Knapp

between the date of the EFP attack and his death.

         685.   As a result of the EFP attack, and the physical and emotional injuries suffered by

David Alex Knapp as a direct result therefrom, Plaintiff, Jeanette Knapp, has experienced various


                                                  108
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 109 of 180
solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, and substantial economic loss.

ATTACK 48: MARCH 17, 2008 - SADR CITY, BAGHDAD, IRAQ

   III.          Norman Forbes, IV

          686.   Sergeant Norman Forbes, IV was a citizen and national of the United States and a

member of the United States Army when he was seriously wounded in Iraq on March 17, 2008.

          687.   On that date, Sergeant Forbes was driving an M1114 HUMVEE vehicle in a five-

vehicle convoy on Route Predator in Sadr City, Baghdad, Iraq, when at least two EFPs in an array

of four EFPS detonated, thus causing a tremendous explosion which seriously injured Specialist

Forbes.

          688.   The devices used to injure Sergeant Forbes were Iranian-manufactured and -

designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

          689.   As a result of the EFP attack, Sergeant Forbes sustained an open and comminuted

fracture of his left femur (thigh) bone which has necessitated multiple surgeries and has left him

with permanent deformities to the leg and musculature around it; a mangled and disfigured left

hand which included multiple fractures and a missing left pinky finger; a fractured left forearm

bone with permanent nerve damage; a major missing portion of his left quadriceps muscle area;

significant shrapnel injuries to his right forearm which resulted in a loss of sensation and feeling in

his right (dominant) hand; and severe lacerations and shrapnel wounds to all of his extremities.

          690.   As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Sergeant Forbes has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

                                                  109
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 110 of 180
and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

ATTACK 49: MARCH 23, 2008 - MALEF, BAGHDAD, IRAQ

   JJJ.        The Rubio-Hernandez Family

       691.    Corporal Jose Rubio-Hernandez was a national of the United States and a member

of the United States Army when he was killed in Iraq on March 24, 2008.

       692.    On that date, Corporal Rubio-Hernandez was on a patrol riding in a Bradley A2M2

Fighting Vehicle in the Malef neighborhood of Baghdad area when an EFP detonated near his

vehicle, thus causing a massive explosion, thus causing the death of Hernandez and three other

vehicle occupants.

       693.    The device used to kill Corporal Rubio-Hernandez was an Iranian-manufactured

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       694.    Plaintiff, Jennifer Rubio, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Texas. She is the Widow of Jose Rubio-Hernandez.

       695.    Plaintiff, N.H., a Minor, represented by his legal guardian, Jennifer Rubio, was at

the time of the attack and still is a citizen of the United States and a resident of the State of Texas.

He is the Son of Jose Rubio-Hernandez.

       696.    As a direct result of the EFP attack, and the resulting wrongful death of Jose Rubio

Hernandez, Plaintiffs, Jennifer Rubio and N.H., a Minor, have experienced various solatium-related

damages, including intentional infliction of severe emotional distress, severe mental anguish,

extreme emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

consortium, and substantial economic loss.

ATTACK 50: MARCH 29, 2008 - SADR CITY, BAGHDAD, IRAQ

   KKK.        The Bennett Family

       697.    Specialist Durrell Bennett was a citizen and national of the United States and a

                                                   110
  Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 111 of 180
member of the United States Army when he was killed in Iraq on March 29, 2008.

       698.    On that date, Specialist Bennett was on a patrol riding in an armored M1151

HUMVEE vehicle in Sadr City, Baghdad, Iraq, when an EFP detonated near his vehicle, thus

causing a massive explosion that killed Bennett and one other occupant, and seriously injured three

other occupants of the vehicle.

       699.    The Army concluded that Special Groups in the Rusafa area of Baghdad had been

responsible for the majority of the [then] recent EFP attacks on Coalition Forces.

       700.    The device used to kill Specialist Bennett was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       701.    Plaintiff, Doris Bennett, was at the time of the attack and still is a citizen of the

United States and a resident of the State of Washington. She is the Mother of Durrell Bennett.

       702.    Plaintiff, Dempsey Bennett, was at the time of the attack and still is a citizen of the

United States and resident of the State of Washington. He is the Father of Durrell Bennett.

       703.    Plaintiff, Darnell Bennett, was at the time of the attack and still is a citizen of the

United States and resident of the State of Washington. He is the Brother of Durrell Bennett.

       704.    Plaintiff, Dempsey Bennett, brings an action individually and on behalf of the Estate

of Durrell Bennett, as its Personal Representative in Pierce County, Washington under File No.: 18-

4-01725-7.

       705.    As a direct result of the EFP attack, and the resulting wrongful death of Durrell

Bennett, the Estate of Durrell Bennett is entitled to recover for any pain and suffering experienced

by Durrell Bennett between the time of the EFP attack and his death, and for the substantial

economic and earnings capacity loss.

       706.    As a direct result of the EFP attack, and the resulting wrongful death of Durrell

Bennett, Plaintiffs, Dempsey Bennett, Doris Bennett, and Darnell Bennett have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe


                                                  111
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 112 of 180
mental anguish, extreme emotional pain and suffering, loss of society, companionship, comfort,

advice and counsel, consortium, and substantial economic loss.

ATTACK 51: APRIL 8, 2008 – BAGHDAD, IRAQ

   LLL.        The Rosenberg Family

       707.    Major Mark Rosenberg was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on April 8, 2008.

       708.    On that date, Major Rosenberg was riding on a patrol in an M1114 HUMVEE

vehicle along Route Pluto just adjacent to Sadr City, Baghdad, Iraq, when a two array EFP

detonation consisting of multiple copper slugs, detonated, thus killing Major Rosenberg.

       709.    The Army concluded that Special Groups in the Sadr City area of Baghdad were

responsible for the EFP attack which killed Major Rosenberg and that the Special Groups would

continue to target Coalition Forces with similar EFP attacks in the same area.

       710.    The device used to kill Major Rosenberg was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       711.    Plaintiff, Julie Rosenberg, was at the time of Major Rosenberg’s death and still is a

citizen of the United States and a resident of the State of New Mexico. She is the Widow of Major

Rosenberg.

       712.    Plaintiff, J.R., a Minor, being represented by his legal guardian, Julie Rosenberg,

was at the time of Major Mark Rosenberg’s death and still is a citizen of the United States and a

resident of the State of New Mexico. He is the Son of Major Mark Rosenberg.

       713.    Plaintiff, M.R., a Minor, being represented by his legal guardian, Julie Rosenberg,

was at the time of Major Mark Rosenberg’s death and still is a citizen of the United States and a

resident of the State of New Mexico. He is the Son of Major Mark Rosenberg.

       714.    Plaintiff, Julie Rosenberg, is the Personal Representative of Major Mark Rosenberg,

in El Paso County, Colorado under Case Number: 2008PR665.

                                                 112
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 113 of 180
      715. As a direct result of the EFP attack, and the resulting wrongful death of Major Mark

Rosenberg, the Estate of Major Mark Rosenberg is entitled to recover for any pain and suffering

experienced by Mark Rosenberg between the time of the EFP attack and his death, and for the

substantial economic and earnings capacity loss.

       716.    As a direct result of the EFP attack, and the resulting death of Major Mark

Rosenberg, Plaintiffs, Julie Rosenberg, J.R., a Minor, M.R., a Minor, have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, a loss of society, companionship, comfort,

advice and counsel, and substantial economic loss.

ATTACK 52: APRIL 14, 2008 – BAGHDAD, IRAQ

   MMM.        The Joseph Richard, III Family

       717.    Sergeant Joseph Richard, III was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on April 14, 2008.

       718.    On that date, Sergeant Richard was riding in an RG-31 vehicle which was the third

vehicle in a seven-vehicle convoy on a patrol in the “New Baghdad” area of Baghdad just south of

Sadr City when a four-array copper-lined EFP detonation occurred, causing four major penetration

points around one of the doors to the vehicle, thus killing Sergeant Richard and seriously injuring

two additional Soldiers. The Army investigation concluded that one of the Special Groups likely

perpetrated this attack in order to facilitate easier movement into Sadr City.

       719.    The device used to kill Sergeant Richard was an Iranian-manufactured and -

designed EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       720.    The Army concluded that the devices used to kill Sergeant Richard, III were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       721.    Plaintiff, Elaine (Lois) Richard, was at the time of Sergeant Joseph Richard, III’s

death and still is a citizen of the United States and a resident of the State of Louisiana. She is the

                                                   113
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 114 of 180
Mother of Sergeant Joseph Richard, III.

       722.    Plaintiff, Joseph Richard, Jr., was at the time of Sergeant Joseph Richard, III’s death

and still is a citizen of the United States and a resident of the State of Louisiana. He is the Father of

Sergeant Joseph Richard, III.

       723.    Plaintiff, Carmen Richard Billedeaux, was at the time of Sergeant Joseph Richard,

III’s death and still is a citizen of the United States and a resident of the State of Louisiana. She is

the Sister of Sergeant Joseph Richard, III.

       724.    As a direct result of the EFP attack, and the resulting death of Sergeant Joseph

Richard, III, Plaintiffs, Elaine (Lois) Richard, Joseph Richard, Jr., and Carmen Richard Billedeaux,

have experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, a loss of society,

companionship, comfort, advice and counsel, and substantial economic loss.

ATTACK 53: APRIL 30, 2008 – BAGHDAD, IRAQ

   NNN.        The Pearson Family

       725.    Captain Andrew R. Pearson was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on April 30, 2008.

       726.    On that date, Captain Pearson was riding in a vehicle on a patrol in the Baiyaa, Al

Rashid District of Baghdad just adjacent to Sadr City when an EFP detonation occurred, thus

killing Captain Pearson.

       727.    The device used to kill Captain Pearson was an Iranian-manufactured and -designed

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

       728.    The Army concluded that the devices used to kill Captain Pearson were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       729.    Plaintiff, Jon Marie Pearson, was at the time of Captain Pearson’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Widow of Captain

                                                   114
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 115 of 180
Andrew R. Pearson.

       730.      Plaintiff, Jon Marie Pearson, is the Personal Representative of Captain Andrew R.

Pearson in Parish of Beauregard, Louisiana, under Number: P-20058-0131A.

       731.      As a direct result of the EFP attack, and the resulting wrongful death of Captain

Andrew R. Pearson, the Estate of Captain Andrew R. Pearson is entitled to recover for any pain and

suffering experienced by Andrew Pearson between the time of the EFP attack and his death, and for

the substantial economic and earnings capacity loss.

       732.      As a direct result of the EFP attack, and the resulting death of Captain Andrew R.

Pearson, Plaintiff, Jon Marie Pearson has experienced various solatium-related damages, including

intentional infliction of severe emotional distress, severe mental anguish, extreme emotional pain

and suffering, a loss of society, companionship, comfort, advice and counsel, and substantial

economic loss.

ATTACK 54: JUNE 1, 2008 – BAGHDAD, IRAQ

   OOO.          The Mixon Family

       733.      Specialist Justin Mixon was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on June 1, 2008.

       734.      On that date, Specialist Mixon was on a patrol riding in a Stryker Armored Combat

Vehicle, which was the second vehicle in a 12-vehicle convoy traveling southbound on Route Pluto

near the Al Jaza’Ir Police Station in the Adhamiyah district of Baghdad, when a dual array of

between six to eight EFPs detonated from the left (driver’s side) of the vehicle, thus causing a

massive explosion, thus causing the death of Mixon and very serious injuries to the other occupant

of the vehicle. Copper fragments were found by investigators all around the detonation scene and

from the Stryker vehicle, another telltale indication of an EFP detonation.

       735.      The devices used to kill Justin Mixon were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

                                                  115
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 116 of 180
      736. Plaintiff, Tia Mixon, was at the time of Specialist Mixon’s death and still is a citizen

of the United States and a resident of the State of Mississippi. She is the Widow of Specialist

Mixon.

         737.   Plaintiff, T.R.M., a Minor represented by his legal guardian, Tia Mixon, is a citizen

of the United States and a resident of the State of Mississippi. He is the son of Specialist Mixon.

         738.   Plaintiff, Melinda Mixon, was at the time of Specialist Mixon’s death and still is a

citizen of the United States and a resident of the State of Mississippi. She is the Mother of Justin

Mixon.

         739.   Plaintiff, Walter Mixon, was at the time of Specialist Mixon’s death and still is a

citizen of the United States and a resident of the State of Mississippi. He is the Father of Justin

Mixon.

         740.   Plaintiff, Kenneth Mixon, was at the time of Specialist Mixon’s death and still is a

citizen of the United States and a resident of the State of Louisiana. He is the Brother of Justin

Mixon.

         741.   Plaintiff, Kimberly Spillyards, was at the time of Specialist Mixon’s death and still

is a citizen of the United States and a resident of the State of Louisiana. She is the Sister of Justin

Mixon.

         742.   Plaintiff, Walter Mixon, brings an action individually and on behalf of the Estate of

Justin Mixon, as its Personal Representative in Parish of Washington, Louisiana, under Probate

Number: 16230-A.

         743.   As a direct result of the EFP attack, and the resulting wrongful death of Justin

Mixon, the Estate of Justin Mixon is entitled to recover for any pain and suffering experienced by

Justin Mixon between the time of the EFP attack and his death, and for the substantial economic

loss caused by his death.

         744.   As a direct result of the EFP attack, and the resulting wrongful death of Justin


                                                   116
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 117 of 180
Mixon, Plaintiffs, Tia Mixon, T.R.M., a Minor, Walter Mixon, Melinda Mixon, Kenneth Mixon,

and Kimberly Spillyards, have experienced various solatium-related damages, including intentional

infliction of severe emotional distress, severe mental anguish, extreme emotional pain and

suffering, loss of society, companionship, comfort, advice and counsel, consortium, and substantial

economic loss.

ATTACK 55: JUNE 25, 2008 - BAGHDAD, IRAQ

   PPP.          The Plocica Family

       745.      Specialist Joshua Plocica was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on June 25, 2008.

       746.      At that time, Specialist Plocica was in an armored M1151 HUMVEE in a convoy of

vehicles consisting of two Mine Resistant Ambush Protected vehicles (“MRAPs”), four armored

M1151 HUMVEE vehicles, and five “Rhino Runner” armored buses, when a dual array of six

EFPs each detonated near his vehicle, causing a massive explosion that killed Plocica and seriously

injured the three other occupants of the vehicle.

       747.      The Army’s investigative report for this attack concluded that it was most likely

carried out by JAM and involved an array of EFPs which were Iranian-manufactured and -designed

and which were provided to Iranian-funded and -trained Special Groups in Iraq.

       748.      JAM was formed by Muqtada al Sadr in 2003 in response to the United States

invasion of Iraq and had as its goal the expulsion of United States and Coalition Forces from Iraq

and the establishment of an Iraqi Shiite Government.

       749.      JAM was just another one of Iran’s QF promoted, sponsored, financed, and trained

for anti-American and terroristic activities in Iraq from 2004-2011.

       750.      Plaintiff, Lisa Thompson, is a citizen of the United States and resident of the State of

Tennessee. She is the Mother of Joshua Plocica.

       751.      Plaintiff, Lowell “Keith” Thompson, is a citizen of the United States and resident of

                                                    117
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 118 of 180
the State of Tennessee. He is the Step-Father of Joshua Plocica.

       752.    Plaintiff, Brenna Corbin, is a citizen of the United States and resident of the State of

Tennessee. She is the Sister of Joshua Plocica.

       753.    Plaintiff, Lisa Thompson, brings an action individually and on behalf of the Estate

of Joshua Plocica, as its Personal Representative in Montgomery County, Tennessee, at Clarksville

Probate Division, under Case No. MC CM CV PB XX-XXXXXXX.

       754.    As a direct result of the EFP attack, and the resulting wrongful death of Joshua

Plocica, the Estate of Joshua Plocica is entitled to recover for any pain and suffering experienced

by Joshua Plocica between the time of the EFP attack and his death, and for the substantial

economic loss caused by his death.

       755.    As a direct result of the EFP attack, and the resulting wrongful death of Joshua

Plocica, Plaintiffs, Lisa Thompson, Lowell “Keith” Thompson, and Brenna Corbin have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 56: AUGUST 4, 2008 - BAGHDAD, IRAQ

   QQQ.        The Blickenstaff Family

       756.    Specialist John Blickenstaff was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on August 4, 2008.

Blickenstaff is resident of the State of Indiana.

       757.    On August 4, 2008, Specialist Blickenstaff was operating as a Gunner and a Military

Policeman and was riding in an M1151 HUMVEE vehicle as the lead vehicle of a four HUMVEE

convoy when a dual array of eight EFPs detonated next to his HUMVEE, thus causing a massive

explosion, thus causing very serious physical and emotional injuries to Blickenstaff and the death

of two other occupants of the vehicle.

                                                    118
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 119 of 180
      758. The Army concluded that the devices used to injure John Blickenstaff were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

        759.    The Army further concluded that this attack was most likely perpetrated by the

Baghdad al-Jadida JAM cell, part of The Mahdi Army.

        760.    JAM was formed by Muqtada al Sadr in 2003 in response to the United States

invasion of Iraq and had as its goal the expulsion of United States and Coalition Forces from Iraq

and the establishment of an Iraqi Shiite Government.

        761.    JAM was just another one of Iran’s Special Groups its QF promoted, sponsored,

financed, and trained for anti-American and terroristic activities in Iraq from 2004-2011.

        762.    As a result of the EFP attack, John Blickenstaff sustained massive injuries to both of

his legs, including fractures of his tibia and fibula bones in his right leg, a transection of his

peroneal artery in his right leg, extensive soft tissue injuries to his right leg, extensive wounds in

and to the right leg, a fractured left tibia bone, a major injury to his right calf area which required

significant surgery, shrapnel blown into and embedded inside various portions of his body, a major

injury to his testicles which required an orchiotomy procedure, which is in essence a removal of the

testicles, an amputated right second toe, developed traumatically-caused “hammer toes”, a migraine

headache syndrome, a brachial-plexus nerve injury, post-traumatic stress disorder (“PTSD”), panic

attacks, anxiety disorder, cognitive difficulties, sleeping disorder, and depression.

        763.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, John Blickenstaff has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into


                                                   119
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 120 of 180
the indeterminable future.

        764.    Plaintiff, Misty Blickenstaff, was at the time of John Blickenstaff’s attack and still is

a citizen of the United States and a resident of the State of Indiana. She is the Wife of John

Blickenstaff.

        765.    Plaintiff, M.B., a Minor, represented by her legal guardian, Misty Blickenstaff, was

at the time of John Blickenstaff’s attack and still is a citizen of the United States and a resident of

the State of Indiana. She is the Daughter of John Blickenstaff.

        766.    Plaintiff, C.B., a Minor, represented by her legal guardian, Misty Blickenstaff, was

at the time of John Blickenstaff’s attack and still is a citizen of the United States and a resident of

the State of Indiana. She is the Daughter of John Blickenstaff.

        767.    Plaintiff, Pam Jones, was at the time of John Blickenstaff’s attack and still is a

citizen of the United States and a resident of the State of Indiana. She is the Mother of John

Blickenstaff.

        768.    Plaintiff, Jared Blickenstaff, was at the time of John Blickenstaff’s attack and still is

a citizen of the United States and a resident of the State of Indiana. He is the Brother of John

Blickenstaff.

        769.    Plaintiff, Adrianne Blickenstaff, was at the time of John Blickenstaff’s attack and

still is a citizen of the United States and a resident of the State of Indiana. She is the Sister of John

Blickenstaff.

        770.    Plaintiff, Trista Carter, was at the time of John Blickenstaff’s attack and still is a

citizen of the United States and a resident of the State of Indiana. She is the Sister of John

Blickenstaff.

        771.    As a result of the EFP attack, and the physical and emotional injuries suffered by

John Blickenstaff as a direct result therefrom, Plaintiffs, Misty Blickenstaff, M.B., a Minor, C.B., a

Minor, Pam Jones, Jared Blickenstaff, Adrianne Blickenstaff and Trista Carter have suffered and


                                                   120
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 121 of 180
experienced intentional infliction of severe emotional distress and loss of consortium-related

damages.

   RRR.          The Henry Family

       772.      Sergeant Gary Henry was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on August 4, 2008.

       773.      On that date, Sergeant Henry was acting as a Military Policeman and was riding in

an M1151 HUMVEE vehicle as the lead vehicle of a four HUMVEE convoy when a dual array of

eight EFPs detonated next to his HUMVEE, thus causing a massive explosion that killed Henry and

another vehicle occupant, and seriously injured another occupant.

       774.      The Army concluded that the devices used to kill Gary Henry were Iranian-

manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       775.      The Army further concluded that this attack was most likely perpetrated by the

Baghdad al-Jadida JAM cell, part of The Mahdi Army.

       776.      JAM was formed by Muqtada al Sadr in 2003 in response to the United States

invasion of Iraq and had as its goal the expulsion of United States and Coalition Forces from Iraq

and the establishment of an Iraqi Shiite Government.

       777.      JAM was just another one of Iran’s Special Groups its QF promoted, sponsored,

financed, and trained for anti-American and terroristic activities in Iraq from 2004-2011.

       778.      Plaintiff, Gary L. Henry, was at the time of Gary Henry’s death and still is a citizen

of the United States and a resident of the State of Indiana. He is the Father of Gary Henry.

       779.      As a direct result of the EFP attack, and the resulting wrongful death of Gary Henry,

Plaintiff, Gary L. Henry, has experienced various solatium-related damages, including intentional

infliction of severe emotional distress, severe mental anguish, extreme emotional pain and

suffering, loss of society, companionship, comfort, advice and counsel, consortium, and substantial

economic loss.

                                                   121
  Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 122 of 180
ATTACK 57: AUGUST 9, 2008 – SADR CITY, IRAQ

   SSS.          The Ulloa Family

         780.    Sergeant Jose E. Ulloa was a citizen and national of the United States and a member

of the United States Army when he was killed in Iraq on August 9, 2008.

         781.    On that date, Sergeant Ulloa was on a patrol riding in a Stryker Armored Combat

Vehicle in a convoy of two Stryker vehicles and six low-boy trailers near the Al Jazair Police

Station in Baghdad when an array of between six to eight EFPs detonated near his vehicle, causing

a massive explosion that killed Sergeant Ulloa and seriously injured the other occupant of the

vehicle.

         782.    The devices used to kill Sergeant Ulloa were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

         783.    Plaintiff, Melanie Atzmann, was at the time of Sergeant Ulloa’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Widow of Sergeant

Jose E. Ulloa.

         784.    Plaintiff, S.U., a Minor represented by his legal guardian, Melanie Atzmann, is a

citizen of the United States and a resident of the State of New York. He is the Son of Sergeant Jose

E. Ulloa.

         785.    Plaintiff, Francisca Marmol, was at the time of Sergeant Ulloa’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Sister who was also

the legal guardian of Sergeant Jose E. Ulloa.

         786.    Plaintiff, Jose Ulloa, was at the time of Sergeant Ulloa’s death and still is a citizen of

the United States and a resident of the State of New York. He is the Father of Sergeant Jose E.

Ulloa.

         787.    Plaintiff, Ruberterna Ulloa, was at the time of Sergeant Ulloa’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Sister of Sergeant

                                                    122
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 123 of 180
Jose E. Ulloa.

       788.      Plaintiff, Stephanie Marmol, was at the time of Sergeant Ulloa’s death and still is a

citizen of the United States and a resident of the State of New York. She is the Sister of Sergeant

Jose E. Ulloa.

       789.      Plaintiff, the Public Administrator for the County of New York, brings an action on

behalf of the Estate of Sergeant Jose E. Ulloa, as its Public Administrator in Matter No. 2009-

06131A in the County of New York, New York.

       790.      As a direct result of the EFP attack, and the resulting wrongful death of Jose E.

Ulloa, the Estate of Jose Ulloa is entitled to recover for any pain and suffering experienced by Jose

Ulloa between the time of the EFP attack and his death, and for the substantial economic loss

caused by his death.

       791.      As a direct result of the EFP attack, and the resulting wrongful death of Sergeant

Jose E. Ulloa, Plaintiffs, Melanie Atzmann, S.U., a Minor, Francisca Marmol, Jose Ulloa,

Ruberterna Ulloa, and Stephanie Marmol have experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,

consortium, and substantial economic loss.

ATTACK 58: FEBRUARY 15, 2009 - AS SALAM, IRAQ

   TTT.          The Diamond Family

       792.      Staff Sergeant Sean Diamond was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on February 15, 2009.

       793.      On that date, Staff Sergeant Diamond was on a patrol riding northbound on Route

Quebec in a RG-31 Nyala Mine Protected Vehicle with another such vehicle southwest of Amarah,

Iraq, when an array of three EFPs detonated nearby his vehicle, causing a massive explosion,

thereby causing his death and very serious personal injuries to two other occupants.

                                                   123
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 124 of 180
      794. The Army concluded that the devices used to kill Sean Diamond were Iranian-

manufactured and designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       795.    Plaintiff, Loramay “Lora” Diamond, was at the time of Staff Sergeant Diamond’s

death and still is a citizen of the United States and a resident of the State of Washington. She is the

Widow of Sean Diamond.

       796.    Plaintiff, Taylor Diamond, was at the time of Staff Sergeant Diamond’s death and

still is a citizen of the United States and a resident of the State of Washington. She is the Daughter

of Sean Diamond.

       797.    Plaintiff, Madison Diamond, was at the time of Staff Sergeant Diamond’s death and

still is a citizen of the United States and a resident of the State of Washington. She is the Daughter

of Sean Diamond.

       798.    Plaintiff, Sean Diamond, was at the time of Staff Sergeant Diamond’s death and still

is a citizen of the United States and a resident of the State of Washington. He is the son of Sean

Diamond.

       799.    Plaintiff, A.N.D., a Minor, represented by her legal guardian, Loramay “Lora”

Diamond, was at the time of Staff Sergeant Diamond’s death and still is a citizen of the United

States and a resident of the State of Washington. She is the Daughter of Sean Diamond.

       800.    Plaintiff, Sally Diamond Wiley, was at the time of Staff Sergeant Diamond’s death

and still is a citizen of the United States and a resident of the State of Nevada. She is the Mother of

Sean Diamond.

       801.    Plaintiff, James “Michael” Wiley, was at the time of Staff Sergeant Diamond’s death

and still is a citizen of the United States and a resident of the State of Nevada. He is the Step-Father

of Sean Diamond.

       802.    Plaintiff, Jason Diamond, was at the time of Staff Sergeant Diamond’s death and

still is a citizen of the United States and a resident of the State of California. He is the Brother of


                                                   124
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 125 of 180
Sean Diamond.

       803.    Plaintiff, Michael Diamond, was at the time of Staff Sergeant Diamond’s death and

still is a citizen of the United States and a resident of the State of California. He is the Brother of

Sean Diamond.

       804.    Plaintiff, Loramay “Lora” Diamond, brings an action individually and on behalf of

the Estate of Sean Diamond, as its Personal Representative in Pierce County, Washington, under

Case Number: 18-4-01345-6.

       805.    As a direct result of the EFP attack, and the resulting wrongful death of Sean

Diamond, the Estate of Sean Diamond is entitled to recover for any pain and suffering experienced

by Sean Diamond between the time of the EFP attack and his death, and for the substantial

economic loss caused by his death.

       806.    As a direct result of the EFP attack, and the resulting wrongful death of Sean

Diamond, Plaintiff, Loramay “Lora” Diamond, Taylor Diamond, Madison Diamond, A.N.D., a

Minor, Sean Diamond, Sally Diamond Wiley, James “Michael” Wiley, Jason Diamond, and

Michael Diamond experienced various solatium-related damages, including intentional infliction of

severe emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of

society, companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 59: APRIL 12, 2009 - BAYLA, IRAQ

   UUU.        The Anaya Family

       807.    Corporal Michael Anaya was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on April 12, 2009.

       808.    On that date, Corporal Anaya was riding in a Mine Resistant Ambush Protected

(“MRAP”) RG-31 vehicle as the fourth vehicle in a 16-vehicle logistics convoy near Forward

Operating Base (“FOB”) Summerall in Sharqat, Iraq, when an EFP detonation occurred, thus

causing a massive explosion, thus causing Corporal Anaya’s death.

                                                   125
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 126 of 180
      809. The Combined Explosive Exploitation Cell (“CEXC”) discovered copper remnants

at the detonation scene and noted “copper-shaped charged, steel-lined IED 12 APR09.” The CEXC

concluded that “this IED was an EFP…”

         810.   The device used to kill Michael Anaya was an Iranian-manufactured and -designed

EFP provided to Iranian-funded and -trained Special Groups in Iraq.

         811.   Plaintiff, Cheryl Anaya, was at the time of Corporal Anaya’s death and still is a

citizen of the United States and a resident of the State of Florida. She is the Mother of Michael

Anaya.

         812.   Plaintiff, Trista Moffett, was at the time of Corporal Anaya’s death and still is a

citizen of the United States and a resident of the State of Florida. She is the Sister of Michael

Anaya.

         813.   Plaintiff, Carmelo Anaya, Jr. was at the time of Corporal Anaya’s death and still is a

citizen of the United States and a resident of the State of Florida. He is the Brother of Michael

Anaya.

         814.   Plaintiff, Trista Moffett, brings an action individually and on behalf of the Estate of

Michael Anaya, as its Personal Representative in Okaloosa County, Florida, under Probate Case

No.: 2018 CP 000460.

         815.   As a direct result of the EFP attack, and the resulting wrongful death of Michael

Anaya, the Estate of Michael Anaya is entitled to recover for any pain and suffering experienced by

Michael Anaya between the time of the EFP attack and his death, and for the substantial economic

loss caused by his death.

         816.   As a direct result of the EFP attack, and the resulting wrongful death of Michael

Anaya, Plaintiffs, Cheryl Anaya, Trista Moffett, and Carmelo Anaya, Jr. have experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, loss of society, companionship, comfort,


                                                  126
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 127 of 180
advice and counsel, consortium, and substantial economic loss.

ATTACK 60: JULY 16, 2009 – BASRA, IRAQ

   VVV.        The Wilcox Family

       817.    Specialist Carlos Wilcox was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on July 16, 2009.

       818.    On that date, Specialist Wilcox was operating on a military base near Basrah, Iraq,

when the vehicle in which he was then riding came under rocket fire that caused a massive

explosion, which killed him.

       819.    The devices used to kill Carlos Wilcox were Iranian-sponsored rockets provided to

Iranian-funded and -trained Special Groups in Iraq.

       820.    Plaintiff, Charlene Wilcox, was at the time of Specialist Wilcox’s death and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Mother of Carlos

Wilcox.

       821.    Plaintiff, Bianca Wilcox, was at the time of Specialist Wilcox’s death and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Sister of Carlos

Wilcox.

       822.    Plaintiff, Ona Wilcox, was at the time of Specialist Wilcox’s death and still is a

citizen of the United States and a resident of the State of Minnesota. She is the Sister of Carlos

Wilcox.

       823.    Plaintiff, Charles Wilcox III, was at the time of Specialist Wilcox’s death and still is

a citizen of the United States and a resident of the State of Minnesota. He is the Brother of Carlos

Wilcox.

       824.    Plaintiff, Charlene Wilcox, brings an action individually and on behalf of the Estate

of Carlos Wilcox, as its Personal Representative in Washington County, Minnesota, under Court

File No: 82-PR-18-999.

                                                 127
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 128 of 180
      825. As a direct result of the rocket attack, and the resulting wrongful death of Carlos

Wilcox, the Estate of Carolos Wilcox is entitled to recover for any pain and suffering experienced

by Carlos Wilcox between the time of the EFP attack and his death, and for the substantial

economic loss caused by his death.

       826.    As a direct result of the rocket attack, and the resulting wrongful death of Carlos

Wilcox, Plaintiffs, Charlene Wilcox, Bianca Wilcox, Ona Wilcox, and Charles Wilcox III have

experienced various solatium-related damages, including intentional infliction of severe emotional

distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 61: AUGUST 1, 2010 – NAJAF, IRAQ

   WWW.        The Craven Family

       827.    Specialist Joshua Craven was a citizen and national of the United States and a

member of the United States Army when he was wounded in Iraq on August 1, 2010. Craven is a

resident of the State of North Carolina.

       828.    On that date, Specialist Craven was on a patrol riding in an M1114 HUMVEE

vehicle near Najaf, Iraq, when a series of EFPs detonated near the vehicle in which he was riding,

causing his right leg to be blown off and other very serious physical and emotional injuries.

       829.    Medical procedures have removed several pieces of copper from wounds on

Craven’s body subsequent to the attack, a telltale sign of an EFP detonation.

       830.    The devices used to injure Specialist Craven were Iranian-manufactured and -

designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       831.    As a result of the EFP attack, Specialist Craven lost his left leg above the knee,

suffered an open fracture of the right femur and a mild traumatic brain injury (“TBI”); he further

suffered injury of the sciatic nerve, injury of the femoral nerve, and chronic pain due to trauma.

       832.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

                                                 128
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 129 of 180
a direct result therefrom, Specialist Craven has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

       833.    Plaintiff, Holly Craven, was at the time of Specialist Craven’s attack and still is a

citizen of the United States and is a resident of the State of North Carolina. She is the Wife of

Joshua Craven.

       834.    As a result of the EFP attack, and the physical and emotional injuries suffered by

Specialist Craven as a direct result therefrom, Plaintiff Holly Craven has experienced various

solatium-related damages, including intentional infliction of severe emotional distress, severe

mental anguish, extreme emotional pain and suffering, and substantial economic loss.

ATTACK 62: APRIL 22, 2011 – NUMANIYAH, IRAQ

   XXX.        The Vazquez Family

       835.    First Lieutenant Omar Vazquez was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on April 22, 2011.

       836.    On that date, First Lieutenant Vazquez was riding in a military patrol on Route

Bismarck west of Kut, Iraq, which is approximately 100 miles southeast of Baghdad, when an array

of at least five EFPs detonated near his vehicle, thus causing a massive explosion that killed him

and another occupant of the vehicle.

       837.    The Army Explosive Ordinance Disposal (“EOD”) team investigation concluded

that the attack was a multiple copper-lined EFP detonation.

       838.    The Army concluded that the devices used to kill Omar Vazquez were Iranian-

                                                  129
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 130 of 180
manufactured and -designed EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       839.    The Special Group Kata’ib Hezbollah (“KH”) claimed responsibility for the attack

which killed Vazquez by posting a video of it online and identifying the two killed victims. KH is

an Iraqi paramilitary group founded, funded and sponsored primarily by Iran, the IRGC, and the

QF, but which also receives funding and materiel support from Hezbollah, which was founded by

Iran and which is supported with money and materiel by Iran.

       840.    Plaintiff, Maria Vazquez, was at the time of First Lieutenant Vazquez’s death and

still is a citizen of the United States and is a resident of the State of New Jersey. She is the Mother

of Omar Vazquez.

       841.    Plaintiff, Pablo Vazquez, was at the time of First Lieutenant Vazquez’s death and

still is a citizen of Puerto Rico and domiciled in Sabana Hoyos. He is the Father of Omar Vazquez.

       842.    Plaintiff, Pablo Vazquez, Jr., was at the time of First Lieutenant Vazquez’s death

and still is a citizen of Puerto Rico and domiciled in Orocovis. He is the Step-Brother of Omar

Vazquez.

       843.    Plaintiff, Marisel Vazquez, was at the time of First Lieutenant Vazquez’s death and

still is a resident of the State of New Jersey. She is the Step-Sister of Omar Vazquez.

       844.    Plaintiff, Javier Vazquez, was at the time of First Lieutenant Vazquez’s death and

still is a citizen of Puerto Rico and domiciled in Orocovis. He is the Brother of Omar Vazquez.

       845.    Plaintiff, Maria Vazquez, brings an action individually and on behalf of the Estate of

Omar Vazquez, as its Personal Representative in Mercer County, New Jersey, under Docket

number: 11-01029.

       846.    As a direct result of the EFP attack, and the resulting wrongful death of Omar

Vazquez, the Estate of Omar Vazquez is entitled to recover for any pain and suffering experienced

by Omar Vazquez between the time of the EFP attack and his death, and for the substantial

economic loss caused by his death.


                                                  130
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 131 of 180
      847. As a direct result of the EFP attack, and the resulting wrongful death of Omar

Vazquez, Plaintiffs, Maria Vazquez, Pablo Vazquez, Pablo Vazquez, Jr., Marisel Vazquez, and

Javier Vazquez have experienced various solatium-related damages, including intentional infliction

of severe emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of

society, companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 63: JULY 7, 2011 - BAGHDAD, IRAQ

   YYY.        The Rzepa Family

       848.    Staff Sergeant Jason Rzepa was a citizen and national of the United States and a

member of the United States Army when he was seriously injured in Iraq on July 7, 2011. Rzepa is

a resident of the State of Idaho.

       849.    On that date, Staff Sergeant Rzepa, was serving on a “PSD” (“Personal Security

Detail”) acting as a Gunner and riding in a HUMVEE vehicle in a three-vehicle convoy

approaching the entrance to Camp Victory, when an array of EFPs detonated near the HUMVEE in

which he was riding, causing a massive explosion that caused very serious physical and emotional

injuries to Rzepa, and the death of two other vehicle occupants.

       850.    The devices used to injure Jason Rzepa were Iranian-manufactured and -designed

EFPs provided to Iranian-funded and -trained Special Groups in Iraq.

       851.    As a result of the EFP attack, Jason Rzepa had both of his legs amputated below the

knees, experienced multiple surgeries to debride his wounds and to take out shrapnel fragments

lodged throughout his body, sustained a traumatic brain injury (“TBI”), experienced “phantom

pain” where his legs should have been, and was diagnosed with post-traumatic stress disorder

(“PTSD”), anxiety disorder, and depression.

       852.    As a result of the EFP attack, and the physical and emotional injuries he suffered as

a direct result therefrom, Jason Rzepa has experienced severe physical and emotional pain and

suffering in the past and will experience same into the indeterminable future; has incurred medical

                                                131
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 132 of 180
bills for medical and rehabilitation services rendered and will incur same into the indeterminable

future; has incurred an overwhelming loss of income and earnings capacity and will experience

same into the indeterminable future; has experienced permanent injuries to his person and psyche;

and has experienced severe mental anguish, anxiety and depression and will experience same into

the indeterminable future.

         853.   Plaintiff, Cassandra Rzepa, was at the time of Staff Sergeant Jason Rzepa’s attack

and still is a citizen of the United States and a resident of the State of Idaho. She is the ex-Wife of

Jason Rzepa.

         854.   Plaintiff, C.R., a Minor, represented by his legal guardian, Cassandra Rzepa, was at

the time of Staff Sergeant Jason Rzepa’s attack and still is a citizen of the United States and a

resident of the State of Idaho. He is the Son of Jason Rzepa.

         855.   Plaintiff, K.R., a Minor, represented by his legal guardian, Adrian Davis, was at the

time of Staff Sergeant Jason Rzepa’s attack and still is a citizen of the United States and a resident

of the State of Idaho. He is the Son of Jason Rzepa.

         856.   Plaintiff, Ann Rzepa, was at the time of Staff Sergeant Jason Rzepa’s attack and still

is a citizen of the United States and a resident of the State of Idaho. She is the Mother of Jason

Rzepa.

         857.   Plaintiff, David “Mick” Shaidell, was at the time of Staff Sergeant Jason Rzepa’s

attack and still is a citizen of the United States and a resident of the State of Idaho. He is the

Brother of Jason Rzepa.

         858.   As a result of the EFP attack, and the physical and emotional injuries suffered by

Jason Rzepa as a direct result therefrom, Plaintiffs, Cassandra Rzepa, C.R., a Minor, K.R., a Minor,

Ann Rzepa and David “Mick” Shaidell have experienced various solatium-related damages,

including intentional infliction of severe emotional distress, severe mental anguish, extreme

emotional pain and suffering, loss of society, companionship, comfort, advice and counsel,


                                                   132
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 133 of 180
consortium, and substantial economic loss.

   ZZZ.        The Beyers Family

       859.    Sergeant Nathan Beyers was a citizen and national of the United States and a

member of the United States Army when he was killed in Iraq on July 7, 2011.

       860.    On that date, Sergeant Beyers was serving on a “PSD” (“Personal Security Detail”)

and riding in a HUMVEE vehicle in a three-vehicle convoy approaching the entrance to Camp

Victory, when an array of EFPs detonated near the HUMVEE in which he was riding, thus causing

a massive explosion, thus causing his death, the death of another occupant, and very serious

physical injuries to a third occupant.

       861.    The devices used to kill Nathan Beyers were Iranian-manufactured EFPs provided to

Iranian-funded and -trained Special Groups in Iraq.

       862.    Plaintiff, Vanessa Beyers, was at the time of Sergeant Nathan Beyers’ death and still

is a citizen of the United States and a resident of the State of Washington. She is the Widow of

Nathan Beyers.

       863.    Plaintiff, E.B., a Minor, represented by her legal guardian, Vanessa Beyers, was at

the time of Sergeant Nathan Beyers’ death and still is a citizen of the United States and a resident

of the State of Washington. She is the Daughter of Nathan Beyers.

       864.    Plaintiff, Tim Beyers, was at the time of Sergeant Nathan Beyers’ death and still is a

citizen of the United States and a resident of the State of Colorado. He is the Father of Nathan

Beyers.

       865.    Plaintiff, Sonja Beyers, was at the time of Sergeant Nathan Beyers’ death and still is

a citizen of the United States and a resident of the State of Colorado. She is the Step-Mother of

Nathan Beyers.

       866.    Plaintiff, Tyler Beyers, was at the time of Sergeant Nathan Beyers’ death and still is

a citizen of the United States and a resident of the State of Colorado. He is the Brother of Nathan


                                                 133
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 134 of 180
Beyers.

       867.    Plaintiff, Vanessa Beyers, brings an action individually and on behalf of the Estate

of Nathan Beyers, as its Personal Representative in Spokane County, Washington, under Case No.:

18400508-8.

       868.    As a direct result of the EFP attack, and the resulting wrongful death of Nathan

Beyers, the Estate of Nathan Beyers is entitled to recover for any pain and suffering experienced by

Nathan Beyers between the time of the EFP attack and his death, and for the substantial economic

loss caused by his death.

       869.    As a direct result of the EFP attack, and the resulting wrongful death of Nathan

Beyers, Plaintiffs, Vanessa Beyers, E.B., a Minor, Tim Beyers, Sonja Beyers, and Tyler Beyers

have experienced various solatium-related damages, including intentional infliction of severe

emotional distress, severe mental anguish, extreme emotional pain and suffering, loss of society,

companionship, comfort, advice and counsel, consortium, and substantial economic loss.

ATTACK 1:              APRIL 12, 2006 - MISIAB, IRAQ

   A. The Calderon Family

       88.     Roland Calderon was a citizen of the United States when he was killed in Iraq.

       89.     On April 12, 2006, Roland Calderon, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       90.     Roland Calderon was killed in the attack.

       91.     The weapon used to kill Roland Calderon was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       92.     Plaintiff Mirtha Ponce is a citizen of the United States and domiciled in the State of

Georgia. She is the widow of Roland Calderon.

       93.     Plaintiff A.L.C., a minor, represented by his legal guardian Mirtha Pounce, is a

citizen of the United States and domiciled in the State of Georgia. He is the son of Roland

                                                 134
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 135 of 180
Calderon.

       94.     Plaintiff, A.D.C, a minor, represented by her legal guardian Mirtha Pounce, is a

citizen of the United States and domiciled in the State of Georgia. She is the daughter of Roland

Calderon.

       95.     Plaintiff Rosa Milagros is a citizen of the United States and domiciled in the State of

Florida. She is the mother of Roland Calderon.

       96.     Plaintiff Saul Rauda is a citizen of the United States and domiciled in the State of

Florida. He is the step-father of Ronald Calderon.

       97.     Plaintiff Yeny Rauda is a citizen of the United States and domiciled in the State of

Florida. She is the sister of Roland Calderon.

       98.     Plaintiff Jasmyn Rauda is a citizen of the United States and domiciled in the State of

Florida. She is the sister of Roland Calderon.

       99.     Plaintiff Evelyn Rauda is a citizen of the United States and domiciled in the State of

Florida. She is the sister of Roland Calderon.

       100.    Plaintiff Mirtha Ponce brings an action individually and on behalf of the Estate of

Roland Calderon, as its legal representative.

       101.    As a result of the attack, and the death of Roland Calderon, Plaintiffs Mirtha Ponce,

A.L.C., a minor, A.D.C., a minor, Rosa Milagros, Saul Rauda, Yeny Rauda, Jasmyn Rauda, and

Evelyn Rauda have experienced severe mental anguish, extreme emotional pain and suffering, and

the loss of their husband, father, son and brother’s society, companionship, comfort, advice and

counsel.

       ATTACK 2:              APRIL 18, 2006 - BALAD, IRAQ

   B. The Weikel Family

       102.    Ian Weikel was a citizen of the United States when he was killed in Iraq.

       103.    On April 18, 2006, Ian Weikel was serving in the U.S. military in Iraq when an EFP

                                                 135
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 136 of 180
detonated near his vehicle.

       104.    Ian Weikel was killed in the attack.

       105.    The weapon used to kill Ian Weikel was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       106.    Plaintiff Wendy Green is a citizen of the United States and domiciled in the State of

Minnesota. She is the widow of Ian Weikel.

       107.    Plaintiff J.W., a minor represented by his legal guardian Wendy Green, is a citizen

of the United States and domiciled in the State of Minnesota. He is the son of Ian Weikel.

       108.    Plaintiff Chad Weikel is a citizen of the United States and domiciled in the State of

Colorado. He is the brother of Ian Weikel.

       109.    Plaintiff Wendy Green brings an action individually and on behalf of the Estate of

Ian Weikel, as its legal representative.

       110.    As a result of the attack, and the death of Ian Weikel, Plaintiffs Wendy Green, J.W.,

a minor and Chad Weikel have experienced severe mental anguish, extreme emotional pain and

suffering, and the loss of their husband, father and brother’s society, companionship, comfort,

advice and counsel.

       ATTACK 3:               MAY 5, 2006 - BAGHDAD, IRAQ

   C. The Torres Family

       111.    Teodoro Torres was a citizen of the United States when he was killed in Iraq.

       112.    On May 5, 2006, Teodoro Torres, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       113.    Teodoro Torres was killed in the attack.

       114.    The weapon used to kill Teodoro Torres was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       115.    Plaintiff Yarissa Torres is a citizen of the United States and domiciled in the State of

                                                  136
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 137 of 180
New York. She is the widow of Teodoro Torres.

        116.   Plaintiff Yarissa Torres brings an action individually and on behalf of the Estate of

Teodoro Torres, as its legal representative.

        117.   As a result of the attack, and the death of Teodoro Torres, Plaintiff Yarissa Torres

has experienced severe mental anguish, extreme emotional pain and suffering, and the loss of her

husband’s society, companionship, comfort, advice and counsel.

        ATTACK 4:             JULY 2, 2006 - IRAQ

   D. The Paupore Family

        118.   Plaintiff Nicholas Paupore is a citizen of the United States and domiciled in the State

of Virginia.

        119.   On July 2, 2006, Plaintiff Nicholas Paupore, was serving in the U.S. military in Iraq.

        120.   Plaintiff Nicholas Paupore was injured when an EFP exploded near his vehicle.

        121.   The weapon used to injure Plaintiff Nicholas Paupore was an Iranian-manufactured

EFP provided to Iranian-funded and -trained terror operatives in Iraq.

        122.   As a result of the attack, Plaintiff Nicholas Paupore has lost his right leg, above the

knee.

        123.   As a result of the attack, and the injuries he suffered, Plaintiff Nicholas

Paupore has experienced severe physical and mental anguish and extreme emotional pain and

suffering.

        124.   Plaintiff Marie Paupore is a citizen of the United States and domiciled in the State of

Virginia. She is the wife of Nicholas Paupore.

        125.   Plaintiff Sharon Osborne is a citizen of the United States and domiciled in the State

of Michigan. She is the mother of Nicholas Paupore.

        126.   Plaintiff Thomas Paupore is a citizen of the United States and domiciled in the State

of Arizona. He is the father of Nicholas Paupore.

                                                 137
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 138 of 180
      127. Plaintiff Leslie Paupore Bueno is a citizen of the United States and domiciled in the

State of Arizona. She is the sister of Nicholas Paupore.

       128.    Plaintiff M.P., a minor represented by her legal guardian, Nicholas Paupore, is a

citizen of the United States and domiciled in the State of Virginia. She is the daughter of Nicholas

Paupore.

       129.    Plaintiff Cody Paupore is a citizen of the United States and domiciled in the State of

Virginia. He is the son of Nicholas Paupore.

       130.    As a result of the attack, and the injuries suffered by Nicholas Paupore, Plaintiffs

Nicholas Paupore, Marie Paupore, M.P., a minor, Cody Paupore, Sharon Osborne, Thomas

Paupore, and Leslie Paupore Bueno have experienced severe mental anguish and extreme emotional

pain and suffering.

   E. The Saaristo Family

       131.    Plaintiff Brian Saaristo is a citizen of the United States and domiciled in the State of

Minnesota.

       132.    On July 2, 2006, Plaintiff Brian Saaristo, was serving in the U.S. military in Iraq.

       133.    Plaintiff Brian Saaristo was injured when an EFP exploded near his vehicle.

       134.    The weapon used to injure Plaintiff Brian Saaristo was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       135.    As a result of the attack, Plaintiff Brian Saaristo lost both of his legs.

       136.    As a result of the attack, and the injuries he suffered, Plaintiff Brian Saaristo

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

       137.    Plaintiff Cheryl Saaristo is a citizen of the United States and domiciled in the State

of Minnesota. She is the wife of Brian Saaristo.

       138.    Plaintiff Shirley Ann Saaristo is a citizen of the United States and domiciled in the

State of Minnesota. She is the mother of Brian Saaristo.


                                                   138
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 139 of 180
      139. Plaintiff Brenda Angell is a citizen of the United States and domiciled in the State of

Minnesota. She is sister of Brian Saaristo.

       140.    Plaintiff Barbara Liimatainen is a citizen of the United States and domiciled in the

State of Minnesota. She is the sister of Brian Saaristo.

       141.    Plaintiff L.M.S., a minor represented by her father, Brian Saaristo, is a citizen of the

United States and domiciled in the State of Minnesota. She is the daughter of Brian Saaristo.

       142.    Plaintiff B.S., Jr., a minor represented by his father, Brian Saaristo, is a citizen of the

United States and domiciled in the State of Minnesota. He is the son of Brian Saaristo.

       143.    As a result of the attack, and the injuries suffered by Brian Saaristo, Plaintiffs Cheryl

Saaristo, Shirley Ann Saaristo, Brenda Angell, Barbara Liimatainen, L.M.S., a minor, and B.S., Jr.,

a minor, have experienced severe mental anguish and extreme emotional pain and suffering.

               ATTACK 5:               JULY 31, 2006 – AL NUMANIYAH, IRAQ

   F. The Ford Family

       144.    Joshua Ford was a citizen of the United States when he was killed in Iraq.

       145.    On July 31, 2006, Joshua Ford, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       146.    Joshua Ford was killed in the attack.

       147.    The weapon used to kill Joshua Ford was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       148.    Plaintiff Lonnie Ford is a citizen of the United States and domiciled in the State of

Nebraska. He is the father of Joshua Ford.

       149.    Plaintiff Linda Mattison-Ford is a citizen of the United States and domiciled in the

State of Nebraska. She is the step-mother of Joshua Ford.

       150.    Plaintiff Jessica Matson is a citizen of the United States and domiciled in the State of

Nebraska. She is the sister of Joshua Ford.

                                                  139
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 140 of 180
      151. Plaintiff Shawn Ford is a citizen of the United States and domiciled in the State of

Nebraska. She is the sister of Joshua Ford.

       152.    Plaintiff Lonnie Ford brings an action individually and on behalf of the Estate of

Joshua Ford, as its legal representative.

       153.    As a result of the attack, and the death of Joshua Ford, Plaintiffs, Lonnie Ford,

Linda Mattison-Ford, Jessica Matson, and Shawn Ford have experienced severe mental anguish,

extreme emotional pain and suffering, and loss of their son, and brother’s society, companionship,

comfort, advice and counsel.

       ATTACK 6:               AUGUST 24, 2006 - BAGHDAD, IRAQ

   G. The Thorne Family

       154.    William Thorne was a citizen of the United States when he was killed in Iraq.

       155.    On August 24, 2006, William Thorne, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       156.    William Thorne was killed in the attack.

       157.    The weapon used to kill William Thorne was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       158.    Plaintiff Karen Thorne is a citizen of the United States and domiciled in the State

of Iowa. She is the mother of William Thorne.

       159.    Plaintiff Doyle Thorne is a citizen of the United States and domiciled in the State of

Iowa. He is the brother of William Thorne.

       160.    Plaintiff Joey Robinson is a citizen of the United States and domiciled in the State of

Nebraska. She is the sister of William Thorne.

       161.    Plaintiff Karen Thorne brings an action individually and on behalf of the Estate of

William Thorne, as its legal representative.

       162.    As a result of the attack, and the death of William Thorne, Plaintiffs, Karen

                                                 140
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 141 of 180
Thorne, Doyle Thorne and Joey Robinson have experienced severe mental anguish, extreme

emotional pain and suffering, and loss of their son, and brother’s society, companionship, comfort,

advice and counsel.

       ATTACK 7:               SEPTEMBER 7, 2006 - SADR CITY, IRAQ

   H. The Botts Family

       163.    Plaintiff John Botts is a citizen of the United States and domiciled in the State of

Minnesota.

       164.    On September 7, 2006, Plaintiff John Botts, was serving in the U.S. military in Iraq.

       165.    Plaintiff John Botts was injured when an EFP exploded near his vehicle.

       166.    The weapon used to injure Plaintiff John Botts was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       167.    As a result of the attack, Plaintiff John Botts lost his left leg.

       168.    As a result of the attack, and the injuries he suffered, Plaintiff John Botts has

experienced severe physical and mental anguish and extreme emotional pain and suffering.

       169.    Plaintiff Jennifer Botts is a citizen of the United States and domiciled in the State of

Texas. She is the wife of John Botts.

       170.    Plaintiff Dara Botts is a citizen of the United States and domiciled in the State of

Texas. She is the mother of John Botts.

       171.    Plaintiff John Stephen “Steve” Botts is a citizen of the United States and domiciled

in the State of Texas. He is the father of John Botts.

       172.    Plaintiff Elizabeth Cunningham is a citizen of the United States and domiciled in the

State of Texas. She is sister of John Botts.

       173.    As a result of the attack, and the injuries suffered by John Botts, Plaintiffs Jennifer

Botts, Dara Botts, John Stephen “Steve” Botts, and Elizabeth Cunnigham have experienced severe

mental anguish and extreme emotional pain and suffering.

                                                   141
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 142 of 180
       ATTACK 8:               OCTOBER 11, 2006 - BAGHDAD, IRAQ

   I. The Sowinski Family

       174.    Nicholas Sowinski was a citizen of the United States when he was killed in Iraq.

       175.    On October 11, 2006, Nicholas Sowinski, was serving in the U.S. military in Iraq

when an EFP detonated near his vehicle.

       176.    Nicholas Sowinski was killed in the attack.

       177.    The weapon used to kill Nicholas Sowinski was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       178.    Plaintiff Diane Traynor Sowinski is a citizen of the United States and domiciled in

the State of Arizona. She is the mother of Nicholas Sowinski.

       179.    Plaintiff Jared Sowinski is a citizen of the United States and domiciled in the State of

Arizona. He is the brother of Nicholas Sowinski.

       180.    Plaintiff Austin Sowinski is a citizen of the United States and domiciled in the State

of Arizona. He is the brother of Nicholas Sowinski.

       181.    Plaintiff Diane Traynor Sowinski brings an action individually and on behalf of the

Estate of Nicholas Sowinski, as its legal representative.

       182.    As a result of the attack, and the death of Nicholas Sowinski, Plaintiffs, Diane

Traynor Sowinski, Jared Sowinski, and Austin Sowinski have experienced severe mental anguish,

extreme emotional pain and suffering, and loss of their son, and brother’s society, companionship,

comfort, advice and counsel.

       ATTACK 9:               NOVEMBER 2, 2006 BAGHDAD, IRAQ

   J. The Gage Family

       183.    Joseph Gage was a citizen of the United States when he was killed in Iraq.

       184.    On November 2, 2006, Joseph Gage, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

                                                 142
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 143 of 180
      185. Joseph Gage was killed in the attack.

        186.   The weapon used to kill Joseph Gage was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

        187.   Plaintiff Samantha Gage is a citizen of the United States and domiciled in the State

of Michigan. She is the widow of Joseph Gage.

        188.   Plaintiff, M.G, a minor represented by his legal guardian, Samantha Gage, is a

citizen of the United States and domiciled in the State of Michigan. He is the son of Samantha

Gage.

        189.   Plaintiff Randy Gage is a citizen of the United States and domiciled in the State of

California. He is the father of Joseph Gage.

        190.   Plaintiff Tamara Gage is a citizen of the United States and domiciled in the State of

California. She is the step-mother of Joseph Gage.

        191.   Plaintiff Julia Rosa is a citizen of the United States and domiciled in the State of

California. She is the sister of Joseph Gage.

        192.   Plaintiff Samantha Gage brings an action individually and on behalf of the Estate of

Joseph Gage, as its legal representative.

        193.   As a result of the attack, and the death of Joseph Gage, Plaintiffs Samantha Gage,

M.G., a minor, Randy Gage, Tamara Gage, and Julia Rosa have experienced severe mental anguish,

extreme emotional pain and suffering, and the loss of their husband, father, son and brother’s

society, companionship, comfort, advice and counsel.

        ATTACK 10:            NOVEMBER 13, 2006 - IRAQ

   K. The Cope Family

        194.   Plaintiff Joshua Cope is a citizen of the United States and domiciled in the State of

Minnesota.

        195.   On November 13, 2006, Plaintiff Joshua Cope, was serving in the U.S. military in

                                                 143
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 144 of 180
Iraq.

       196.    Plaintiff Joshua Cope was injured when an EFP exploded near his vehicle.

       197.    The weapon used to injure Plaintiff Joshua Cope was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       198.    As a result of the attack, Plaintiff Joshua Cope lost both of his legs and injured his

right hand.

       199.    As a result of the attack, and the injuries he suffered, Plaintiff Joshua Cope

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

       200.    Plaintiff Erica Cope is a citizen of the United States and domiciled in the State of

Florida. She is the former wife of Joshua Cope.

       201.    Plaintiff Linda Cope is a citizen of the United States and domiciled in the State of

Florida. She is the mother of Joshua Cope.

       202.    Plaintiff Philip Cope is a citizen of the United States and domiciled in the State of

Florida. He is father of Joshua Cope.

       203.    Plaintiff Jacob Cope is a citizen of the United States and domiciled in the State of

Florida. He is the brother of Joshua Cope.

       204.    Plaintiff Jonathan Cope is a citizen of the United States and domiciled in the State of

Florida. He is the brother of Joshua Cope.

       205.    Plaintiff L.C., a minor represented by her father, Joshua Cope, is a citizen of the

United States and domiciled in the State of Florida. She is the daughter of Joshua Cope.

       206.    As a result of the attack, and the injuries suffered by Joshua Cope, Plaintiffs Linda

Cope, Philip Cope, Jacob Cope, Jonathan Cope and L.C., a minor, have experienced severe mental

anguish and extreme emotional pain and suffering.

               ATTACK 11:               DECEMBER 6, 2006 – HAWIJAH, IRAQ

   L. The Huffman Family

                                                  144
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 145 of 180
      207. Jason Huffman was a citizen of the United States when he was killed in Iraq.

       208.    On December 6, 2006, Jason Huffman, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       209.    Jason Huffman was killed in the attack.

       210.    The weapon used to kill Jason Huffman was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       211.    Plaintiff Karen Huffman is a citizen of the United States and domiciled in the State

of North Carolina. She is the mother of Jason Huffman.

       212.    Plaintiff Gary Huffman is a citizen of the United States and domiciled in the State of

North Carolina. He is the father of Jason Huffman.

       213.    Plaintiff Torie Huffman Murphy is a citizen of the United States and domiciled in

the State of North Carolina. She is the sister of Jason Huffman.

       214.    Plaintiff Karen Huffman brings an action individually and on behalf of the Estate of

Jason Huffman, as its legal representative.

       215.    As a result of the attack, and the death of Jason Huffman, Plaintiffs Karen Huffman,

Gary Huffman, and Torie Huffman Murphy have experienced severe mental anguish, extreme

emotional pain and suffering, and the loss of their son and brother’s society, companionship,

comfort, advice and counsel.

   M. The Mokri Family

       216.    Yari Mokri was a citizen of the United States when he was killed in Iraq.

       217.    On December 6, 2006, Yari Mokri, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       218.    Yari Mokri was killed in the attack.

       219.    The weapon used to kill Yari Mokri was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.


                                                  145
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 146 of 180
      220. Plaintiff Andrea Schaible is a citizen of the United States and domiciled in the

State of Texas. She is the widow of Yari Mokri.

        221.    Plaintiff Andrea Schaible brings an action individually and on behalf of the Estate of

Yari Mokri, as its legal representative.

        222.    As a result of the attack, and the death of Yari Mokri, Plaintiff, Andrea Schaible

experienced severe mental anguish, extreme emotional pain and suffering, and loss of her

husband’s society, companionship, comfort, advice and counsel.


        ATTACK 12:             FEBRUARY 7, 2007 - IRAQ

    N. The Vendela Family

        223.    Plaintiff Travis Vendela is a citizen of the United States and domiciled in the State

of Arizona.

        224.    On February 7, 2007, Plaintiff Travis Vendela, was serving in the U.S. military in

Iraq.

        225.    Plaintiff Travis Vendela was injured when an EFP exploded near his vehicle.

        226.    The weapon used to injure Plaintiff Travis Vendela was an Iranian-manufactured

EFP provided to Iranian-funded and -trained terror operatives in Iraq.

        227.    As a result of the attack, Plaintiff Travis Vendela lost both of his legs above the knee

along with a fractured pelvis, fractured left elbow, fractured spine, fractured jaw and Traumatic

Brain Injury.

        228.    As a result of the attack, and the injuries he suffered, Plaintiff Travis Vendela

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

        229.    Plaintiff Marianne Vendela is a citizen of the United States and domiciled in the

State of Arizona. She is the mother of Travis Vendela.

        230.    As a result of the attack, and the injuries suffered by Travis Vendela, Plaintiff

Marianne Vendela experienced severe mental anguish and extreme emotional pain and suffering.
                                                  146
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 147 of 180
       ATTACK 13:             FEBRUARY 27, 2007 – BAGHDAD, IRAQ

   O. The Cadavero Family

       231.    Jonathan Cadavero was a citizen of the United States when he was killed in Iraq.

       232.    On February 27, 2007, Jonathan Cadavero, was serving in the U.S. military in Iraq

when an EFP detonated near his vehicle.

       233.    Jonathan Cadavero was killed in the attack.

       234.    The weapon used to kill Jonathan Cadavero was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       235.    Plaintiff Nadia Cadavero is a citizen of the United States and domiciled in the State

of New York. She is the mother of Jonathan Cadavero.

       236.    Plaintiff Kristia Markarian is a citizen of the United States and domiciled in the State

of New Jersey. She is the sister of Jonathan Cadavero.

       237.    Plaintiff Nadia Cadavero brings an action individually and on behalf of the Estate of

Jonathan Cadavero, as its legal representative.

       238.    As a result of the attack, and the death o f Jonathan Cadavero, Plaintiffs, Nadia

Cadavero and Kristia Makarian have experienced severe mental anguish, extreme emotional pain

and suffering, and loss of their son, and brother’s society, companionship, comfort, advice and

counsel.

       ATTACK 14:             MARCH 5, 2007 – BAQUBAH, IRAQ

   P. The Mayo Family

       239.    Barry W. Mayo was a citizen of the United States when he was killed in Iraq.

       240.    On March 5, 2007, Barry W. Mayo, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       241.    Barry W. Mayo was killed in the attack.

       242.    The weapon used to kill Barry W. Mayo was an Iranian-manufactured EFP

                                                  147
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 148 of 180
provided to Iranian-funded and -trained terror operatives in Iraq.

       243.    Plaintiff John Mayo is a citizen of the United States and domiciled in the State of

Mississippi. He is the father of Barry W. Mayo.

       244.    Plaintiff Rebeca Mayo is a citizen of the United States and domiciled in the State of

Mississippi. She is the step-mother of Barry W. Mayo.

       245.    Plaintiff Andy Mayo is a citizen of the United States and domiciled in the State of

Mississippi. He is the brother of Barry W. Mayo.

       246.    Plaintiff John Mayo brings an action individually and on behalf of the Estate of

Barry W. Mayo, as its legal representative.

       247.    As a result of the attack, and the death o f Barry W. Mayo, Plaintiffs, John

Mayo, Rebeca Mayo and Andy Mayo have experienced severe mental anguish, extreme emotional

pain and suffering, and loss of their son, and brother’s society, companionship, comfort, advice and

counsel.

   Q. The Russell Family

       248.    Ryan Russell was a citizen of the United States when he was killed in Iraq.

       249.    On March 5, 2007, Ryan Russell, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       250.    Ryan Russell was killed in the attack.

       251.    The weapon used to kill Ryan Russell was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       252.    Plaintiff Kathy Moore is a citizen of the United States and domiciled in the State of

North Carolina. She is the mother of Ryan Russell.

       253.    Plaintiff Thomas Edison-Moore, Jr. is a citizen of the United States and domiciled in

the State of North Carolina. He is the step-father of Ryan Russell.

       254.    Plaintiff Kathy Moore brings an action individually and on behalf of the Estate of


                                                  148
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 149 of 180
Ryan Russell, as its legal representative.

       255.    As a result of the attack, and the death o f Ryan Russell, Plaintiffs, Kathy Moore

and Thomas Edison-Moore, Jr. have experienced severe mental anguish, extreme emotional pain

and suffering, and loss of their son’s society, companionship, comfort, advice and counsel.

       ATTACK 15:             MAY 8, 2007 – SALMAN PAK, IRAQ

   R. The Martinez Family

       256.    Plaintiff Saul Martinez is a citizen of the United States and domiciled in the State of

Montana.

       257.    On May 8, 2007, Plaintiff Saul Martinez, was serving in the U.S. military in Iraq.

       258.    Plaintiff Saul Martinez was on patrol when an EFP struck his vehicle.

       259.    The weapon used to injure Plaintiff Saul Martinez was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       260.    As a result of the attack, Plaintiff Saul Martinez lost both of his legs.

       261.    As a result of the attack, and the injuries he suffered, Plaintiff Saul Martinez has

experienced severe physical and mental anguish and extreme emotional pain and suffering.

       262.    Plaintiff Sarah Martinez is a citizen of the United States and domiciled in the State

of Montana. She is the wife of Saul Martinez.

       263.    As a result of the attack, and the injuries suffered by Saul Martinez, Plaintiff Sarah

Martinez has experienced severe mental anguish, and extreme emotional pain and suffering.

   S. The Stephens Family

       264.    Blake Stephens was a citizen of the United States when he was killed in Iraq.

       265.    On May 8, 2007, Blake Stephens, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       266.    Blake Stephens was killed in the attack.

       267.    The weapon used to kill Blake Stephens was an Iranian-manufactured EFP

                                                  149
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 150 of 180
provided to Iranian-funded and -trained terror operatives in Iraq.

       268.    Plaintiff Erin Dructor is a citizen of the United States and domiciled in the State of

California. She is the widow of Blake Stephens.

       269.    Plaintiff Kathleen Stephens is a citizen of the United States and domiciled in the

State of California. She is the mother of Blake Stephens.

       270.    Plaintiff Trent Stephens is a citizen of the United States and domiciled in the State of

California. He is the father of Blake Stephens.

       271.    Plaintiff Summer Stephens is a citizen of the United States and domiciled in the

State of California. She is the sister of Blake Stephens.

       272.    Plaintiff Rhett Stephens is a citizen of the United States and domiciled in the State of

California. He is the brother of Blake Stephens.

       273.    Plaintiff Brittani Hobson is a citizen of the United States and domiciled in the State

of Idaho. She is the sister of Blake Stephens.

       274.    Plaintiff Derek Stephens is a citizen of the United States and domiciled in the State

of Idaho. He is the brother of Blake Stephens.

       275.    Plaintiff Erin Dructor brings an action individually and on behalf of the Estate of

Blake Stephens, as its legal representative.

       276.    As a result of the attack, and the death of Blake Stephens, Plaintiffs, Erin

Dructor, Kathleen Stephens, Trent Stephens, Summer Stephens, Rhett, Stephens, Brittani Hobson,

and Derek Stephens have experienced severe mental anguish, extreme emotional pain and suffering,

and loss of their husband, son, and brother’s society, companionship, comfort, advice and counsel.

       ATTACK 16:              MAY 14, 2007 – IRAQ

   T. The Altman Family

       277.    Plaintiff Jake Hamilton Altman is a citizen of the United States and domiciled in the

State of North Carolina.

                                                   150
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 151 of 180
      278. On May 14, 2007, Plaintiff Jake Hamilton Altman, was serving in the U.S. military

in Iraq.

           279.   Plaintiff Jake Hamilton Altman was operating the vehicle convoy when an EFP

exploded near his vehicle.

           280.   The weapon used to injure Plaintiff Jake Hamilton Altman was an Iranian-

manufactured EFP provided to Iranian-funded and -trained terror operatives in Iraq.

           281.   As a result of the attack, Plaintiff Jake Hamilton Altman lost his right dominant hand

and has severe injuries to both legs.

           282.   As a result of the attack, and the injuries he suffered, Plaintiff Jake Hamilton Altman

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

           283.   Plaintiff Nadja Altman is a citizen of the United States and domiciled in the State of

North Carolina. She is the wife of Jake Hamilton Altman.

           284.   Plaintiff J.A., a minor represented by his legal guardian Jake Hamilton Altman, is a

citizen of the United States and domiciled in the State of North Carolina. He is the son of Jake

Hamilton Altman.

           285.   Plaintiff L.A., a minor represented by her legal guardian Jake Hamilton Altman, is a

citizen of the United States and domiciled in the State of North Carolina. She is the daughter of

Jake Hamilton Altman.

           286.   Plaintiff Gloria Prosser is a citizen of the United States and domiciled in the State of

North Carolina. She is the mother of Jake Hamilton Altman.

           287.   Plaintiff Charles Altman is a citizen of the United States and domiciled in the State

of North Carolina. He is the brother of Jake Hamilton Altman.

           288.   Plaintiff Michael Altman is a citizen of the United States and domiciled in the State

of Colorado. He is the brother of Jake Hamilton Altman.

           289.   As a result of the attack, and the injuries suffered by Jake Hamilton Altman, Plaintiff


                                                    151
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 152 of 180
Jake Hamilton Altman, Nadja Altman, J.A., a minor, L.A., a minor, Gloria Prosser, Charles Altman

and Michael Altman have experienced severe mental anguish and extreme emotional pain and

suffering.

       ATTACK 17:             MAY 19, 2007 - AL DIWANIYA, IRAQ

   U. The Dahlman Family

       290.    Plaintiff Louis Dahlman is a citizen of the United States and domiciled in the State

of Texas.

       291.    On May 19, 2007, Plaintiff Louis Dahlman, was serving in the U.S. military in Iraq.

       292.    Plaintiff Louis Dahlman was injured when an EFP exploded near his vehicle.

       293.    The weapon used to injure Plaintiff Louis Dahlman was an Iranian-manufactured

EFP provided to Iranian-funded and -trained terror operatives in Iraq.

       294.    As a result of the attack, Plaintiff Louis Dahlman has traumatic brain injury, PTSD,

and a prosthetic jaw.

       295.    As a result of the attack, and the injuries he suffered, Plaintiff Louis Dahlman

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

       296.    Plaintiff Kay Stockdale is a citizen of the United States and domiciled in the State of

Iowa. She is the mother of Louis Dahlman.

       297.    Plaintiff Lucas Dahlman is a citizen of the United States and domiciled in the State

of Iowa. He is the brother of Louis Dahlman.

       298.    Plaintiff Amber Dahlman is a citizen of the United States and domiciled in the State

of Iowa. She is the sister of Louis Dahlman.

       299.    As a result of the attack, and the injuries suffered by Louis Dahlman, Plaintiff Louis

Dahlman, Kay Stockdale, Lucas Dahlman, and Amber Dahlman have experienced severe mental

anguish and extreme emotional pain and suffering.

       ATTACK 18:             JUNE 19, 2007 – MUHAMMED AL ALI, IRAQ
                                                 152
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 153 of 180
   V. The Modgling Family

       300.    Joshua Modgling was a citizen of the United States when he was killed in Iraq.

       301.    On June 19, 2007, Joshua Modgling, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       302.    Joshua Modgling was killed in the attack.

       303.    The weapon used to kill Joshua Modgling was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       304.    Plaintiff Julie Montano is a citizen of the United States and domiciled in the State of

Nevada. She is the mother of Joshua Modgling.

       305.    Plaintiff Keith Modgling is a citizen of the United States and domiciled in the State

of Nevada. He is the father of Joshua Modgling.

       306.    Plaintiff Christopher Modgling is a citizen of the United States and domiciled in the

State of Nevada. He is the brother of Joshua Modgling.

       307.    Plaintiff Kellilynn Stewart is a citizen of the United States and domiciled in the State

of Nevada. She is the sister of Joshua Modgling.

       308.    Plaintiff Michelle Modgling is a citizen of the United States and domiciled in the

State of Nevada. She is the sister of Joshua Modgling.

       309.    Plaintiff Kenneth Schaffer is a citizen of the United States and domiciled in the State

of Nevada. He is the brother of Joshua Modgling.

       310.    Plaintiff Julie Montano brings an action individually and on behalf of the Estate of

Joshua Modgling, as its legal representative.

       311.    As a result of the attack, and the death of Joshua Modgling, Plaintiffs, Julie

Montano, Keith Modgling, Christopher Modgling, Kellilynn Stewart, and Kenneth Schaffer have

experienced severe mental anguish, extreme emotional pain and suffering, and loss of their

husband, son, and brother’s society, companionship, comfort, advice and counsel.


                                                  153
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 154 of 180
   W. The Zapfe Family

       312.    William A. Zapfe was a citizen of the United States when he was killed in Iraq.

       313.     On June 19, 2007, William A. Zapfe, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       314.     William A. Zapfe was killed in the attack.

       315.     The weapon used to kill William A. Zapfe was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       316.     Plaintiff Jeannie Zapfe is a citizen of the United States and domiciled in the State of

Idaho. She is the mother of William A. Zapfe.

       317.     Plaintiff Joseph Zapfe is a citizen of the United States and domiciled in the State of

Idaho. He is the brother of William A. Zapfe.

       318.     Plaintiff Edward Zapfe is a citizen of the United States and domiciled in the State

of Idaho. He is the brother of William A. Zapfe.

       319.     Plaintiff Jeannie Zapfe brings an action individually and on behalf of the Estate of

William A. Zapfe, as its legal representative.

       320.     As a result of the attack, and the death of William A. Zapfe, Plaintiffs, Jeannie

Zapfe, Joseph Zapfe, and Edward Zapfe have experienced severe mental anguish, extreme

emotional pain and suffering, and loss of their son, and brother’s society, companionship, comfort,

advice and counsel.

       ATTACK 19:             JUNE 29, 2007 – BAGHDAD, IRAQ

   X. The Adair Family

       321.    James Adair was a citizen of the United States when he was killed in Iraq.

       322.    On June 29, 2007, James Adair, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       323.    James Adair was killed in the attack.

                                                   154
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 155 of 180
      324. The weapon used to kill James Adair was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

         325.   Plaintiff Chelsea Adair is a citizen of the United States and domiciled in the State of

Texas. She is the widow of James Adair.

         326.   Plaintiff, A.A., a minor represented by her legal guardian, Chelsea Adair, is a citizen

of the United States and domiciled in the State of Texas. She is the daughter of James Adair.

         327.   Plaintiff Chelsea Adair brings an action individually and on behalf of the Estate of

James Adair, as its legal representative.

         328.   As a result of the attack, and the death of James Adair, Plaintiffs Chelsea Adair and

A.A, a minor, have experienced severe mental anguish, extreme emotional pain and suffering, and

the loss of their husband and father’s society, companionship, comfort, advice and counsel.

   Y. The Takai Family

         329.   Plaintiff John Takai is a citizen of the United States and domiciled in the State of

Texas.

         330.   On June 29, 2007, Plaintiff John Takai, was serving in the U.S. military in Iraq.

         331.   Plaintiff John Takai was injured when an EFP exploded near his vehicle.

         332.   The weapon used to injure Plaintiff John Takai was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

         333.   As a result of the attack, Plaintiff John Takai has a traumatic brain injury, PTSD, and

a lower left salvaged arm.

         334.   As a result of the attack, and the injuries he suffered, Plaintiff John Takai has

experienced severe physical and mental anguish and extreme emotional pain and suffering.

         335.   Plaintiff Mae Takai is a citizen of the United States and domiciled in the State of

Texas. She is the wife of John Takai.

         336.   Plaintiff J.T., a minor represented by her legal guardian John Takai, is a citizen of


                                                  155
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 156 of 180
the United States and domiciled in the State of Texas. She is the daughter of John Takai.

       337.    Plaintiff N.T., a minor represented by her legal guardian John Takai, is a citizen of

the United States and domiciled in the State of Texas. She is the daughter of John Takai.

       338.    Plaintiff K.T., a minor represented by her legal guardian John Takai, is a citizen of

the United States and domiciled in the State of Texas. She is the daughter of John Takai.

       339.    Plaintiff I.T., a minor represented by her legal guardian John Takai, is a citizen of

the United States and domiciled in the State of Texas. She is the daughter of John Takai.

       340.    Plaintiff Patricia Cruze is a citizen of the United States and domiciled in the

Territory of Guam. She is the mother of John Takai.

       341.    Plaintiff Juan Takai is a citizen of the United States and domiciled in the State of

Texas. He is the father of John Takai.

       342.    Plaintiff Jolean Takai is a citizen of the United States and domiciled in the Territory

of Guam. She is the sister of John Takai.

       343.    Plaintiff Jermaine Takai is a citizen of the United States and domiciled in the State

of Texas. He is the brother of John Takai.

       344.    As a result of the attack, and the injuries suffered by John Takai, Plaintiff John

Takai, Mae Takai, J.T., a minor, N.T., a minor, K.T., a minor, I.T., a minor, Patricia Cruze, Juan

Takai, Jolean Takai, and Jermaine Takai have experienced severe mental anguish and extreme

emotional pain and suffering.

       ATTACK 20:               JULY 5, 2007 – BAGHDAD, IRAQ

   Z. The Ahearn Family

       345.    James Ahearn was a citizen of the United States when he was killed in Iraq.

       346.    On July 5, 2007, James Ahearn, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       347.    James Ahearn was killed in the attack.

                                                 156
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 157 of 180
      348. The weapon used to kill James Ahearn was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       349.    Plaintiff Constance Ahearn is a citizen of the United States and domiciled in the

State of California. She is the mother of James Ahearn .

       350.    Plaintiff James Ahearn Sr. is a citizen of the United States and domiciled in the State

of Arizona. He is the father of James Ahearn .

       351.    Plaintiff Kevin Ahearn is a citizen of the United States and domiciled in the State of

Arizona. He is the brother of James Ahearn .

       352.    Plaintiff Constance Ahearn brings an action individually and on behalf of the Estate

of James Ahearn , as its legal representative.

       353.    As a result of the attack, and death of James Ahearn, Plaintiffs Constance Ahearn,

James Ahearn Sr. and Kevin Ahearn have experienced severe mental anguish, extreme emotional

pain and suffering, and the loss of their husband, father, son and brother’s society, companionship,

comfort, advice and counsel.

       ATTACK 21:              JULY 6, 2007 – BAGHDAD, IRAQ

   AA.          The Lill Family

       354.    Eric Lill was a citizen of the United States when he was killed in Iraq.

       355.    On July 6, 2007, Eric Lill was serving in the U.S. military in Iraq when an EFP

detonated near his vehicle.

       356.    Eric Lill was killed in the attack.

       357.    The weapon used to kill Eric Lill was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       358.    Plaintiff Skye Otero is a citizen of the United States and domiciled in the State of

Tennessee. She is the widow of Eric Lill.

       359.    Plaintiff C.L., a minor represented by his legal guardian Skye Otero, is a citizen of

                                                     157
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 158 of 180
the United States and domiciled in the State of Tennessee. He is the son of Eric Lill.

       360.    Plaintiff M.L., a minor represented by his legal guardian Skye Otero, is a citizen of

the United States and domiciled in the State of Tennessee. She is the daughter of Eric Lill.

       361.    Plaintiff Anthony Lill is a citizen of the United States and domiciled in the State of

Tennessee. He is the father of Eric Lill.

       362.    Plaintiff Charmaine Lill is a citizen of the United States and domiciled in the State of

Tennessee. She is the mother of Eric Lill.

       363.    Plaintiff Kortne Jones is a citizen of the United States and domiciled in the State of

Tennessee. She is the sister of Eric Lill.

       364.    Plaintiff Anthony Lill brings an action individually and on behalf of the Estate of

Gary Henry, as its legal representative.

       365. As a result of the attack, and the death of Eric Lill, Plaintiffs Skye Otero, C.L., a
minor, M.L., a minor, Anthony Lill and Charmaine Lill has experienced severe mental anguish,

extreme emotional pain and suffering, and the loss of their husband, father, brother and son’s

society, companionship, comfort, advice and counsel.

       ATTACK 22:              JULY 7, 2007 – BAGHDAD, IRAQ

   BB.          The Kline Family

       366.    Keith Kline was a citizen of the United States when he was killed in Iraq.

       367.    On July 7, 2007, Keith Kline, was serving in the U.S. military in Iraq when an EFP

detonated near his vehicle.

       368.    Keith Kline was killed in the attack.

       369.    The weapon used to kill Keith Kline was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       370.    Plaintiff Betty Jean Kline is a citizen of the United States and domiciled in the State

of Ohio. She is the mother of Keith Kline.

                                                 158
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 159 of 180
      371. Plaintiff John Kline is a citizen of the United States and domiciled in the State of

Ohio. He is the brother of Keith Kline.

       372.    Plaintiff Betty Jean Kline brings an action individually and on behalf of the Estate of

Keith Kline, as its legal representative.

       373.    As a result of the attack, and the death of Keith Kline, Plaintiffs Betty Jean Kline

and John Kline, have experienced severe mental anguish, extreme emotional pain and suffering,

and the loss of their son and brother’s society, companionship, comfort, advice and counsel.

       ATTACK 23:              JULY 14, 2007 – BAGHDAD, IRAQ

 CC. The Kube Family

       374.    Christopher Kube was a citizen of the United States when he was killed in Iraq.

       375.    On July 14, 2007, Christopher Kube was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       376.    Christopher Kube was killed in the attack.

       377.    The weapon used to kill Christopher Kube was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       378.    Plaintiff Debbie Otte is a citizen of the United States and domiciled in the State of

Michigan. She is the mother of Christopher Kube.

       379.    Plaintiff David Kube is a citizen of the United States and domiciled in the State of

Michigan. He is the father of David Kube.

       380.    Plaintiff Jonathan Kube is a citizen of the United States and domiciled in the State of

Michigan. He is the brother of Christopher Kube.

       381.    Plaintiff Jessica Kube is a citizen of the United States and domiciled in the State of

Michigan. She is the sister of Christopher Kube.

       382.    Plaintiff Jason Kube is a citizen of the United States and domiciled in the State of

Michigan. He is the brother of Christopher Kube.

                                                 159
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 160 of 180
      383. Jennifer Kube is a citizen of the United States and domiciled in the State of

Michigan. She is the sister of Christopher Kube.

       384.    Plaintiff David Kube brings an action individually and on behalf of the Estate of

Christopher Kube, as its legal representative.

       385.    As a result of the attack, and the death of Christopher Kube, Plaintiffs Debbie Otte,

David Kube, Jonathan Kube, Jessica Kube, Jason Kube, and Jennifer Kube has experienced severe

mental anguish, extreme emotional pain and suffering, and the loss of their son and brother’s

society, companionship, comfort, advice and counsel.

       ATTACK 24:             AUGUST 4, 2007 – HAWR RAJAB, IRAQ

   DD.         The Wakeman Family

       386.    Dustin Wakeman was a citizen of the United States when he was killed in Iraq.

       387.    On August 4, 2007, Dustin Wakeman was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       388.    Dustin Wakeman was killed in the attack.

       389.    The weapon used to kill Dustin Wakeman was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       390.    Plaintiff Margaret Wakeman is a citizen of the United States and domiciled in the

State of Texas. She is the mother of Dustin Wakeman.

       391.    Plaintiff David Wakeman is a citizen of the United States and domiciled in the State

of Texas. He is the father of Dustin Wakeman.

       392.    Plaintiff William Wakeman is a citizen of the United States and domiciled in the

State of Texas. He is the brother of Dustin Wakeman.

       393.    Plaintiff Margaret Wakeman brings an action individually and on behalf of the

Estate of Dustin Wakeman, as its legal representative.

       394.    As a result of the attack, and the death of Dustin Wakeman, Plaintiffs Margaret

                                                 160
  Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 161 of 180
Wakeman, David Wakeman, and William Wakeman have experienced severe mental anguish,

extreme emotional pain and suffering, and the loss of their son and brother’s society,

companionship, comfort, advice and counsel.

       ATTACK 25:             AUGUST 6, 2007 – BAGHDAD, IRAQ

   EE.          The Neiberger Family

       395.    Christopher Neiberger was a citizen of the United States when he was killed in Iraq.

       396.    On August 6, 2007, Christopher Neiberger, was serving in the U.S. military in Iraq

when an EFP detonated near his vehicle.

       397.    Christopher Neiberger was killed in the attack.

       398.    The weapon used to kill Christopher Neiberger was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       399.    Plaintiff Mary Neiberger is a citizen of the United States and domiciled in the State

of Florida. She is the mother of Christopher Neiberger.

       400.    Plaintiff Richard Neiberger is a citizen of the United States and domiciled in the

State of Florida. He is the father of Christopher Neiberger.

       401.    Plaintiff Ami Neiberger is a citizen of the United States and domiciled in the State of

Virginia. She is the sister of Christopher Neiberger.

       402.    Plaintiff Robert Neiberger is a citizen of the United States and domiciled in the State

of Maryland. He is the brother of Christopher Neiberger.

       403.    Plaintiff Eric Neiberger is a citizen of the United States and domiciled in the State of

Florida. He is the brother of Christopher Neiberger.

       404.    Plaintiff Mary Neiberger brings an action individually and on behalf of the Estate of

Christopher Neiberger, as its legal representative.

       405.    As a result of the attack, and the death of Christopher Neiberger, Plaintiffs Mary

Neiberger, Richard Neiberger, Ami Neiberger, Robert Neiberger, Eric Neiberger have experienced

                                                 161
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 162 of 180
severe mental anguish, extreme emotional pain and suffering, and the loss of their son and brother’s

society, companionship, comfort, advice and counsel.

       ATTACK 26:              SEPTEMBER 22, 2007 – BAGHDAD, IRAQ

   FF. The Reeves Family

       406.    Joshua Reeves was a citizen of the United States when he was killed in Iraq.

       407.    On September 22, 2007, Joshua Reeves, was serving in the U.S. military in Iraq

when an EFP detonated near his vehicle.

       408.    Joshua Reeves was killed in the attack.

       409.    The weapon used to kill Joshua Reeves was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       410.    Plaintiff Leslie Hardcastle is a citizen of the United States and domiciled in the State

of Georgia. She is the widow of Joshua Reeves.

       411.    Plaintiff J.R., a minor represented by his legal guardian, Leslie Hardcastle, is a

citizen of the United States and domiciled in the State of Georgia. He is the son of Joshua Reeves.

       412.    Plaintiff Jean Reeves is a citizen of the United States and domiciled in the State of

Georgia. She is the mother of Joshua Reeves.

       413.    Plaintiff James Reeves is a citizen of the United States and domiciled in the State of

Georgia. He is the father of Joshua Reeves.

       414.    Plaintiff Michael Reeves is a citizen of the United States and domiciled in the State

of Georgia. He is the brother of Joshua Reeves.

       415.    Plaintiff Jared Reeves is a citizen of the United States and domiciled in the State of

Georgia. He is the brother of Joshua Reeves.

       416.    Plaintiff Leslie Hardcastle brings an action individually and on behalf of the Estate

of Joshua Reeves, as its legal representative.

       417.    As a result of the attack, and the death of Joshua Reeves, Plaintiffs Leslie

                                                  162
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 163 of 180
Hardcastle, J.R., a minor, Jean Reeves, James Reeves, Michael Reeves, and Jared Reeves have

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of their

husband, father, son and brother’s society, companionship, comfort, advice and counsel.

        ATTACK 27:            NOVEMBER 2, 2007 – IRAQ

    GG.         The Wells Family

        418.   Plaintiff Joshua Wells is a citizen of the United States and domiciled in the State of

Minnesota.

        419.   On November 2, 2007, Plaintiff Joshua Wells, was serving in the U.S. military in

Iraq.

        420.   Plaintiff Joshua Wells was injured when an EFP exploded near his vehicle.

        421.   The weapon used to injure Plaintiff Joshua Wells was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

        422.   As a result of the attack, Plaintiff Joshua Wells lost both of his legs.

        423.   As a result of the attack, and the injuries he suffered, Plaintiff Joshua Wells

has experienced severe physical and mental anguish and extreme emotional pain and suffering.

        424.   Plaintiff Lydia Lantrip is a citizen of the United States and domiciled in the State of

Mississippi. She is the mother of Joshua Wells.

        425.   Plaintiff Billie Wells, Jr. is a citizen of the United States and domiciled in the State

of Mississippi. He is the father of Joshua Wells.

        426.   Plaintiff Blake Lantrip is a citizen of the United States and domiciled in the State of

Mississippi. He is the brother of Joshua Wells.

        427.   Plaintiff J.W., a minor represented by his legal guardian, Billie Wells, Jr., is a citizen

of the United States and domiciled in the State of Mississippi. He is the brother of Joshua Wells.

        428.   As a result of the attack, and the injuries suffered by Joshua Wells, Plaintiffs Lydia

Lantrip, Billie Wells, Jr., Blake Lantrip, and J.W., a minor, have experienced severe mental anguish

                                                    163
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 164 of 180
and extreme emotional pain and suffering.

       ATTACK 28:             MARCH 24, 2008 – BAGHDAD, IRAQ

   HH.         The Rubio-Hernandez Family

       162.    Jose Rubio-Hernandez was a citizen of the United States when he was killed in Iraq.

       163.    On March 24, 2008, Jose Rubio-Hernandez was serving in the U.S. military in Iraq

when an EFP detonated near his vehicle.

       164.    Jose Rubio-Hernandez was killed in the attack.

       165.    The weapon used to kill Jose Rubio-Hernandez was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       166.    Plaintiff Jennifer Rubio is a citizen of the United States and domiciled in the State of

Texas. She is the widow of Jose Rubio-Hernandez.

       167.    Plaintiff N.R., a minor, represented by his legal guardian Jennifer Rubio, is a citizen

of the United States and domiciled in the State of Texas. He is the son of Jose Rubio-Hernandez.

       168.    Plaintiff Jennifer Rubio brings an action individually and on behalf of the Estate of

Jose Rubio-Hernandez, as its legal representative.

       169.    As a result of the attack, and the death of Jose Rubio-Hernandez, Plaintiffs Jennifer

Rubio and N.R., a minor, have experienced severe mental anguish, extreme emotional pain and

suffering, and the loss of their husband and father’s society, companionship, comfort, advice and

counsel.

       ATTACK 29:             MARCH 29, 2008 – BAGHDAD, IRAQ

   II. The Bennett Family

       429.    Durrell Bennett was a citizen of the United States when he was killed in Iraq.

       430.    On March 29, 2008, Durrell Bennett was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       431.    Durrell Bennett was killed in the attack.
                                                 164
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 165 of 180
      432. The weapon used to kill Durrell Bennett was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       433.    Plaintiff Doris Bennett is a citizen of the United States and domiciled in the State of

Washington. She is the mother of Durrell Bennett.

       434.    Plaintiff Dempsey Bennett is a citizen of the United States and domiciled in the State

of Washington. He is the father of Durrell Bennett.

       435.    Plaintiff Darnell Bennett is a citizen of the United States and domiciled in the State

of Washington. He is the brother of Durrell Bennett.

       436.    Plaintiff Doris Bennett brings an action individually and on behalf of the Estate of

Durrell Bennett, as its legal representative.

       437.    As a result of the attack, and the death of Durrell Bennett, Plaintiffs Doris Bennett,

Dempsey Bennett and Durrell Bennett have experienced severe mental anguish, extreme emotional

pain and suffering, and the loss of their son and brother’s society, companionship, comfort, advice

and counsel.

       ATTACK 30:              JUNE 1, 2008 – BAGHDAD, IRAQ

   JJ. The Mixon Family

       438.            Justin Mixon was a citizen of the United States when he was killed in Iraq.

       439.            On June 1, 2008, Justin Mixon, was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       440.    Justin Mixon was killed in the attack.

       441.    The weapon used to kill Justin Mixon was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       442.    Plaintiff Melinda Mixon is a citizen of the United States and domiciled in the State

of Texas. She is the widow of Justin Mixon.

       443.    Plaintiff T.R.M.., a minor represented by his legal guardian Tia Mixon, is a citizen

                                                  165
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 166 of 180
of the United States and domiciled in the State of Texas. He is the son of Justin Mixon.

       444.    Plaintiff Melinda Mixon is a citizen of the United States and domiciled in the State

of Mississippi. She is the mother of Justin Mixon.

       445.    Plaintiff Walter Mixon is a citizen of the United States and domiciled in the State of

Mississippi. He is the father of Justin Mixon.

       446.    Plaintiff Kenneth Mixon is a citizen of the United States and domiciled in the State

of Mississippi. He is the brother of Justin Mixon.

       447.    Plaintiff Kimberly Spillyards is a citizen of the United States and domiciled in the

State of Mississippi. She is the sister of Justin Mixon.

       448.    Plaintiff Tia Mixon brings an action individually and on behalf of the Estate of

Justin Mixon, as its legal representative.

       449.    As a result of the attack, and the death of Justin Mixon, Plaintiffs Tia Mixon,

T.R.M., a minor, Melinda Mixon, Walter Mixon, Kenneth Mixon, and Kimberly Spillyards have

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of their

husband, father, son and brother’s society, companionship, comfort, advice and counsel.

       ATTACK 31:              JUNE 25, 2008 – BAGHDAD, IRAQ

   KK.         The Plocica Family

       170.    Joshua Plocica was a citizen of the United States when he was killed in Iraq.

       171.    On June 25, 2008, Joshua Plocica was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       172.    Joshua Plocica was killed in the attack.

       173.    The weapon used to kill Joshua Plocica was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       174.    Plaintiff Lisa Thompson is a citizen of the United States and domiciled in the State

of Tennessee. She is the mother of Joshua Plocica.

                                                  166
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 167 of 180
      175. Plaintiff Lowell “Keith” Thompson is a citizen of the United States and domiciled in

the State of Tennessee. He is the step-father of Joshua Plocica.

        176.    Plaintiff Brenna Corbin is a citizen of the United States and domiciled in the State of

Tennessee. She is the sister of Joshua Plocica.

        177.    Plaintiff Lisa Thompson brings an action individually and on behalf of the Estate of

Joshua Plocica, as its legal representative.

        178.    As a result of the attack, and the death of Joshua Plocica, Plaintiffs Lisa Thompson,

Lowell “Keith” Thompson and Brenna Corbin have experienced severe mental anguish, extreme

emotional pain and suffering, and the loss of their son and brother’s society, companionship,

comfort, advice and counsel.

        ATTACK 32:                 AUGUST 4, 2008 – BAGHDAD, IRAQ

    LL.         The Blickenstaff Family

        179.    Plaintiff John Blickenstaff is a citizen of the United States and domiciled in the State

of Indiana.

        180.    On May 8, 2007, Plaintiff John Blickenstaff, was serving in the U.S. military in Iraq.

        181.    Plaintiff John Blickenstaff was on patrol when an EFP struck his vehicle.

        182.    The weapon used to injure Plaintiff John Blickenstaff was an Iranian-manufactured

EFP provided to Iranian-funded and -trained terror operatives in Iraq.

        183.    As a result of the attack, Plaintiff John Blickenstaff suffers from PTSD and has

severe injury to his right foot.

        184.    As a result of the attack, and the injuries he suffered, Plaintiff John Blickenstaff has

experienced severe physical and mental anguish and extreme emotional pain and suffering.

        185.    Plaintiff Misty Blickenstaff is a citizen of the United States and domiciled in the

State of Indiana. She is the wife of John Blickenstaff.

        186.    Plaintiff Pam Jones is a citizen of the United States and domiciled in the State of

                                                  167
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 168 of 180
Indiana. She is the mother of John Blickenstaff.

       187.     Plaintiff Jared Blickenstaff is a citizen of the United States and domiciled in the

State of Indiana. He is the brother of John Blickenstaff.

       188.     Plaintiff Adrianne Blickenstaff is a citizen of the United States and domiciled in the

State of Indiana. She is the sister of John Blickenstaff.

       189.     Plaintiff Trista Carter is a citizen of the United States and domiciled in the State of

Indiana. She is the sister of John Blickenstaff.

       190.     Plaintiff A.B., a minor, represented by his legal guardian John Blickenstaff, is a

citizen of the United States and domiciled in the State of Indiana. He is the son of John

Blickenstaff.

       191.     Plaintiff M.B., a minor, represented by her legal guardian John Blickenstaff, is a

citizen of the United States and domiciled in the State of Indiana. She is the daughter of John

Blickenstaff.

       192.     Plaintiff C.B., a minor, represented by her legal guardian John Blickenstaff, is a

citizen of the United States and domiciled in the State of Indiana. She is the daughter of John

Blickenstaff.

       193.     As a result of the attack, and the injuries suffered by John Blickenstaff, Plaintiffs

Misty Blickenstaff, Pam Jones, Jared Blickenstaff, Adrianne Blickenstaff, Trista Carter, A.B., a

minor, M.B. a minor, and C.B., a minor have experienced severe mental anguish, and extreme

emotional pain and suffering.

   MM.          The Henry Family

       450.     Gary Henry was a citizen of the United States when he was killed in Iraq.

       451.     On August 4, 2008, Gary Henry was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       452.     Gary Henry was killed in the attack.


                                                   168
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 169 of 180
      453. The weapon used to kill Gary Henry was an Iranian-manufactured EFP provided to

Iranian-funded and -trained terror operatives in Iraq.

       454.    Plaintiff Gary L. Henry is a citizen of the United States and domiciled in the State of

Indiana. He is the father of Gary Henry.

       455.    Plaintiff Gary L. Henry brings an action individually and on behalf of the Estate of

Gary Henry, as its legal representative.

       456.    As a result of the attack, and the death of Gary Henry, Plaintiff Gary L. Henry has

experienced severe mental anguish, extreme emotional pain and suffering, and the loss of his son’s

society, companionship, comfort, advice and counsel.

       ATTACK 33:              FEBRUARY 15, 2009 – AS SALAM, IRAQ

   NN.         The Diamond Family

       457.    Sean Diamond was a citizen of the United States when he was killed in Iraq.

       458.    On February 15, 2009, Sean Diamond was serving in the U.S. military in Iraq when

an EFP detonated near his vehicle.

       459.    Sean Diamond was killed in the attack.

       460.    The weapon used to kill Sean Diamond was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       461.    Plaintiff Loramay “Lora” Diamond is a citizen of the United States and domiciled in

the State of Washington. She is the widow of Sean Diamond.

       462.    Plaintiff Sally Diamond Wiley is a citizen of the United States and domiciled in the

State of Nevada. She is the mother of Sean Diamond.

       463.    Plaintiff Michael Wiley is a citizen of the United States and domiciled in the State of

Nevada. He is the step-father of Sean Diamond.

       464.    Plaintiff Jason Diamond is a citizen of the United States and domiciled in the State

of California. He is the brother of Sean Diamond.

                                                  169
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 170 of 180
      465. Plaintiff Michael Diamond is a citizen of the United States and domiciled in the

State of California. He is the brother of Sean Diamond.

       466.    Plaintiff Taylor M. Diamond is a citizen of the United States and domiciled in the

State of Washington. She is the daughter of Sean Diamond.

       467.    Plaintiff Madison J. Diamond is a citizen of the United States and domiciled in the

State of Washington. She is the daughter of Sean Diamond.

       468.    Plaintiff A.D., a minor represented by her legal guardian Loramay “Lora” Diamond,

is a citizen of the United States and domiciled in the State of Washington. She is the daughter of

Sean Diamond.

       469.    Plaintiff S.D., a minor represented by his legal guardian Loramay “Lora” Diamond,

is a citizen of the United States and domiciled in the State of Washington. He is the son of Sean

Diamond.

       470.    Plaintiff Loramay “Lora” Diamond brings an action individually and on behalf of

the Estate of Sean Diamond, as its legal representative.

       471.    As a result of the attack, and the death of Sean Diamond, Plaintiffs Loramay “Lora”

Diamond, Sally Diamond Wiley, Michael Wiley, Jason Diamond, Michael Diamnond, Taylor M.

Diamond, Madison J. Diamond, A.D., a minor and S.D., a minor have experienced severe mental

anguish, extreme emotional pain and suffering, and the loss of their husband, father, brother and

son’s society, companionship, comfort, advice and counsel.

       ATTACK 34:             APRIL 12, 2009 – BAYJI, IRAQ

   OO.         The Anaya Family

       472.    Michael Anaya was a citizen of the United States when he was killed in Iraq.

       473.    On April 12, 2009, Michael Anaya, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       474.    Michael Anaya was killed in the attack.

                                                 170
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 171 of 180
      475. The weapon used to kill Michael Anaya was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       476.    Plaintiff Cheryl Anaya is a citizen of the United States and domiciled in the State of

Florida. She is the mother of Michael Anaya.

       477.    Plaintiff Trista Moffett is a citizen of the United States and domiciled in the State of

Florida. She is the sister of Michael Anaya.

       478.    Plaintiff Carmelo Anaya Jr. is a citizen of the United States and domiciled in the

State of Florida. He is the brother of Michael Anaya.

       479.    Plaintiff Cheryl Anaya brings an action individually and on behalf of the Estate of

Michael Anaya, as its legal representative.

       480.    As a result of the attack, and the death of Michael Anaya, Plaintiffs Cheryl Anaya,

Trista Moffett, and Carmelo Anaya Jr. have experienced severe mental anguish, extreme emotional

pain and suffering, and the loss of their son and brother’s society, companionship, comfort, advice

and counsel.

       ATTACK 35:              JULY 16, 2009 – BASRA, IRAQ

   PP. The Wilcox Family

       481.    Carlos Wilcox was a citizen of the United States when he was killed in Iraq.

       482.    On July 16, 2009, Carlos Wilcox, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       483.    Carlos Wilcox was killed in the attack.

       484.    The weapon used to kill Carlos Wilcox was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       485.    Plaintiff Charlene Wilcox is a citizen of the United States and domiciled in the State

of Minnesota. She is the mother of Carlos Wilcox.

       486.    Plaintiff Bianca Wilcox is a citizen of the United States and domiciled in the State of

                                                  171
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 172 of 180
Minnesota. She is the sister of Carlos Wilcox.

       487.    Plaintiff Ona Wilcox is a citizen of the United States and domiciled in the State of

Minnesota. She is the sister of Carlos Wilcox.

       488.    Plaintiff Charles Wilcox III is a citizen of the United States and domiciled in the

State of Minnesota. He is the brother of Carlos Wilcox.

       489.    Plaintiff Charlene Wilcox brings an action individually and on behalf of the

       490.    Estate of Carlos Wilcox, as its legal representative.

       491.    As a result of the attack, and the death of Carlos Wilcox, Plaintiffs Charlene Wilcox,

Bianca Wilcox, Ona Wilcox, and Charles Wilcox III have experienced severe mental anguish,

extreme emotional pain and suffering, and the loss of their son and brother’s society,

companionship, comfort, advice and counsel.

       ATTACK 36:              APRIL 22, 2011 – NUMANIYAH, IRAQ

   QQ.          The Vazquez Family

       492.    Omar Vazquez was a citizen of the United States when he was killed in Iraq.

       493.    On April 22 2011, Omar Vazquez, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       494.    Omar Vazquez was killed in the attack.

       495.    The weapon used to kill Omar Vazquez was an Iranian-manufactured EFP provided

to Iranian-funded and -trained terror operatives in Iraq.

       496.    Plaintiff Maria Vazquez is a citizen of the United States and domiciled in the State

of New Jersey. She is the mother of Omar Vazquez.

       497.    Plaintiff Pablo Vazquez is a citizen of Puerto Rico and domiciled in Sabana Hoyos.

He is the father of Omar Vazquez.

       498.    Plaintiff Pablo Vazquez, Jr. is a citizen of Puerto Rico and domiciled in Orocovis.

He is the step-brother of Omar Vazquez.

                                                  172
    Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 173 of 180
      499. Plaintiff Marisel Vazquez is a citizen of the United States and domiciled in the State

of New Jersey. She is the step-sister of Omar Vazquez.

       500.    Plaintiff Javier Vazquez is a citizen of Puerto Rico and domiciled in Orocovis. He is

the brother of Omar Vazquez.

       501.    Plaintiff Maria Vazquez brings an action individually and on behalf of the Estate of

Omar Vazquez, as its legal representative.

       502.    As a result of the attack, and the death of Omar Vazquez, Plaintiffs Maria Vazquez,

Pablo Vazquez, Pablo Vazquez, Jr., Marisel Vazquez, and Javier Vazquez have experienced severe

mental anguish, extreme emotional pain and suffering, and the loss of their son and brother’s

society, companionship, comfort, advice and counsel.

       ATTACK 37:              JUNE 2, 2011 – BAGHDAD, IRAQ

   RR.          The Rzepa Family

       503.    Plaintiff Jason Rzepa is a citizen of the United States and domiciled in the State of

Montana.

       504.    On June 2, 2011, Plaintiff Jason Rzepa, was serving in the U.S. military in Iraq.

       505.    Plaintiff Jason Rzepa was gunner in a three (3) vehicle convoy when an EFP

exploded near his vehicle.

       506.    The weapon used to injure Plaintiff Jason Rzepa was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       507.    As a result of the attack, Plaintiff Jason Rzepa lost both of his legs.

       508.    As a result of the attack, and the injuries he suffered, Plaintiff Jason Rzepa has

experienced severe physical and mental anguish and extreme emotional pain and suffering.

       509.    Plaintiff Cassandra Rzepa is a citizen of the United States and domiciled in the State

of Idaho. She is the ex-wife of Jason Rzepa.

       510.    Plaintiff C.R., a minor represented by his legal guardian Cassandra Rzepa, is a

                                                  173
     Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 174 of 180
citizen of the United States and domiciled in the State of Idaho. He is the son of Jason Rzepa.

       511.    Plaintiff K.R., a minor represented by his legal guardian Adrian Davis, is a citizen of

the United States and domiciled in the State of Idaho. He is the son of Jason Rzepa.

       512.    Plaintiff Ann Rzepa is a citizen of the United States and domiciled in the State of

Idaho. She is the mother of Jason Rzepa.

       513.    Plaintiff David Shaidell is a citizen of the United States and domiciled in the State of

Idaho. He is the brother of Jason Rzepa.

       514.    As a result of the attack, and the injuries suffered by Jason Rzepa, Plaintiff Jason

Rzepa, Cassandra Rzepa, C.R., a minor, K.R., a minor, Ann Rzepa, and David Shaidell have

experienced severe mental anguish and extreme emotional pain and suffering.

       ATTACK 38:             JULY 7, 2011 – BAGHDAD, IRAQ

   SS. The Beyers Family

       515.    Nathan R. Beyers was a citizen of the United States when he was killed in Iraq.

       516.    On July 7, 2011, Nathan R. Beyers, was serving in the U.S. military in Iraq when an

EFP detonated near his vehicle.

       517.    Nathan R. Beyers was killed in the attack.

       518.    The weapon used to kill Nathan R. Beyers was an Iranian-manufactured EFP

provided to Iranian-funded and -trained terror operatives in Iraq.

       519.    Plaintiff Tim Beyers is a citizen of the United States and domiciled in the State of

Colorado. He is the father of Nathan R. Beyers.

       520.    Plaintiff Sonja Beyers is a citizen of the United States and domiciled in the State of

Colorado. She is the step-mother of Nathan R. Beyers.

       521.    Plaintiff Vanessa Beyers is a citizen of the United States and domiciled in the State

of Washington. She is the widow of Nathan R. Beyers.

       522.    Plaintiff Tyler Beyers is a citizen of the United States and domiciled in the State of

                                                  174
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 175 of 180
Colorado. He is the brother of Nathan R. Beyers.

        523.   Plaintiff E.B., a minor represented by her legal guardian, Vanessa Beyers, is a

citizen of the United States and domiciled in the State of Washington. She is the daughter of Nathan

R. Beyers.

        524.   Plaintiff Tim Beyers brings an action individually and on behalf of the Estate of

Nathan R. Beyers, as its legal representative.

        525.   As a result of the attack, and the death of Nathan R. Beyers, Plaintiffs, Tim Beyers,

Sonja Beyers, Tyler Beyers, Vanessa Beyers and E.B., a minor have experienced severe mental

anguish, extreme emotional pain and suffering, and loss of their husband, son, and brother’s

society, companionship, comfort, advice and counsel.

                                      CLAIMS FOR RELIEF

                      FIRST CLAIM FOR RELIEF
  AGAINST DEFENDANT ON BEHALF OF EACH PLAINTIFF IDENTIFIED HEREIN
  WHO SURVIVED AN ACT OF INTERNATIONAL TERRORISM
  FOR DEFENDANT’S MATERIAL SUPPORT TO AND PARTICIPATION IN ACTS
  OF EXTRAJUDICIAL KILLING, TORTURE AND HOSTAGE TAKING THAT
  RESULTED IN PERSONAL INJURY UNDER 28 U.S.C. §1605A(c)

        511.870.       Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

        512.871.       Plaintiffs identified in the foregoing paragraphs were grievously injured by

Defendant’s provision of material support (within the meaning of §1605A(h)(3)) to terror

operatives (“Special Groups”) in Iraq who engaged in extrajudicial killing and who injured

Plaintiffs.

        513.872.       As a direct and proximate result of the willful, wrongful, and intentional acts

of Defendant and its agents, Plaintiffs identified in the foregoing paragraphs were injured and

endured severe physical injuries, extreme mental anguish, pain and suffering, loss of solatium, and

economic losses.

        514.873.       Defendant is therefore liable for the full amount of Plaintiffs’ compensatory
                                                     175
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 176 of 180
damages, includinge, but not limited to, their severe physical injuries, extreme mental anguish,

pain and suffering, loss of solatium, and any economic losses determined by the trier of fact.

       515.   The conduct of Defendant was criminal, outrageous, extreme, wanton, willful,

malicious, and a threat to the public warranting an award of punitive damages against Defendant

pursuant to 28 U.S.C. §1605A(c).




                                               176
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 177 of 180
     874.


                      SECOND CLAIM FOR RELIEF
   AGAINST DEFENDANT ON BEHALF OF THE ESTATES OF PLAINTIFFS
   IDENTIFIED HEREIN FOR DEFENDANT’S MATERIAL SUPPORT TO AND
   PARTICIPATION IN ACTS OF EXTRAJUDICIAL KILLING, TORTURE AND
   HOSTAGE- TAKING THAT RESULTED IN WRONGFUL DEATH UNDER 28
   U.S.C. §1605A(c)

       516.875.        Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

       517.876.        The Estates of Plaintiffs Decedents listed in the foregoing paragraphs assert

claims on behalf of the Ddecedents who were grievously injured killed by Defendant’s provision

of material support (within the meaning of §1605A(h)(3)), to terror operatives (“Special Groups”)

in Iraq who engaged in the acts of extrajudicial killing that caused the decedents’ deaths.

       518.877.        As a direct and proximate result of the willful, wrongful, and intentional

acts of Defendant and its agents, the Ddecedents listed in the foregoing paragraphs endured

physical injury, extreme mental anguish, and pain and suffering that ultimately lead topreceding

their deaths.

       519.878.        Defendant is therefore liable for the full amount of Plaintiffs’ the

Decedent’s Estates’ compensatory damages, including, but not limited to, physical injuries,

extreme mental anguish, pain and suffering and any pecuniary loss (or loss of income to the

Eestates).

       520.879.        Defendant’s conduct was criminal, outrageous, extreme, wanton,

willful, malicious, and constitutes a threat to the public warranting an award of punitive damages

against Defendant pursuant to 28 U.S.C. §1605A(c).

                       THIRD CLAIM FOR RELIEF
  AGAINST DEFENDANT ON BEHALF OF THE FAMILYIES MEMBERS OF
  PLAINTIFFS AND ESTATES IDENTIFIED HEREIN AS INJURED OR KILLED AS A
  RESULT OF DEFENDANT’S MATERIAL SUPPORT TO AND PARTICIPATION IN
  ACTS OF EXTRAJUDICIAL KILLING, TORTURE AND HOSTAGE TAKING FOR
  LOSS OF SOLATIUM AND INTENTIONAL INFLICTION OF SEVERE
                                                     177
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 178 of 180
  EMOTIONAL DISTRESS UNDER 28 U.S.C. § 1605A(c)

        521.880.         Plaintiffs repeat and re-allege each and every allegation of the

foregoing paragraphs as if fully set forth herein.

        522.881.         Defendant’s acts in providing material support for acts of extrajudicial

killing, torture, and hostage-taking were intended to inflict severe emotional distress on Plaintiffs.

        523.882.         As a result of Defendant’s acts, the families of individuals identified in the

foregoing paragraphs as injured or killed as a result of Defendant’s acts in providing material

support for acts of extrajudicial killing, torture, and hostage-taking have suffered severe

emotional distress, extreme mental anguish, loss of sleep, loss of appetite, and other severe

physical manifestations, as well as loss of solatium and other harms to be set forth to the trier of

fact.

        883.    Defendant’s conduct was criminal, outrageous, extreme, wanton, willful,

malicious, and constitutes a threat to the public warranting an award of punitive damages against

Defendant pursuant to 28 U.S.C. §1605A(c).

                                  FOURTH CLAIM FOR RELIEF

                        PREJUDGMENT INTEREST (ALL PLAINTIFFS)

        884.    Plaintiffs repeat and re-allege each and every allegation of the foregoing paragraphs

as if fully set forth herein.

        524.885.         As described above, the Government of Iran’s support for Hezbollah and

the Special Groups in Iraq, which directly injured and/or killed Plaintiffs, warrant an award of

prejudgment interest from the date of the various Attacks to the date of entry of Judgment.

                                       PRAYER FOR RELIEF

 WHEREFORE, Plaintiffs demand:

                (a)      (a)    Judgment for all Plaintiffs against Defendant, the Islamic

                   Republic of Iran, for compensatory damages, including, but not limited to,

                                                     178
   Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 179 of 180
              physical injury, extreme mental anguish, pain and suffering, economic losses, and

               loss of solatium, in amounts to be determined at trial;

             (b)     (b)    Judgment for Plaintiff Decedents’ Estates against Defendant, the

               Islamic Republic of Iran, for compensatory damages for wrongful death,

               including, but not limited to, physical injury, extreme mental anguish, pain and

               suffering before death, economic losses, and any pecuniary loss (or loss of

               income to the Eestates) in amounts to be determined at trial;

              (c)    Judgment for all Plaintiffs against Defendant, the Islamic Republic of Iran,

               for punitive damages in an amount to be determined at trial which is consistent

               with District Court for the District of Columbia practice;



             (c)




             (d)     (d)    Plaintiffs’ costs and expenses;

             (e)     (e)    Plaintiffs’ attorney’s fees; and

             (f)     (f)    Such other and further relief as the Court finds just and equitable.



Dated: January 24, 2017November 2018, 2019

                                            Respectfully submitted,

                                            THE DRISCOLL FIRM, P.C.

                                    By:    ___/s/John J. Driscoll John J. Driscoll___________
                                           JOHN J. DRISCOLL, MO0003
                                           PAUL W. JOHNSON, MO# 34554

                                               179
Case 1:16-cv-02193-EGS-ZMF Document 46-3 Filed 11/20/19 Page 180 of 180
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                                 180
